     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 1 of 181   180


 1                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
 2
        ------------------------------------------------------------
 3                                   )
         United States of America,   ) File No. 21-cr-108
 4                                   )               (PAM/TNL)
                 Plaintiff,          )
 5                                   )
         v.                          )
 6                                   )
         Tou Thao(2),                ) Courtroom 7D
 7       J. Alexander Kueng(3), and ) St. Paul, Minnesota
         Thomas Kiernan Lane(4),     ) Monday, January 24, 2022
 8                                   ) 9:33 a.m.
                 Defendants.         )
 9                                   )
        ------------------------------------------------------------
10

11
                     BEFORE THE HONORABLE PAUL A. MAGNUSON
12                 UNITED STATES DISTRICT COURT SENIOR JUDGE

13
                     (JURY TRIAL PROCEEDINGS - VOLUME III)
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            Proceedings recorded by mechanical stenography;
25      transcript produced by computer.



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     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 2 of 181   181


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                                    United States District Courthouse
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                             RENEE A. ROGGE, RMR-CRR
                                  (612)664-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 3 of 181       182


 1                                 I N D E X

 2                                                                       PAGE

 3      PRELIMINARY JURY INSTRUCTIONS                                     195
        OPENING STATEMENT BY MS. TREPEL                                   206
 4      OPENING STATEMENT BY MR. ROBERT PAULE                             229
        OPENING STATEMENT BY MR. PLUNKETT                                 254
 5      OPENING STATEMENT OF MR. GRAY                                     282

 6

 7      KIMBERLY MELINE
            Direct Examination by Mr. Slaughter                           309
 8

 9

10      GOVERNMENT EXHIBITS                                             REC'D
            1                                                             305
11          2                                                             305
            3                                                             305
12          4                                                             305
            5                                                             305
13          5A                                                            305
            7                                                             305
14          7A                                                            305
            9                                                             305
15          9A                                                            305
            11                                                            305
16          12                                                            307
            14                                                            305
17          16                                                            305
            17                                                            305
18          18                                                            305
            19                                                            305
19          21                                                            356
            25                                                            356
20          27                                                            356
            39                                                            307
21          43                                                            305
            44                                                            305
22          45                                                            305
            46                                                            305
23          47                                                            308
            48                                                            305
24          49                                                            305
            50                                                            305
25          51                                                            305
            52                                                            305


                             RENEE A. ROGGE, RMR-CRR
                                (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 4 of 181     183


 1           53                                                         305
             54                                                         305
 2           55                                                         305
             56                                                         305
 3           57                                                         305
             58                                                         305
 4           59                                                         305
             60                                                         305
 5           61                                                         305
             62                                                         305
 6           63                                                         308
             64                                                         305
 7           65                                                         305
             66                                                         305
 8           67                                                         305
             68                                                         305
 9           69                                                         305
             70                                                         305
10           71                                                         305
             72                                                         305
11           73                                                         305
             74                                                         305
12           75                                                         305
             76                                                         305
13           77                                                         305
             78                                                         305
14           79                                                         305
             80                                                         305
15           81                                                         305
             82                                                         305
16           83                                                         305
             84                                                         305
17           85                                                         305
             86                                                         305
18           87                                                         305
             98                                                         305
19           99                                                         305
             100                                                        305
20           101                                                        305
             102                                                        305
21           103                                                        305
             104                                                        305
22           106                                                        305
             107                                                        305
23           108                                                        305
             109                                                        305
24           110                                                        305
             128                                                        305
25



                             RENEE A. ROGGE, RMR-CRR
                                (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 5 of 181         184


 1                            P R O C E E D I N G S

 2                                  IN OPEN COURT

 3                               (JURY NOT PRESENT)

 4                  (Defendants present)

 5                  THE COURT:   Good morning, everybody.       I've got my

 6      cheaters with me because reading small type is not my long

 7      suit anymore.

 8                  I think we have a full complement of jurors,

 9      right?

10                  COURTROOM DEPUTY:     Mm-hmm.

11                  THE COURT:   Good.    I think we have all the nervous

12      over the weekend because of the tremendous number of COVID

13      things that had come up over -- just before we started

14      selecting, so that is good.

15                  A couple of communications that I received over

16      the weekend.

17                  Ms. Bell, you wanted me to get a little more

18      specific about the indictment.       I don't think I need to do

19      that.    I think preliminary is good enough and you guys --

20      you have opening statements and you have a case, so it will

21      be fine.

22                  I also received a comment relating to potential

23      objections from Exhibits 21 to 35 therein.         That's what I'd

24      hoped to have covered last Friday, but I got six pages that

25      said I shouldn't do that, so we'll have to cover those -- I



                             RENEE A. ROGGE, RMR-CRR
                                (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 6 of 181        185


 1      think the term you are using is split screen.         We'll cover

 2      those as we go, and you can state your objections to it.

 3                  With respect to the stipulation with other

 4      exhibits, I thank you for the stipulation.         Counsel, I'll be

 5      very candid with you I got much more into football over the

 6      weekend then I did dealing with exhibits and stipulations.

 7      And so I would say feel completely free with respect to the

 8      first 19 that they're going to come in with limiting

 9      instruction on the transcripts that are attached to it.         The

10      balance of them, we'll probably take one at a time.

11                  When we get to openings -- I guess I would be

12      asking if there's an intent by anybody to be using

13      demonstrative exhibits during opening.

14                  MS. BELL:    Your Honor, for the government, we

15      intended to use basically six slides.        One picture is

16      repeated three times.      And it is literally just to orient

17      the jury to who -- basically who was where.

18                  THE COURT:   Who is who?

19                  MS. BELL:    Who is who.

20                  THE COURT:   Okay.

21                  MS. BELL:    It's just who is who.     These are from

22      exhibits that were admitted.       They are part of that 1

23      through 19.

24                  THE COURT:   Okay.    Let's get specific.     What are

25      they?



                             RENEE A. ROGGE, RMR-CRR
                                (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 7 of 181           186


 1                  MS. BELL:    So, Your Honor --

 2                  THE COURT:   What exhibits are they?

 3                  MS. BELL:    They are from the Milestone camera, so

 4      that is Exhibit 14.

 5                  THE COURT:   Okay.

 6                  MS. BELL:    And then they are from -- let me just

 7      get the numbers for you.       One is from -- two of them are

 8      from No. 9 and one is 17.      And they are just to orient to

 9      who is who.

10                  THE COURT:   May I ask, did you say No. 9?

11                  MS. BELL:    No. 9.

12                  THE COURT:   Okay.

13                  MS. BELL:    Exhibit No. 9, yes Your Honor.         Sorry

14      about that.

15                  THE COURT:   Okay.    And then the last one was what?

16                  MS. BELL:    17.

17                  THE COURT:   Okay.    Okay.

18                  MS. BELL:    And I've shown these to counsel, Your

19      Honor.   Mr. Gray did object because technically they haven't

20      been admitted yet, but of course they will be very shortly.

21                  THE COURT:   Technically they have not been, but

22      they are good for demonstrative purposes at this time.            And

23      I take it that one or more of these go to Mr. Gray's

24      objection with respect to still photos and --

25                  MR. GRAY:    That's correct, Your Honor.



                             RENEE A. ROGGE, RMR-CRR
                                (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 8 of 181       187


 1                  THE COURT:   And we will deal with --

 2                  MR. GRAY:    And I'd ask the court to look at the

 3      photos that they're trying to introduce.         They're photos

 4      from the --

 5                  THE COURT:   Okay.    I will look at them.

 6                  MR. GRAY:    -- body camera.

 7                  MS. BELL:    May I approach?

 8                  THE COURT:   Sure.

 9                  MS. BELL:    Thank you.

10                  MR. GRAY:    I think they're an unfair depiction of

11      my client at the time of the videos.

12                  THE COURT:   Counsel, two of these are the same

13      picture.

14                  MS. BELL:    Your Honor, they are actually -- there

15      are three of them that are the same, and that is because

16      counsel objected to just simply putting the one picture on

17      the same slide as the other picture so that we could

18      identify the officers both from the back and the front.           And

19      so we made them separate slides so we would not have two

20      pictures on one slide.

21                  THE COURT:   Okay.    Well --

22                  MS. BELL:    So that's why it's in there three

23      times.

24                  THE COURT:   I do consider that to be cumulative,

25      counsel.    We're going to take -- you're going to take two of



                             RENEE A. ROGGE, RMR-CRR
                                (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 9 of 181      188


 1      those out of those duplicative exhibits, but outside of

 2      that, for illustrative purposes they can be used in opening.

 3                   MS. BELL:    Your Honor, then can we just put two of

 4      them on the slide at the same time so that it's just more

 5      efficient?    So what we would do is put the one from far away

 6      and then the one from up close and say this person is Tou

 7      Thao and this person is Tou Thao.

 8                   THE COURT:   Okay.   Go ahead and do that, yeah.

 9                   MR. ROBERT PAULE:    Your Honor?

10                   THE COURT:   Yeah.

11                   MR. ROBERT PAULE:    If the court is ready, I do

12      have three demonstrative exhibits I was planning on using.

13                   THE COURT:   Okay.   I was going to get to that.

14      Very good.    Go ahead.

15                   MR. ROBERT PAULE:    I have three, and I have not

16      shown them to counsel but I will.       They are basically

17      exhibits that I intend to use as demonstrative exhibits to

18      put up on the screen during my opening to orient the jurors

19      to the area in question.

20                   The first is essentially a map of Minneapolis --

21                   COURT REPORTER:   Could you use the microphone,

22      please.   Thank you.

23                   MR. ROBERT PAULE:    The first one, excuse me, is a

24      map of Minneapolis that was taken from the internet that

25      just shows the various neighborhoods.        My intention is to



                             RENEE A. ROGGE, RMR-CRR
                                (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 10 of 181      189


 1       use this to orient the jury to what part of Minneapolis this

 2       incident occurred in.

 3                    The second is essentially an aerial photograph of

 4       the intersection of 38th Street and Chicago Avenue South in

 5       Minneapolis with three additions.       One is just to indicate

 6       where Cup, C-u-p, Foods is.        The second is to indicate where

 7       the Dragon Wok restaurant is.       And the third is to indicate

 8       where the Speedway station is.

 9                    The third demonstrative exhibit is an exact

10       replicate of Exhibit No. 2, except it is blown up to bring

11       us a little closer.       And I've also got a blue square where I

12       was going to indicate that the blue Mercedes SUV was parked

13       outside of Cup Foods, as well as a black square with the

14       number 320 on it on the front side of Cup Foods on Chicago

15       Avenue to indicate where Squad 320 was parked, Your Honor.

16                    I will show these to counsel.

17                    THE COURT:    You can do that now.

18                    MR. PAULE:    And then I can bring them to the

19       court.

20                    THE COURT:    Very well.

21                    Any other things on this kind of a subject?

22                    MR. ROBERT PAULE:     Nothing further, Your Honor.

23       Thank you.

24                    THE COURT:    Okay.

25                    MR. PAULE:    May I approach the court, Your Honor?



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 11 of 181       190


 1                   THE COURT:   Sure.

 2                   Objection to these demonstratives?

 3                   MS. BELL:    No, Your Honor.

 4                   THE COURT:   Okay.   You may use them, then, as

 5       demonstrative exhibits.

 6                   I've got to get my big three-hole punch in here.

 7       Not now.

 8                   COURTROOM DEPUTY:    Sure.

 9                   MR. PAULE:   Your Honor, those are my only copies.

10                   THE COURT:   Okay.   What else do we have at this

11       point this morning?

12                   MS. BELL:    Your Honor, I would, with the court's

13       indulgence, like to put something on the record.

14                   I don't know if the court even caught it, and I

15       heard it but didn't register it at the time.         When we were

16       starting our cause discussion with the headsets on when we

17       were picking the jury, Mr. Plunkett, before he started

18       explaining his cause strikes said, "And I had wanted to just

19       note an objection to the courtroom closure before we go

20       forward."

21                   And so I wanted to make sure we had something on

22       the record about the efforts this court has taken to allow

23       access when we were picking a jury, that because of COVID-19

24       and the sort of extreme position we're in now with the peak

25       coming on Omicron, that in order to space the jurors



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 12 of 181       191


 1       carefully in order to get enough jurors in here to work

 2       through the venire panel, the court allowed five members of

 3       the press to be here and then allowed streaming to two

 4       locations separately in the courthouse.

 5                   And so I just wanted to make sure that we put on

 6       the record the reasons that we were in that particular

 7       predicament given the COVID-19 pandemic and that, in fact,

 8       the court had taken steps to allow access to the courtroom

 9       for that.

10                   I had not had a chance to respond to that and I

11       know the court hadn't had a chance when we were dealing with

12       the cause strikes to respond to that.

13                   THE COURT:   Okay.   I -- thank you, counsel.       I

14       think I've covered this a half a dozen times and the record

15       really speaks for itself, and I think we've tried to be

16       as -- tried to be as clear as we can with respect to the

17       restrictions that just inevitably exist.

18                   Okay.   Anything else?    Good enough.    Well, I guess

19       for 15 minutes the guys can sit around and talk about how

20       exciting the football games were.       I don't know what the

21       rest of you will do.

22                   But, with that, we will stand in recess for a few

23       minutes and be back, unless -- have we got the entire jury

24       here?

25                   COURTROOM DEPUTY:    Yeah, I'll just --



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 13 of 181          192


 1                   MS. BELL:    Could we take a bathroom break?        That

 2       one would be the one thing I would ask.

 3                   THE COURT:   That you may do.

 4                   MS. BELL:    Thank you.

 5                   THE COURT:   And that's very appropriate.       I kind

 6       of was looking at my watch at the possibility of starting a

 7       little bit early, but let's take the break.        We will stand

 8       in recess for at least ten minutes.

 9                   MS. BELL:    Your Honor, I did mean to tell you also

10       that our first witness, right now we have her scheduled to

11       come basically during what we anticipate the lunch break

12       will be.    Between instructing the jury and openings, it

13       didn't seem like we were going to get her on in the morning.

14                   THE COURT:   Oh, I'm sure not.     I would be very

15       surprised if we complete openings this morning, but we will

16       see.   We'll see how it goes.

17                   MS. BELL:    Thank you.

18                   THE COURT:   Okay.   Oh, just a minute.     One more

19       question.   With respect to your first witness, will that get

20       into any of the exhibits that may have been stipulated to

21       but which I have not made any decisions or rulings?

22                   MS. BELL:    So, Your Honor, our intention is --

23       yes.   The first -- before we actually even call the first

24       witness, we plan to offer all of the stipulated --

25                   THE COURT:   I know you're going to do that.



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 14 of 181         193


 1                    MS. BELL:    Yes.    And then she will get into both

 2       the original videos, so that 1 through 20, and she'll also

 3       get into those combined or synced side-by-side videos.           So

 4       that will be our first witness, yes.

 5                    THE COURT:   Okay.     That's fine.   I raise the

 6       question because, as I did indicate to you, I just really

 7       have not had an opportunity to review some of the later

 8       training manuals and that kind of thing and -- but I'll have

 9       that done before we come back in.

10                    At some point we obviously will have to deal with

11       objections that may exist as to the exhibits between roughly

12       21 and 35.    Okay.

13           (Recess taken at 9:48 a.m.)

14                                        * * * * *

15           (10:07 a.m.)

16                                   IN OPEN COURT

17                                   (JURY PRESENT)

18                    THE COURT:   You may be seated.

19                    Good morning, everyone, and welcome to the jury.

20       We thank you for being with us here this morning.

21                    And as we start this morning, the first thing I'm

22       going to ask is that we have Ms. Magee administer the oath

23       to all of the 18 jurors that have been selected to hear this

24       case.

25                    Would all of the jurors please rise and raise your



                               RENEE A. ROGGE, RMR-CRR
                                  (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 15 of 181         194


 1       right hand.

 2                  COURTROOM DEPUTY:      Do each of you solemnly swear

 3       that you will well and truly try the issues in this case and

 4       true verdict render according to the evidence and the law as

 5       it shall be given to you by the court, so help you God?

 6                  THE JURY:    (I do.)

 7                  THE COURT:    Thank you.    You may be seated.

 8                  Members of the jury, we're about to begin the

 9       trial of the case about which you heard some details during

10       the process of jury selection.      Before the trial begins,

11       however, there are certain instructions that you should have

12       in order to understand what will be presented before you and

13       how you should conduct yourselves during the trial.

14                  First, you have had discussions and we will

15       continue to have discussions about this COVID business.          I

16       want to assure you that we're doing everything we can to

17       keep you and your fellow jurors safe.

18                  If any of you do become ill, and we hope you

19       won't, I ask that you get tested as soon as possible.           And

20       the court has rapid test kits available for this purpose.

21       If you or someone in your immediate family with whom you

22       have had recent close contact tests positive, please contact

23       the court immediately.

24                  Ms. Magee, my courtroom deputy, is your appointed

25       contact for any communications after hours and she has given



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 16 of 181          195


 1       you a cell phone number that you may use if you need to make

 2       this contact.

 3                   Now, court will convene each day at 9:30 or

 4       10:00 a.m. and will adjourn for the day between 4:30 and

 5       5:00 p.m.   There will also be short recesses in the morning

 6       and afternoon.    On some occasions the case moves faster than

 7       the attorneys anticipate and it may be necessary to adjourn

 8       earlier.

 9                   And the parties also try to present their cases in

10       an orderly manner.     However, this is not always possible and

11       sometimes it's necessary that certain witnesses be called

12       and scheduled at only certain times and certain days.           As a

13       result of that, those witnesses are called what we refer to

14       as out of order.    And should that happen, we'll advise you

15       of the circumstance so you understand what the purpose of

16       that particular situation might be.

17                   What I say now is intended to serve as an

18       introduction to the trial of the case.        At the end of the

19       trial, I will give you further instructions.         I may also

20       give you instructions during the trial.

21                   Now, unless I specifically tell you otherwise, all

22       instructions, both those I give you now and those that I

23       give you later, are equally binding on you and must be

24       followed.

25                   This is a criminal case commenced by the United



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 17 of 181         196


 1       States, which I may sometimes refer to as prosecution,

 2       sometimes as the government, against the defendants.            The

 3       case is based on an indictment.

 4                  Defendants have been charged as follows in the

 5       indictment:

 6                  Count 2 of the indictment charges Defendant Tou

 7       Thao and J. Alexander Kueng with deprivation under color of

 8       law George Floyd's right to be free from unreasonable

 9       seizure, in violation of 18 U.S.C. Section 242.

10                  Count 3 charges Defendant Tou Thao, J. Alexander

11       Kueng, and Thomas Kiernan Lane with deprivation under color

12       of law of George Floyd's right to be free of deliberate

13       indifference to his serious medical needs, in violation of

14       18 U.S.C. Section 242.

15                  Now, you should understand that an indictment is

16       simply an accusation.     It is not evidence of anything.

17       Defendants have pled not guilty to the indictment and are

18       presumed to be innocent unless and until proved guilty

19       beyond a reasonable doubt.

20                  You might notice that the indictment mentions

21       rights secured and protected by the Constitution and laws of

22       the United States.     The constitutional rights involved in

23       this case are the rights of every person in the United

24       States to be free from the use of unreasonable force by a

25       police officer and to be free from a police officer's



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 18 of 181       197


 1       deliberate indifference to their serious medical needs while

 2       in police custody.     These rights belong to everyone and have

 3       nothing to do with a person's race, religion, or ethnicity.

 4                  It will be your duty to decide from the evidence

 5       whether each defendant is guilty or not guilty of the crimes

 6       charged.   From the evidence you will decide what the facts

 7       are.   You are entitled to consider that evidence in the

 8       light of your own observations and experience in the affairs

 9       of life.   You may use reason and common sense to draw

10       deductions or conclusions from facts which have been

11       established by the evidence.      You will then apply those

12       facts to the law, which I give you in these and in my other

13       instructions and in that way each reach your verdict.

14                  You are the sole judges of the facts, but you must

15       follow my instructions, whether you agree with them or not.

16       You have taken an oath to do so.       Do not allow sympathy or

17       prejudice to influence you.      The law demands of you a just

18       verdict unaffected by anything except the evidence, your

19       common sense, and the law as I give it to you.

20                  Now, the trial will proceed in the following

21       order:

22                  First, the parties have the opportunity to make

23       opening statements.     The government may make an opening

24       statement at the beginning of the case.        The defendants may

25       make opening statements following the opening statements for



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 19 of 181        198


 1       the government or may defer the making of an opening

 2       statement until the close of the government's case.             No

 3       party is obliged to make an opening statement.         What is said

 4       in the opening statements is not evidence.        The statements

 5       simply serve the purpose of an introduction to the evidence

 6       which the parties making these statements intends to

 7       produce.

 8                  Second, the government will introduce evidence in

 9       support of the charges contained in the indictment.

10                  Third, after the government has presented its

11       evidence, the defendants may present evidence, but are not

12       obliged to do so.    The defendants are presumed innocent.

13       The burden is always on the government to prove every

14       element of the offense charged beyond a reasonable doubt.

15       The law never imposes on a defendant in a criminal case the

16       burden of calling any witnesses or introducing any evidence.

17                  Fourth, at the conclusion of the evidence, each

18       party has the opportunity to present closing argument in

19       support of their case.     What is said in closing argument is

20       not evidence, just as what is said in opening statements is

21       not evidence.    The arguments are designed to present to you

22       the contentions of the parties as to what the evidence has

23       shown and what inferences may be drawn from the evidence.

24       The government has the right to open and close the argument.

25                  Fifth, I will instruct you on the applicable law



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 20 of 181      199


 1       and you will then retire to consider your verdict.          Your

 2       verdict must be unanimous.

 3                    Your purpose as jurors is to find and determine

 4       the facts.    Under our system of criminal procedure, you are

 5       the sole judges of the facts.      If at any time I should make

 6       any comment regarding facts, you are at liberty to disregard

 7       it.

 8                    It's especially important that you perform your

 9       duty of determining the facts diligently and

10       conscientiously, for ordinarily there is no means of

11       correcting an erroneous determination of facts by the jury.

12                    You are to determine the facts in the case solely

13       from the evidence in the case, which consists of the

14       testimony of witnesses and the exhibits received in

15       evidence.

16                    Questions asked by the lawyers are not evidence.

17       The evidence consists of the witnesses' answers to the

18       questions.

19                    As I said earlier, statements, and arguments of

20       counsel are not evidence.      Counsel, however, may agree to

21       facts that are not in dispute; and when they do so, you are

22       to accept the facts as stipulated by counsel.

23                    On occasion I may tell you that I'm taking

24       judicial notice of certain facts.       You may then accept those

25       facts as true, but are not required to do so.         It's up to



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 21 of 181       200


 1       you to decide what inferences are to be drawn from the

 2       evidence and what facts are established by the evidence.

 3                   The parties may sometimes present objections to

 4       some of the testimony or other evidence.        It is the duty of

 5       a party to object to evidence that he or she believes may

 6       not properly be offered, and you should not be prejudiced in

 7       any way against a party who makes objections.

 8                   At times I may sustain objections or direct you to

 9       disregard certain testimony or exhibits.        You must not

10       consider any evidence to which an objection has been

11       sustained or which I have instructed you to disregard.

12                   Now, I understand that you may want to tell your

13       family and close friends and other people about your

14       participation in this trial so that you can explain when you

15       are required to be in court.      And you should warn them not

16       to ask you about the case, tell you anything they know or

17       think that they know about it or discuss this case in your

18       presence.

19                   You must not post any information on a social

20       network or communicate with anyone about the parties,

21       witnesses, participants, charges, evidence, or anything else

22       relating to this case or tell anyone anything about the

23       jury's deliberations in this case until after I accept your

24       verdict or until I give you specific permission to do so.

25                   If you discuss the case with someone other than



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 22 of 181     201


 1       the other jurors during deliberations, you may be influenced

 2       in your verdict by their opinion.       That would not be fair to

 3       the parties.    It would result in a verdict that is not based

 4       on the evidence and the law.

 5                  While you are in the courthouse and until you are

 6       discharged in this case, do not provide any information to

 7       anyone by any means about the case.       Thus, for example, do

 8       not talk face-to-face or use any electronic device or media,

 9       such as the telephone, a cell or smartphone, camera,

10       recording device, computer, the internet or any internet

11       service, any text or instant messaging service or any social

12       media, including services or apps, such as Facebook,

13       Instagram, Snapchat, or Twitter, or any other way to

14       communicate to anyone any information about this case until

15       I accept your verdict or until you have been excused as a

16       juror.

17                  Do not research on the internet, in libraries or

18       in newspapers or in any other way, or make any investigation

19       about this case on your own.      Do not visit or view any place

20       discussed in this case, and do not use internet programs or

21       other devices to search for or to view any place discussed

22       by the testimony.

23                  Also, do not research any information about this

24       case, the law, or the people involved, including the

25       parties, the witnesses, the lawyers, or the judge, until you



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 23 of 181     202


 1       have been excused as a juror.

 2                   The parties have the right to have this case

 3       decided only on evidence that they know about and that has

 4       been presented here in court.      If you do some research or

 5       investigation or experiment that we don't know about, then

 6       your verdict may be influenced by inaccurate, incomplete, or

 7       misleading information that has not been tested by the trial

 8       process, including the oath to tell the truth and by

 9       cross-examination.     Each of the parties is entitled to a

10       fair trial rendered by an impartial jury, and you must

11       conduct yourself so as to maintain the integrity of the

12       trial process.

13                   If you decide a case based on information not

14       presented in court, you will have denied the parties a fair

15       trial in accordance with the rules of this country and you

16       will have done an injustice.      It is very important that you

17       abide by these rules.     Failure to follow these instructions

18       could result in the case having to be retried.

19                   During the trial you must not discuss the case in

20       any manner, even amongst yourselves, and you must not permit

21       anyone to attempt to discuss it with you or in your

22       presence.

23                   Insofar as the lawyers are concerned, as well as

24       others whom you may come to recognize as having some

25       connection in the case, you are instructed that, in order to



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 24 of 181          203


 1       avoid even the appearance of impropriety, you should have no

 2       conversation whatever with those persons while you are

 3       serving on the jury.

 4                   Now, in considering the weight and the value of

 5       the testimony of any witness, you may take into

 6       consideration the appearance, attitude, the behavior of the

 7       witness; the interest of the witness in the outcome of the

 8       case, if any; the relation of the witness to any party to

 9       the suit; the inclination of the witness to speak truthfully

10       or not; the probability or improbability of the witness's

11       statements; and all other facts and circumstances in

12       evidence.   Thus, you may give the testimony of any witness

13       just such weight and value as you believe the testimony of

14       the witness is entitled to receive.

15                   No statement, ruling, remark, or comment that I

16       may make during the course of the trial is intended to

17       indicate my opinion as to how you should decide the case or

18       to influence you in any way in your determination of the

19       facts.

20                   At times I may ask questions of witnesses.          If I

21       do so, it's for the purpose of bringing out matters that I

22       believe should be brought out.      It is not in any way

23       intended to indicate my opinion about the facts or to

24       indicate the weight I believe you should give to the

25       testimony of the witness.



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 25 of 181       204


 1                   I may also find it necessary to admonish the

 2       lawyers.    And if I do, you should not show prejudice towards

 3       a lawyer or his or her client because I have found it

 4       necessary to admonish him or her.

 5                   Under the federal system of criminal procedure,

 6       you are not to concern yourself in any way with the sentence

 7       that the defendant might receive if you should find him

 8       guilty.    Your function is solely to decide whether the

 9       defendants are guilty or not guilty of the charges against

10       them.   If and only if you find the defendants guilty of the

11       charge does it become the duty of the court to pronounce

12       sentence.

13                   As I have stated, until this case is submitted to

14       you, you must not discuss it with anyone, even your fellow

15       jurors.    After it is submitted to you, you must discuss it

16       only in the jury room with your fellow jurors.

17                   It's improper -- I'm sorry.      It's important that

18       you keep an open mind and not decide any issue in the case

19       until the entire case has been submitted to you under the

20       instructions of the court.

21                   Now, we will begin by affording the parties for

22       each side the opportunity to make opening statements.           I ask

23       that you give them your close attention as I recognize them

24       for the purpose of making an opening statement.

25                   Would the government like to proceed with an



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 26 of 181        205


 1       opening statement, please?

 2                    MS. TREPEL:   Yes, Your Honor.

 3                    THE COURT:    Good morning.

 4                    MS. TREPEL:   Good morning, Your Honor, members of

 5       the jury.

 6                    Ms. Magee, do we have the --

 7                        (Pause)

 8                    MS. TREPEL:    Good morning.   And may it please the

 9       court.

10                    THE COURT:    Counsel, I wonder if we could get you

11       to bring the microphone a little more directly to your

12       voice.   You are a little soft-spoken.       It might be a little

13       difficult to hear.

14                    MS. TREPEL:   Is this better, Your Honor?

15                    THE COURT:    I think so.

16                    MS. TREPEL:   Okay.   I will try, and please do

17       signal to me if my voice drops, because it does tend to.

18       Thank you.

19                    "In your custody is in your care," that is a

20       fundamental principle of policing taught to every

21       Minneapolis police officer, including the three defendants

22       in this case.    It means that when police officers take a

23       person into their custody, those officers are responsible

24       for keeping that person safe, for protecting them.          That's

25       because when offers handcuff a person, they take away that



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 27 of 181    206


 1       person's ability to protect themselves.

 2                  "In your custody is in your care," it's not just a

 3       moral responsibility.     It's what the law requires under the

 4       United States Constitution.      The law requires police

 5       officers to intervene, to stop another officer they see

 6       using excessive force.     And the law requires police officers

 7       to provide basic medical aid when they know someone in their

 8       custody needs it.    Failing to do so is a crime.

 9                  When George Floyd was in the custody of the three

10       defendants in this case, Tou Thao, J. Alexander Kueng, and

11       Thomas Lane, they watched as Mr. Floyd suffered a slow and

12       agonizing death.

13                  You will hear and you will see with your own eyes

14       that Derek Chauvin, a fourth officer of the same rank as the

15       defendants, knelt on Mr. Floyd's neck and for nine minutes

16       and 29 seconds killed him.

17                  This officer, Chauvin, slowly crushed the breath

18       out of Mr. Floyd as, first, one and then two and then

19       eventually a group of passersby cried out for the other

20       officers, the defendants, to stop the slow-motion killing

21       they were all witnessing.

22                  As the people standing on the sidewalk pleaded,

23       the people who could not only have stopped it, but who were

24       trained that they had an obligation to do so, stood by and

25       chose to let it continue.



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 28 of 181          207


 1                  For nine minutes and 29 seconds the three

 2       defendants didn't lift a finger as George Floyd repeatedly

 3       told them, "I can't breathe."

 4                  For nine minutes and 29 seconds the three

 5       defendants ignored their own training that required them to

 6       step in when they saw a person in their custody who needed

 7       help.

 8                  For nine minutes and 29 seconds the defendants

 9       ignored the cries of the bystanders and held their positions

10       as the window in which Mr. Floyd's life could have been

11       saved slammed shut.

12                  Throughout the course of this trial, you will hear

13       from police officer after officer who will tell you that "in

14       your custody is in your care" means that when an officer

15       sees a threat to the safety of a person in their custody,

16       the officer must, not should, must step in and stop the

17       threat.   It means that if a person in custody requires

18       medical attention, the officers are required to provide it

19       to the best of their ability and training.        It means that if

20       someone is abusing a person in custody, the officers must

21       step in and try to stop it.

22                  That is what the law requires of officers.           That

23       legal duty doesn't change if the person inflicting the harm

24       happens to be a fellow officer, even a more senior officer.

25       That may make it harder in the moment, but signing up to



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 29 of 181     208


 1       carry a gun and wear a badge comes with life-and-death

 2       responsibilities.    The duty to protect -- "in your custody

 3       is in your care" -- is one of them.

 4                   And you will hear from police officer witnesses

 5       that when police officers intervene to protect a person in

 6       custody from a fellow officer's abuse, they're protecting

 7       their fellow officer too by stopping them from committing a

 8       crime.

 9                   But, here, on May 25th, Memorial Day, 2020, for

10       second after second, minute after minute, these three

11       CPR-trained defendants stood or knelt next to Officer

12       Chauvin as he slowly killed George Floyd right in front of

13       them.

14                   For more than nine minutes, each of the three

15       defendants made a conscious choice over and over again not

16       to act.    They chose not to intervene and stop Chauvin as he

17       killed a man slowly in front of their eyes on a public

18       street in broad daylight.      They chose not to protect George

19       Floyd, the man they had handcuffed and placed in their

20       custody.

21                   You will hear that what led up to Mr. Floyd's

22       death was that a cashier at Cup Foods, a convenience store,

23       suspected that Mr. Floyd had paid with a counterfeit $20

24       bill and someone called the police.

25                   Two officers, Defendants Kueng and Lane, arrived,



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 30 of 181        209


 1       pulled Mr. Floyd from his car, and handcuffed him.

 2       Mr. Floyd sat on a curb when they told him to, responded to

 3       their questions, walked with them to their police car, where

 4       they searched him.

 5                  When Defendants Kueng and Lane told Mr. Floyd he

 6       needed to get into the police car, though, Mr. Floyd said

 7       that he was claustrophobic and afraid to get in.         Defendants

 8       Kueng and Lane tried pushing him in and he struggled with

 9       them.   Defendant Thao and Officer Chauvin arrived and

10       Defendants Lane and Thao and even Mr. Floyd himself

11       suggested that they place him on the ground instead.

12                  You will see that before the defendants took

13       Mr. Floyd to the ground, Mr. Floyd was already handcuffed

14       behind his back.    He had already been searched.       There were

15       no weapons on him.

16                  When the defendants first took Mr. Floyd to the

17       ground and Officer Chauvin knelt on his neck, he struggled

18       against the officers for about 20 seconds and then he

19       stopped.   From that point on, he didn't resist.        He pleaded

20       with the defendants to let him breathe.        He repeatedly

21       begged, "Please, somebody help me."       He said, "I can't

22       breathe," not just once or twice, but 25 times as he tried

23       to alert the officers that he was dying.        After four minutes

24       on the ground, Mr. Floyd said his very last words, "Please,

25       man, I can't breathe."



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 31 of 181      210


 1                  After six minutes on the ground, at 8:25 p.m.

 2       Mr. Floyd had become unresponsive.       And after Mr. Floyd lost

 3       the ability to speak, the people on the sidewalk spoke up

 4       for him.   These people on the sidewalk had been passing by,

 5       and they stopped in horror when they saw one officer forcing

 6       the breath out of a handcuffed man lying facedown on the

 7       pavement with two other officers holding him down and a

 8       fourth standing guard.

 9                  You will hear from several of those passersby:         An

10       older gentleman who pulled his car over, a high school

11       student who was walking her nine-year-old cousin to the

12       store to get a snack, and an off-duty firefighter out for a

13       walk.

14                  These people stopped what they were doing and

15       cried out and then pleaded and then demanded that the

16       defendants get off -- get Officer Chauvin off of the man

17       they now know as George Floyd.      They understood, just by

18       seeing his body go limp, listening to his words, and then

19       listening to his silence, that unless somebody changed what

20       was happening, he would die.

21                  "He is human," one of them reminded the officers.

22       Yet you will see that the defendants chose not to act.          They

23       chose to ignore what they saw and heard.        They chose to

24       dismiss the words of the passersby and of Mr. Floyd himself.

25       And they made that decision despite the repeated cries and



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 32 of 181      211


 1       pleas from the shocked people standing on the sidewalk,

 2       people who required no special training to understand the

 3       horror of what they were seeing.

 4                    Now, I'm going to first focus on Defendant Thao.

 5       For the entire time Chauvin pressed his knee into

 6       Mr. Floyd's neck, the entire nine minutes and 29 seconds,

 7       Defendant Thao stood just a few feet away doing nothing and

 8       saying nothing to intervene to get Officer Chauvin off of

 9       Mr. Floyd.

10                    You will see both video from Defendant Thao's

11       body-worn camera and a video of him recorded by bystanders

12       and surveillance cameras that will allow you to see both the

13       direction in which Defendant Thao was looking and what he

14       could see from that perspective.

15                    As an aside, you are going to see many videos

16       during the course of this trial and they will show you many

17       perspectives, videos from the police body-worn cameras,

18       videos taken by bystanders standing on the sidewalk,

19       surveillance video from the city and local businesses.          They

20       will be offered as evidence in this case in their entirety,

21       so you will see more than the small portions of video you

22       may have previously seen.

23                    Turning back to Defendant Thao, these videos will

24       show that during the first six minutes that Chauvin pressed

25       Mr. Floyd face down into the street, for the entire time



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 33 of 181    212


 1       that Mr. Floyd pleaded that he couldn't breathe and even

 2       after he lost consciousness, Defendant Thao stood directly

 3       next to Officer Chauvin.

 4                  You will see that Defendant Thao, the most senior

 5       of the three defendants with eight years on the job, ask

 6       Mr. Floyd, "What are you on?"

 7                  You will hear from MPD officers that when people

 8       using drugs are in police custody, officers are trained to

 9       be especially alert for medical issues.

10                  Defendant Thao correctly suspected that Mr. Floyd

11       had been using drugs, but instead of exercising additional

12       care, he turned it into a taunt, telling the people on the

13       sidewalk, "This is why you don't do drugs, kids," as they

14       pleaded with him to do his job and stop Officer Chauvin from

15       killing Mr. Floyd.

16                  When Mr. Floyd could still speak, he told

17       Defendant Thao exactly what and who he needed protection

18       from.   He said, "I can't breathe.      Please.   A knee on my

19       neck.   I can't breathe."     You will see Defendant Thao was

20       looking at Chauvin pressing his knee into Mr. Floyd's neck

21       as Mr. Floyd said those words.

22                  You will see that by this point Chauvin had been

23       holding Mr. Floyd down by his neck for almost three minutes.

24       Defendant Thao was in easy reach of Officer Chauvin, so if

25       he had wanted to tap his partner on the shoulder, he could



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 34 of 181      213


 1       have.   But Defendant Thao did nothing to tell Chauvin it's

 2       enough, we've got it, this man isn't resisting, he's dying.

 3       Instead, Defendant Thao continued standing right next to

 4       Chauvin and Floyd for another three minutes until after

 5       Mr. Floyd's eyes closed and he lost consciousness.

 6                  At that point the bystanders took over sounding

 7       the alarm on Mr. Floyd's behalf.       As they gathered on the

 8       sidewalk near the squad car and saw Mr. Floyd lost

 9       consciousness, their cries became more urgent.

10                  I'm going to pause here and talk about these

11       bystanders.    You may hear the people who watched a police

12       officer kill a man in his custody described as an angry or

13       hostile crowd.

14                  As you watch the videos, pay attention to when

15       Defendant Thao steps toward the bystanders on the sidewalk

16       for the very first time at 8:25 p.m., during the sixth

17       minute that the officers had Mr. Floyd pinned on the ground

18       and after he had already lost consciousness.

19                  You will see six people standing on the sidewalk,

20       including two teens and a nine-year-old, and you will hear

21       that's when their cries turned to urgent demands to look at

22       him and check his pulse.      You will know that Defendant Thao

23       heard them because he answered them.       When a bystander told

24       him, "He's about to pass out," Defendant Thao responded,

25       "That's what happens laying on the ground."



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 35 of 181        214


 1                  The bystanders told Defendant Thao what they could

 2       plainly see, that Mr. Floyd had stopped speaking and was now

 3       not moving and unresponsive.      They told Defendant Thao to do

 4       exactly as he had been trained in that situation, to get

 5       Chauvin off and check Mr. Floyd's breathing and pulse, all

 6       part of a duty to a person in his custody, even when, as

 7       here, an ambulance was on the way.

 8                  A firefighter from Minneapolis walked up and

 9       identified herself.     Like all firefighters in the city, she

10       was a trained EMT, alarmed that the man she saw pinned under

11       multiple officers appeared to be unconscious.         She asked if

12       Mr. Floyd had a pulse.     Each of the three defendants

13       individually told her to get back on the sidewalk.

14                  The firefighter asked, then demanded that

15       Defendant Thao check Mr. Floyd's pulse or that he get the

16       other officers to do it.      You will know that Defendant Thao

17       heard her because he responded to her.        "How long are we

18       going to have this conversation?"       And you will see on the

19       firefighter's face and in her tone of voice how urgent it

20       was, how much she cared.

21                  Look at Defendant Thao's face, listen to his

22       voice, notice where he was standing when Mr. Floyd lost

23       consciousness, and you will see that, despite standing in a

24       position to see and hear how Mr. Floyd had stopped talking

25       and lost consciousness and to hear the bystanders beg him to



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 36 of 181      215


 1       check a pulse, he chose to do nothing.

 2                  Now, on the other side of the police car and out

 3       of sight of the people on the sidewalk, Defendant Kueng was

 4       also kneeling on Mr. Floyd.      Kueng was even closer to

 5       Officer Chauvin than Defendant Thao, as Mr. Kueng was

 6       kneeling on Mr. Floyd just below his waist and just inches

 7       from Officer Chauvin.

 8                  After three minutes during which Mr. Floyd was

 9       trying and failing to take in enough air, Mr. Floyd said, "A

10       knee on my neck.    I'm through."     Look at Defendant Kueng as

11       Mr. Floyd said those words.      As Mr. Floyd said, "I'm

12       through," Defendant Kueng focused his attention on a piece

13       of gravel stuck in the police car tire rather than the man

14       underneath his knee.

15                  As the bystanders cried out for Chauvin to get off

16       him, Defendant Kueng continued kneeling on an unresisting

17       Mr. Floyd and casually picked the piece of gravel out of the

18       police car tire.

19                  Then before Mr. Floyd lost consciousness, when

20       there was still time to get him the oxygen he so desperately

21       needed, listen for what Defendant Kueng said.         At 8:23 p.m.,

22       after the officers had already held Mr. Floyd to the ground

23       for four minutes and after Mr. Floyd had been compliant for

24       more than three minutes, Defendant Kueng said, "Just leave

25       him," as at the very same time Chauvin said Mr. Floyd was



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 37 of 181          216


 1       staying put the way they've got him.

 2                    And that's what Officer Chauvin and Defendant

 3       Kueng did; they just left Mr. Floyd under the weight of

 4       their knees rather than moving him onto his side, the way

 5       they were trained, into a position that would allow him to

 6       breathe.

 7                    They continued applying force rather than

 8       reassessing the situation the way they were trained.            They

 9       used force rather than stopping the force, which here

10       included Chauvin's knee compressing a man's neck, when a

11       person has stopped resisting.      The seconds, then minutes

12       ticked by.

13                    Defendant Kueng remained kneeling on Mr. Floyd in

14       that position for a full eight minutes, eight minutes.

15       Kueng, who could feel Mr. Floyd's body beneath his knee,

16       never once told Officer Chauvin to stop or we've got it or

17       get off him.    You will see that Defendant Kueng never once

18       said those things, never once said or did anything to aid

19       Mr. Floyd, even after you will see that Defendant Kueng

20       checked Mr. Floyd's pulse twice and twice said he could not

21       find one.

22                    And pay attention to what you won't see happen

23       after that, after Defendant Kueng reports that he can't find

24       a pulse.    You won't see him do anything to help Mr. Floyd.

25       You won't see what a police medical trainer will tell you



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 38 of 181   217


 1       she trains officers to do when someone in their custody

 2       loses a pulse.

 3                    After Defendant Kueng said he couldn't find a

 4       pulse, you won't see him try to roll Mr. Floyd over and

 5       begin CPR.    You won't hear him say, "He has no pulse, we've

 6       got to move," even though the defendants were trained that

 7       seconds count when a person loses a pulse and that starting

 8       CPR immediately greatly increases a person's chance of

 9       survival.

10                    Instead, Defendant Kueng remained crouched next to

11       Chauvin, who still had his knee on Mr. Floyd's neck, and

12       Defendant Kueng still said nothing, still never told Officer

13       Chauvin to stop, even as Chauvin continued to hold his knees

14       on Mr. Floyd for another two minutes and 44 seconds after

15       Defendant Kueng said he couldn't find a pulse, even as the

16       paramedics arrived and got ready to move Mr. Floyd onto a

17       stretcher.

18                    Now, Defendant Lane knelt at Mr. Floyd's feet to

19       the right of Defendant Kueng and remained there for the

20       entire nine minutes and 29 seconds that Officer Chauvin

21       knelt on Mr. Floyd's neck.

22                    For the first four minutes, as Mr. Floyd

23       repeatedly warned the officers that he couldn't breathe, you

24       will see and hear that Defendant Lane did nothing.

25                    After about four minutes, Defendant Lane asked,



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 39 of 181        218


 1       "Should we roll him on his side?"       Defendant Lane knew to

 2       ask that question because he, like every MPD officer, was

 3       trained over and over again on the answer to that question.

 4       Yes, you've got to.

 5                   When someone is facedown handcuffed and compliant,

 6       you roll them on their side as a matter of course, both

 7       because of the dangers to a person's breathing and because

 8       you will hear there's simply no reason to kneel on someone's

 9       neck after a person is handcuffed and compliant.

10                   But Defendant Kueng, who had so recently been

11       drilled in these basic principles, shot done Lane's

12       question.   Defendant Kueng said, "No, just leave him," and

13       Officer Chauvin agreed.

14                   And Defendant Lane went back to doing and saying

15       nothing for another minute as Officer Chauvin kneeled on

16       Mr. Floyd's neck.    At that point one of the bystanders on

17       the sidewalk yelled, "He's passing out."        And Defendant Lane

18       acknowledged, "I think he's passing out."        But Defendant

19       Lane didn't do anything.      He also didn't say anything else,

20       like we've got to get off of him now or let's move.

21                   Another minute passed and Lane again asked about

22       rolling Mr. Floyd on his side.      This time no one answered

23       him, no one shot him down, no one told him no.         But instead

24       of taking this opportunity to follow up and stop the abuse

25       of the man who was in his custody and care, he went back to



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 40 of 181     219


 1       doing nothing.    He didn't repeat himself or try to point out

 2       the danger, hey, this guy is passed out and you are both

 3       still on top of him.      This was already after more than six

 4       minutes had passed and after Mr. Floyd had stopped speaking,

 5       stopped moving, and lost consciousness.

 6                    By then the voices of the folks watching from the

 7       sidewalk were growing desperate.       They could see that

 8       Mr. Floyd was unresponsive and they understood that when a

 9       human being goes from talking to unresponsive, action is

10       required.    So they yelled for the officers to take his

11       pulse.

12                    Defendant Lane asked Kueng if Mr. Floyd had a

13       pulse.   You will see Defendant Kueng check for a pulse and

14       then say, "I can't find one."      And then Defendant Lane took

15       no action.    Lane said and did nothing more at all for the

16       next two minutes and 44 seconds after learning that the

17       person in his custody and care had no pulse.         When duty

18       required immediate action, Lane said nothing, he chose to do

19       nothing.

20                    Now, I expect you will hear Defendants Kueng and

21       Lane referred to as rookies and you will hear that Officer

22       Chauvin had been --

23                    MR. GRAY:    Judge, I object to this as argument.

24       It's been argument all through the opening statement.

25                    THE COURT:   I sustain that.    That is argument,



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 41 of 181       220


 1       counsel.

 2                  MS. TREPEL:    Okay.

 3                  As a newer officer, it can be awkward or even

 4       uncomfortable to call out a more experienced colleague.           But

 5       each of these defendants, you will hear, wore the same badge

 6       and swore the same oath.      And you will hear that being a

 7       police officer comes with life-and-death responsibilities.

 8                  As you listen to the evidence, pay attention to

 9       what witnesses say about the training these two defendants

10       received before taking on those responsibilities.

11                  You will hear that before becoming MPD officers in

12       December 2019, they had both completed a month's long

13       policing skills course required by the State of Minnesota.

14       They then passed a state-mandated exam required to become

15       licensed police officers.      They had received their CPR

16       certifications.

17                  And then, already fully qualified to begin work as

18       police officers, Defendants Kueng and Lane attended and

19       graduated from the five-month MPD Police Academy.         After

20       that, although they were fully qualified police officers in

21       their own right already, they completed MPD's five-month

22       field training program, where they partnered with several

23       experienced officers for additional on-the-job training.

24                  During their almost year and a half of training,

25       the defendants learned that a police officer has a duty to



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 42 of 181        221


 1       protect a person in his custody and care; that police

 2       officers must intervene if they see another officer abusing

 3       a person in custody; that after a struggle has ended, the

 4       time to use force is over and officers must switch to an "in

 5       your custody is in your care" mentality.

 6                   If the person in custody then needs medical aid,

 7       you will hear that no matter what happened earlier, in fact,

 8       especially if an officer used force, it's now the officers

 9       duty to provide that aid.

10                   The defendants learned basic medical skills, like

11       how to take a pulse, assess breathing, and provide CPR.         And

12       you will hear that the defendants learned that leaving a

13       person handcuffed and facedown in what you will hear is

14       called the prone position is dangerous because it can

15       prevent a person from being able to breathe.

16                   So they had drilled and drilled both during their

17       skills course and in the police academy, and one of the most

18       basic forms of medical care they could provide is placing

19       someone on their side in what you will hear is called the

20       side recovery position.

21                   You will hear that the medical aid that would have

22       saved George Floyd's life was as simple as that, turning him

23       onto his side when his heart was still beating.         Defendants

24       Kueng and Lane learned this during their training to become

25       officers.   They also practiced turning people onto their



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 43 of 181        222


 1       side or getting them up as their last step in their many

 2       prone handcuffing drills.

 3                   Prone handcuffing is when officers handcuff people

 4       facedown and then for safety and, because you will hear

 5       there is no purpose in continuing to hold a compliant and

 6       handcuffed person down, get them up or turn them onto their

 7       side.   Officers practice this over and over.

 8                   Defendant Thao received all of this training too

 9       and then got yearly refresher costs.       So no matter when an

10       officer joined the force, this training would be fresh in

11       their mind.

12                   Defendant Lane had all of this same training.

13       Plus, you will hear he had additional experience because he

14       worked as a juvenile detention officer for Hennepin County.

15       There he got even more training, including more training on

16       the dangers of leaving a person restrained in the facedown

17       position.

18                   And you will see that the bystanders quickly saw,

19       without any of this specialized training, that Mr. Floyd

20       needed help and they pleaded with the defendants to step in

21       and help him.

22                   MR. GRAY:    Your Honor, I object to this as

23       repetitive and also argumentative.

24                   THE COURT:   Counsel, you are arguing.      After all,

25       this is not evidence, that is, what the government intends



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 44 of 181        223


 1       to prove.

 2                   Continue.

 3                   MS. TREPEL:    Thank you, Your Honor.     I will be

 4       sure to phrase it as the evidence will show.

 5                   You will see and the evidence will show that

 6       despite the bystanders' cries, despite the defendants'

 7       training, and despite George Floyd losing a pulse, the

 8       defendants chose not to act.

 9                   MR. GRAY:    Judge, the same objection.     She's just

10       going right back into the argument.

11                   THE COURT:    This part I'll overrule.

12                   Proceed.

13                   MS. TREPEL:    You will see that after nine minutes

14       and 29 seconds, Mr. Floyd was beyond the power of the

15       paramedics and doctors to revive.

16                   You will see that when the ambulance arrived, it

17       was the paramedics and not these defendants, who had been

18       there the whole time, who finally indicated to Officer

19       Chauvin that he needed to get up.

20                   And you will see that it was the paramedics who

21       told Defendant Lane to start CPR in the ambulance.          You will

22       see that Defendant Lane knew how to do CPR because finally,

23       inside the ambulance, he began doing it when told to, almost

24       five minutes after Defendant Kueng said he couldn't find a

25       pulse.



                                RENEE A. ROGGE, RMR-CRR
                                   (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 45 of 181        224


 1                  And although the paramedics and later the doctors

 2       and nurses attempted to resuscitate Mr. Floyd, you will

 3       learn that he was at that point past saving.         They declared

 4       him dead at the hospital about an hour later.

 5                  You will hear that the Hennepin County medical

 6       examiner ruled that Mr. Floyd's death was a homicide.           He

 7       will explain to you that Mr. Floyd's heart and lungs

 8       stopped, and that the immediate cause of death was law

 9       enforcement subdual restraint and neck compression.

10                  You will also hear from a doctor who specializes

11       in lungs and breathing.     He will explain that, based on the

12       position that Mr. Floyd was in, facedown and handcuffed

13       behind his back with Officer Chauvin's knee on his neck and

14       Defendant Kueng applying additional weight, pressing him

15       into the unyielding concrete, Mr. Floyd was for far too long

16       unable to expand his chest to take in enough oxygen.

17                  The doctors will explain that, although Mr. Floyd

18       had drugs in his system and, like many people, suffered from

19       high blood pressure and narrowed arteries, it was the police

20       restraint and lack of oxygen that caused his death.

21                  Before I wrap up, I want to talk very briefly

22       about the charges in this case.       At the end of this case,

23       the judge will instruct you on the law, but having the

24       charges in mind as you listen to the evidence can be

25       helpful.



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 46 of 181         225


 1                  The charges here are that the defendants violated

 2       Mr. Floyd's constitutional rights.       The law requires police

 3       officers to intervene when they see another officer using

 4       excessive force and they have the ability to act.

 5                  The first count charges Defendant Thao and

 6       Defendant Kueng with failing in their duty to intervene to

 7       stop or attempt to stop Chauvin's excessive force.

 8       Defendant Lane is not charged with this crime.

 9                  The law also requires police officers to provide

10       basic medical aid when they know a person needs it.             The

11       second count charges all three defendants with seeing

12       Mr. Floyd in serious medical distress and ignoring their

13       duty to help him.

14                  Both charges allege that these crimes resulted in

15       George Floyd's death.     You will hear that the defendants are

16       not charged with intentionally killing Mr. Floyd, and the

17       government does not have to prove that the defendants

18       intended for him to die.

19                  Our society gives police officers powers.

20                  MR. GRAY:    Judge, I object to this as

21       argumentative.

22                  THE COURT:    I think you are moving into argument,

23       counsel.   This is an opening statement, not a closing.

24                  MS. TREPEL:    Yes, Your Honor.

25                  You will hear that police officers have an



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 47 of 181         226


 1       important responsibility to take care of the person who is

 2       in their custody.    "In your custody is in your care."

 3                  At the end of this trial, once you've heard all of

 4       the evidence and met all of the witnesses, we'll ask you to

 5       hold these men accountable for choosing to do nothing and

 6       watch a man die.    We'll ask you to find the defendants

 7       guilty as charged.

 8                  THE COURT:    Thank you.

 9                  Members of the jury, let's take a brief morning

10       break at this time.     I would caution you, once again, not to

11       discuss the case amongst yourselves or other persons.           And

12       we will be in recess for, oh, maybe between 10 and

13       15 minutes.

14                  The jury may be excused.

15                       (Jury excused.)

16                                  IN OPEN COURT

17                               (JURY NOT PRESENT)

18                  THE COURT:    I hadn't asked earlier.      I assume we

19       will go with Mr. Plunkett, Mr. Paule, and Mr. Gray, in that

20       order; is that right?

21                  MR. GRAY:    I was last on the indictment, Your

22       Honor.

23                  MR. PLUNKETT:    The indictment, Your Honor, goes

24       Mr. Paule, Mr. Plunkett, and Mr. Gray.

25                  THE COURT:    Okay.   Okay.   So we start with



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 48 of 181       227


 1       Mr. Paule?

 2                    MR. ROBERT PAULE:    That's fine, Your Honor.

 3                    THE COURT:   Okay.   Okay.    Very well.   Will do.

 4                    MR. PLUNKETT:   Your Honor?     I'm sorry.    I

 5       apologize.    Right when the court is getting up.         At some

 6       point I wanted to make a motion for a mistrial based on the

 7       opening.   We can do that now or at any time.        I'm just

 8       marking the record at this time.

 9                    THE COURT:   Go ahead.

10                    MR. PLUNKETT:   Thank you, Your Honor.

11                    Through the course of the opening we heard

12       Mr. Gray make several objections.         I think three out of four

13       were sustained.    And I simply -- the objection focuses more

14       on prosecutorial misconduct and the comments that were made.

15                    We all know very well that openings are not

16       arguments, and I have a lot of respect for Ms. Trepel, but a

17       lot of her argument -- a lot of her opening was arguments,

18       and Mr. Gray pointed that out.

19                    At this point I'm going to be completely candid

20       with the court.    It's probably premature to grant a

21       mistrial, but if we're going to have a record made about a

22       series of acts by the prosecution that could eventually lead

23       to a mistrial, I do need to make the record when they occur,

24       and that's what I'm doing at this time.

25                    Thank you, Your Honor.



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 49 of 181     228


 1                  THE COURT:    Okay.   Thank you very much.

 2                  Incidentally, I don't know if I put this on the

 3       record, I know I've mentioned it to you, and that is that

 4       any time any of you, defense counsel, make an objection or a

 5       motion, I assume all defense join in that defense or

 6       motion -- in that motion or objection, unless you expressly

 7       turn it down.

 8                  And, with that, that motion that you have just

 9       made will be denied.     I will confess it was moving farther

10       into the argument side than the court normally expects to

11       hear, but it is not grounds for mistrial.

12                       (Recess taken at 11:04 a.m.)

13                                    * * * * *

14           (11:17 a.m.)

15                                 IN OPEN COURT

16                                 (JURY PRESENT)

17                  THE COURT:    You may be seated.

18                  Mr. Paule, I recognize you for your opening.

19                  MR. ROBERT PAULE:     Thank you, Your Honor.

20                  May it please the court --

21                  THE COURT:    Proceed.

22                  MR. ROBERT PAULE:     -- counsel for the government,

23       Mr. Plunkett, Mr. Kueng, Mr. Lane, Mr. Gray, and you,

24       members of the jury.

25                  Good morning to everyone.      My name is Robert



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 50 of 181      229


 1       Paule.   I, along with Ms. Natalie Paule, represent Mr. Tou

 2       Thao.    That is how you pronounce his name.      We have the

 3       honor of representing him in this matter.

 4                   Mr. Thao, I'd like you to stand, remove your mask,

 5       with the court's permission, so the jury can see who you

 6       are.

 7                   COURTROOM DEPUTY:    Let me make sure your mic is

 8       on.

 9                   MR. ROBERT PAULE:    Thank you, Lynn.

10                   You may be seated.

11                   I'd like to begin at least my opening statement by

12       acknowledging a tragedy, because that's really why we are

13       hear.    The death of Mr. Floyd is indeed a tragedy, just as

14       the death of any human being is a tragedy as well.          However,

15       a tragedy is not a crime.

16                   Now, what brings us all here to this courtroom in

17       the middle of a pandemic, with plexiglass everywhere, are

18       the events of May 25, 2020.

19                   You will find out from the evidence in this case,

20       not from an argument of a lawyer, that there is a store

21       called Cup Foods.    Cup Foods is located on the corner of

22       38th and Chicago.

23                   I'm going to step away from the podium to use a

24       little bit of technology to orient you to the area in

25       question.   There we go.



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 51 of 181      230


 1                    First of all, for those of you not familiar with

 2       it, this is essentially a map of Minneapolis showing the

 3       various neighborhoods involved.

 4                    To orient you to this, this area where it says,

 5       "Central" and where I'm circling is essentially downtown

 6       Minneapolis.    The area of 38th and Chicago where this case

 7       occurred is located in the central neighborhood on the south

 8       side of Minneapolis.     That is located here (indicating).

 9       Excuse me.    Right there where it says, "Central."

10                    Now, moving along to the intersection in question,

11       this is an overhead photograph with some modifications of

12       38th and Chicago.    38th Street runs west to east.       And

13       Chicago Avenue South, because Chicago Avenue does not go

14       north of downtown, runs from north to south.

15                    You will see at this intersection there are three

16       specific places indicated.      One is Cup Foods, not to be

17       confused with Cub Foods, but Cup Foods.        That is where the

18       counterfeiting took place.

19                    Across the street on the south side of 38th Street

20       directly across from Cup Foods is the Dragon Wok restaurant.

21       That you will come to know because you will see surveillance

22       video that was taken from a camera placed there by the

23       owners of the Dragon Wok.

24                    And then kitty-corner from the Dragon Wok on the

25       west side of Chicago Avenue directly across from Cup Foods



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 52 of 181        231


 1       is a Speedway station.

 2                   So you will hear information about that and about

 3       people there.

 4                   I think that all of us are familiar with this

 5       incident.   It's been on the news so much.       I think all of us

 6       are also aware of a video that was taken by a young woman

 7       named Darnella Frazier.     She is the one who placed this

 8       video, if I understand it correctly, on her Facebook

 9       account, where it shortly went viral and drew the nation's

10       attention to this incident.

11                   I would point out, however, that that Facebook

12       video does not show what happened before that.         And for you

13       to understand what happened, the entirety of the incident,

14       and for you to understand why the officers chose to act the

15       way they did, you have to look at what occurred before the

16       Facebook video because, again, the Facebook video does not

17       show the entirety of the actions.

18                   Now, what the evidence will show is this incident

19       began about 8:00 p.m. on a Monday evening.        It was May 25th,

20       2020, when an employee of Cup Foods, again, Cup Foods, which

21       is located at 38th and Chicago, placed a 911 call.          The

22       employee placed that 911 call to report that a customer,

23       later identified as George Floyd, had passed a counterfeit

24       $20 bill.   The employee, when making this phone call to 911,

25       also indicated that he believed that this person was under



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 53 of 181         232


 1       the influence of either drugs or alcohol.

 2                  I would note at the outset that, despite what you

 3       might hear otherwise, passing a counterfeit $20 bill is a

 4       crime under both state and federal law.

 5                  The 911 call resulted in police being dispatched

 6       to Cup Foods.    What you will find out is that a squad car

 7       that had both then-Officer Lane and then-Officer Kueng,

 8       Squad 320 -- and you will probably hear a little bit of

 9       evidence about why that squad car had that particular number

10       to it -- was dispatched to go and investigate the situation.

11                  The officers arrived shortly thereafter and spoke

12       with the store employees.      The store employees verified that

13       they believed that Mr. Floyd had indeed passed a counterfeit

14       bill, and they led the police officers out of the store and

15       pointed out across the street that there was a blue Mercedes

16       SUV.

17                  Now, I'm going to step over again to hopefully use

18       that correctly.    This is the third exhibit I'm using, and

19       this is not something that's evidence in the case.          This is

20       used strictly for demonstrative purposes.

21                  But when Squad 320 arrived, Squad 320 arrived

22       driving southbound on Chicago Avenue.        Excuse me.   I won't

23       use my finger.    I will use a pen.     But drove southbound and

24       parked in the front of Cup Foods.       They were parked on the

25       east side of Chicago Avenue almost directly in front of Cup



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 54 of 181           233


 1       Foods.    The vehicle was facing south.

 2                   After the officers, Officer Lane and Kueng, went

 3       into Cup Foods, they were directed again by the employee,

 4       who pointed out a blue Mercedes-Benz.        The blue Mercedes was

 5       an SUV.   I will refer to it sometimes as a blue Mercedes,

 6       sometimes a Mercedes, sometimes SUV.       Not trying to confuse

 7       you.   But they pointed out that the person they believed

 8       passed the counterfeit bill was seated in this car.             So I

 9       indicated with a blue square on the south side of 38th

10       Street east of Chicago Avenue where that was.

11                   Now, as another aside, you are going to see a lot

12       of video in this case.     One of the types of video you see is

13       what's referred to as body cams or body camera footage.            In

14       Minneapolis police officers, at least those in uniform, are

15       equipped with a body camera.      This body camera is mounted on

16       their chest.    And usually what happens is an officer can

17       activate it by tapping it or doing something like that.

18                   But you will actually see the body cam evidence in

19       this case that shows both Officer Lane and Officer Kueng

20       going over to talk to the occupants of that blue Mercedes

21       SUV to figure out what was going on.       We, as citizens in

22       this society, expect police to investigate potential crimes.

23       That's what they were doing in this incident.

24                   So the two police officers go over to the Mercedes

25       SUV and what you will notice, if you watch this evidence, is



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 55 of 181      234


 1       you will see that Officer Lane, as he's crossing 38th Street

 2       headed over to the Mercedes SUV, notices that the occupants

 3       inside this blue Mercedes SUV are moving around.         He makes a

 4       note of that, in other words, he says that to his partner.

 5                    Because people moving around can mean different

 6       things to different people, but that can draw some

 7       suspicions of law enforcement that something may be afoot,

 8       either something -- perhaps people hiding evidence or

 9       perhaps for their safety.      They're worried about someone

10       drawing a weapon.

11                    So he made that comment as he's crossing 38th

12       Street.   Then Officer Lane goes up to the blue Mercedes SUV.

13       What you will find out about the blue Mercedes SUV is that

14       the person seated in the driver's seat was George Floyd.

15       There was another man in the passenger seat, whose name is

16       Morries Hall.    There was a third occupant of that blue

17       Mercedes SUV, a woman named Shawanda Hill.

18                    But when the police went over there, Officer Lane

19       went up and he had to knock on the window of the driver's

20       side loudly with his flashlight to get the attention of

21       Mr. Floyd.    When you view this evidence, you will see that

22       Mr. Floyd is actually turned away and is doing something

23       with his back towards the driver's side door.         So Officer

24       Lane (indicating) loud enough on that window to draw the

25       attention of Mr. Floyd.



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 56 of 181         235


 1                  What he does is he's asking Mr. Floyd to roll down

 2       the window, but Mr. Floyd instead opens the passenger --

 3       excuse me, the driver's side door.       He's still not sitting

 4       there and following directions.       Officer Lane is rightfully

 5       nervous about what's going on inside the car, so he asked

 6       Mr. Floyd to put his hands on the steering wheel.

 7                  What you will learn is that, from a safety

 8       standpoint, a person's hands are important for a police

 9       officer because that is typically where danger comes from.

10                  So he specifically directs Mr. Floyd to put his

11       hands on the steering wheel.      Mr. Floyd is protesting at

12       this time stating he's done something wrong.         "I'm not that

13       guy."   You will hear all this.     But he's not putting his

14       hands on the steering wheel.

15                  So at this point Officer Lane draws his firearm

16       and directly commands him to put his hands on the steering

17       wheel, and what you will see from the body cam footage is

18       Mr. Floyd's left hand going on there, but his right hand is

19       out of sight.

20                  And you -- again, one of the beautiful parts about

21       our legal system is the right to a trial by a jury.             You, as

22       the jury in this case, get to decide what the facts are.

23       It's not what I say they are.      It's not what any other

24       lawyer says they are.     You, as the jury, as a group get to

25       decide what the facts are.



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 57 of 181        236


 1                  But when you watch that video, watch to see what

 2       you think Mr. Floyd is doing with his right hand.         What you

 3       will see is he is reaching towards the center console area

 4       of this blue Mercedes SUV.

 5                  Now, one of the other things that you will learn

 6       is that following this incident law enforcement seized that

 7       blue Mercedes SUV and took it in for what's called

 8       processing.    This is where people in law enforcement look

 9       for evidence and document what's happened.

10                  And you will see photographs from inside that blue

11       Mercedes SUV particularly of that center console area where

12       Mr. Floyd's right hand was.      You will find that what they

13       found in there, when police searched that, was indeed

14       counterfeit money.     And they also found narcotics in that

15       car, and these are illegal drugs.       They were found in that

16       center console area.

17                  Now, Mr. Floyd continues to protest, continues to

18       not follow the directions from Officer Lane.         Meanwhile, at

19       this time Officer Kueng is on the other side of the blue

20       Mercedes SUV talking to the passengers trying to figure out

21       what's going on and keeping an eye on them.

22                  But as Mr. Lane talks to Mr. Floyd, Mr. Floyd is

23       not following his instructions, so Officer Lane orders him

24       to get out of the car.     Again, Mr. Floyd refuses to follow

25       instructions.



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 58 of 181       237


 1                  Think about this.     We expect law enforcement to

 2       investigate criminal behavior.      And law enforcement are

 3       given powers, one of the many things Ms. Trepel said, but

 4       law enforcement have the right and the duty to investigate

 5       criminal behavior, and we expect that they will do so.

 6                  So when Mr. Floyd doesn't want to get out of the

 7       car, ultimately Officer Lane begins to pull him out

 8       physically.    You will see on the video, you will see for

 9       yourself that Mr. Floyd is not only not following commands,

10       but he's physically resisting at this point.

11                  Officer Kueng, on the other side of the vehicle,

12       notices the struggle and goes around the rear of the blue

13       Mercedes SUV and assists Officer Lane in handcuffing and

14       getting Mr. Floyd completely out of the vehicle.         You will

15       see a struggle that was going on at this point.         Again,

16       Mr. Floyd is not following commands.

17                  By the way, I'm not saying these things as a means

18       to try to denigrate Mr. Floyd.      What I'm doing is pointing

19       out what his actions were during this time.

20                  So Mr. Floyd is now out of the vehicle, and

21       Mr. Kueng then takes and begins to try to walk him over.

22       And if I can go back over here, at this point the officers

23       are on the driver's side of the blue Mercedes SUV right here

24       (indicating).

25                  And what happens is Officer Kueng takes Mr. Floyd



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 59 of 181        238


 1       over and has him seated down by the wall.        The wall is the

 2       outside wall of the Dragon Wok restaurant.        At this point

 3       Mr. -- I'll stand near a microphone.       At this point

 4       Mr. Floyd is handcuffed.

 5                  When you look at the body camera evidence, watch

 6       and I believe you will notice that at least once, if not two

 7       times, Mr. Floyd appears to either attempt to fall down or

 8       to sit down as Mr. Kueng is escorting him over to the wall

 9       by the Dragon Wok.

10                  When he's over at the wall at the Dragon Wok,

11       Officer Kueng asks him, "Can you identify yourself?"            He

12       takes Mr. Floyd's name, because Mr. Floyd gives him his full

13       name and date of birth.

14                  And then you will notice that there was a

15       Minneapolis Park police officer, Officer Chang, Peter Chang.

16       He arrives as backup.

17                  Later in this trial you will hear testimony from a

18       woman named Jenna Scurry.      She works for Minneapolis 911

19       dispatch, and she can give you detail about what she calls

20       out when a person does a 911 call, how police and everyone

21       else responds.

22                  But there was a back up officer that arrived at

23       this point from the Minneapolis Park Police.         He was at a

24       nearby park, but arrived as backup.

25                  What you will find out is that the Minneapolis



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 60 of 181         239


 1       Police Department and the Minneapolis Park Police, who

 2       basically patrol the park system of Minneapolis, will work

 3       together.   They actually attend the same police academy.

 4                   So Officer Chang shows up.     So Officer Kueng gives

 5       him Mr. Floyd's name and asks him to run it for warrants.

 6       That is to check and see if somebody has a warrant out for

 7       their arrest or something like that.       It's pretty much

 8       routine police behavior.

 9                   At this point Officer Lane comes back over, and

10       both he and Officer Kueng begin talking to Mr. Floyd.

11       Officer Lane and Officer Kueng at this point appear to be

12       concerned about the behavior of Mr. Floyd.        They indicated

13       that he is, quote, acting very erratic and they are asking

14       him if he is, quote, on something, presumably referring to

15       drugs or narcotics of some sort.

16                   Officer Kueng even noted that Mr. Floyd had foam

17       around his mouth, and you will see the video of that.           And

18       Officer Kueng actually asks Mr. Floyd about that foam.

19       Mr. Floyd appears to acknowledge that and tells the

20       officers, quote, I was hoopin' earlier.        When I use the word

21       "hoopin'," I'm spelling it h-o-o-p-i-n.        That is a word that

22       you will find out is subject to at least two different

23       meanings.   But he acknowledges that he was doing what's

24       called hoopin' earlier.

25                   And at this point the two officers then bring



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 61 of 181       240


 1       Mr. Floyd over.    They walk him across -- back northbound

 2       across 38th Street towards their squad car.        Again, as they

 3       are walking him, Mr. Floyd appears to sag down.         They are

 4       telling him to keep walking.

 5                    They then arrive on the driver's side of

 6       Squad 320, which is parked outside of Cup Foods.         At this

 7       point again Mr. Floyd is protesting.       He appears to not

 8       comprehend fully what's going on.       And what he tells the --

 9       excuse me.    The officers tell him to get up alongside the

10       side of the car so they can search him.

11                    When officers detain someone, if they have a

12       reason to do so, they are authorized to make sure that a

13       person doesn't have any weapons or the means to hurt them.

14       So they'll perform what's called a pat search, which is a

15       search of the outer part of a person's clothing and

16       sometimes going into their pockets, to make sure there's

17       nothing that that person could use to harm the officers.

18                    So Officer Kueng is trying to get Mr. Floyd to

19       lean up against Squad 320 to allow him to perform that

20       search.   You will see the body cams.      You will hear the

21       protestation.    I would point out that Mr. Floyd is not only

22       protesting verbally, he's not following instructions, but

23       he's actually physically resisting.

24                    You will hear of a struggle that's going on, and

25       at this point you will start to hear a third voice, a voice



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 62 of 181       241


 1       from a person that was standing on the side of the road and

 2       somehow came over because of curiosity or something, nothing

 3       untoward, and began speaking to Mr. Floyd himself.          This

 4       person was later identified as Charles McMillian.         Charles

 5       McMillian began saying things to Mr. Floyd like, "Just get

 6       in the car, you can't win."

 7                   Officers search Mr. Floyd.     And what do they find

 8       in his pocket?    They find a small glass pipe commonly used

 9       to smoke narcotics.     Again, I'm not trying to denigrate

10       Mr. Floyd, but we've now got the drugs that were recovered

11       in the Mercedes and you've got a glass pipe found on

12       Mr. Floyd's person.

13                   Now I'd like to shift gears and go back to the 911

14       dispatch.   Originally when the call went out, the 911

15       dispatcher sent or dispatched Squad 320 to respond to the

16       counterfeiting call.

17                   At this time Officer Thao, my client, and his

18       partner then for the day, Officer Chauvin, responded as

19       backup, much like Officer Chang did.       But they were

20       responding from the Third Precinct, which is a little bit

21       east, a couple miles east at least, of 38th and Chicago.           So

22       they responded initially as what's called Code 3.

23                   Now, you'll hear terminology from police officers

24       that might be a little different to you.        You will hear

25       different codes.



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 63 of 181         242


 1                    One is what's called Code 2.     And if I'm a police

 2       officer and I'm responding to something Code 2, It means

 3       drive there but obey the traffic laws.        I'm not using my

 4       lights or sirens, presumably not making any side trips, but

 5       I'm driving directly to the place that I'm going to and

 6       observing traffic conditions, in other words, no lights or

 7       siren.

 8                    Code 3 means something different.      It means that

 9       I'm there to proceed as fast as is safely possible.             This is

10       where you see police officers with their lights and sirens

11       on approaching intersections, slowing to go through and then

12       going forward.

13                    Code 4 means something different.      It means

14       essentially the situation is under control.        You will hear

15       from the witnesses themselves from the witness stand behind

16       me, they will explain this much better than I will.

17                    But Officers Thao and Chauvin, who are partners

18       for that day, begin responding to the area.        First Code 3.

19       Then you will hear Code 4, which means essentially that the

20       situation is under control.      So at that point the squad that

21       contains both Officer Thao and Officer Chauvin continues on

22       to go for backup, but they do so without using their lights

23       and siren.

24                    As another note, the squad -- excuse me, police

25       squad cars also have cameras that can show things.          What you



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 64 of 181     243


 1       will see from my client, Officer Thao, then-Officer Thao's

 2       body camera footage is that you can see the car going and

 3       you can see the lights on and you can see them slowing.         You

 4       will also overhear the conversation.

 5                    And I would note that they respond -- I would

 6       assume one of the things is you will find out that this is

 7       either the third or fourth days for both Officer Kueng and

 8       Officer Lane as essentially full-fledged police officers.

 9       We might disagree about some of the verbiage, but they've

10       completed the field training program and are essentially

11       allowed to go on calls by themselves.

12                    But both these officers were paired together that

13       day.   They were new, at least in the eyes of my client,

14       Officer Thao.    That is one of the reasons that they went and

15       continued for back up.

16                    You will also notice from the evidence in this

17       case that while en route my client indicates that the area

18       of 38th and Chicago is what he refers to as Bloods

19       territory.

20                    Now, the Bloods are one of several Minneapolis

21       street gangs.    They are based in the central area of

22       Minneapolis, and they often wear red clothing to

23       differentiate themselves from other street gang members.

24                    Officers Thao and Chauvin ultimately arrive at

25       38th and Chicago.    And, again, when you see the body camera



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 65 of 181          244


 1       footage, they park sort of on the east side of 38th Street,

 2       but then decide to pull forward more towards the front of

 3       Cup Foods and park on the north side of 38th Street.            This

 4       is at 8:17 p.m.

 5                  At this point both Officer Chauvin and Officer

 6       Thao exit their squad and walk over to Squad 320 to see what

 7       is going on and to see if their assistance is still needed.

 8       And what you will see is at this point Officer Chauvin

 9       arrives first, Officer Thao behind him, but when they

10       arrive, there's a struggle going on.       At this point Officer

11       Kueng and Officer Lane are struggling trying to get

12       Mr. Floyd to get in the backseat of the squad car.

13                  And think about this.      What they're really doing

14       is they're trying to do what's called detain him to allow

15       them to complete their investigation about whether any sort

16       of a crime has been committed.      Mr. Floyd is still not

17       responding to their commands and he's physically resisting

18       them.

19                  At this point when the officers arrive, Officer

20       Lane is now on the passenger side of Squad 320, basically --

21       so he's standing almost in the lane of Chicago Avenue if I

22       was driving northbound on Chicago Avenue.        But they're

23       struggling trying to get Mr. Floyd in the car.         And at this

24       point, then, Mr. Lane is on the other side trying to do it.

25                  Officer Chauvin goes around to the passenger side



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 66 of 181       245


 1       as well too, and then you will see that Mr. Floyd basically

 2       ejects himself out of the passenger -- the rear part of

 3       Squad 320 and begins to struggle physically with both

 4       Officer Lane and Officer Chauvin.

 5                   Officer Kueng is at this point back on the

 6       driver's side of the car, but he quickly goes around, as

 7       does my client following him, around the rear part of

 8       Squad 320 to figure out what's going on.

 9                   At this point, then, my client, Officer Thao,

10       comes back around the blue Mercedes SUV.        He opens the rear

11       squad door and looks in to see what's going on.         And you

12       will see from his body camera footage that Mr. Floyd, even

13       in handcuffs, is still struggling mightily with the

14       officers.

15                   You will see at some point Officer Chauvin, I

16       believe, and I'll let you decide what the video shows, with

17       his arm around trying to get him out of the car so they can

18       deal with Mr. Floyd.

19                   Ultimately my client closes the door and goes back

20       around.   That's about the time that Mr. Floyd is finally out

21       of the car and is placed on the ground.

22                   Now, when Mr. Floyd is placed on the ground, he's

23       placed first, I think, on his back, but then laid over

24       facedown in what, again, you will learn is something called

25       the prone position.



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 67 of 181     246


 1                  And the other three officers, Officer Chauvin up

 2       near the head area, Officer Kueng on the middle of

 3       Mr. Floyd, and Officer Lane by his feet or the leg area,

 4       these officers are then holding him down in this position,

 5       they are restraining him.      And at this point there's a

 6       discussion about what to do.

 7                  You, again, will hear what the officers were doing

 8       during this time, who was saying what to who, but at some

 9       point the officers request what's called an MRE, which

10       stands for maximum restraint something, equipment, I

11       believe, MRE.    Sometimes this is referred to what's called

12       the hobble device.

13                  And what this is is this is a means of, when

14       somebody is resisting, to put them in a maximum restraint.

15       Their handcuffs are behind their back.        They would attach

16       this device too somehow and restrain his feet so the person

17       really can't do much of anything.

18                  But at that point, then, Officer Thao goes back

19       and opens the rear compartment to Squad 320 and begins going

20       through a bag.    It might seem like it takes a while for him

21       to find that, because it's not his squad car and there are

22       what are called duty bags in the back of the squad belonging

23       to each of the other two officers.

24                  So Officer Thao is attempting to locate this

25       hobble device in these duty bags.       He ultimately finds it



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 68 of 181        247


 1       and goes over and offers it to them, but at that point the

 2       decision is made not to use that maximum restraint

 3       equipment.    Officer Thao then inquires if medical assistance

 4       has been requested.

 5                    Now, I'm going to step aside.     In this case you

 6       will hear terminology that -- things like EMS.         That stands

 7       for emergency medical services.       And, again, when Jenna

 8       Scurry, who is the dispatcher from Minneapolis 911, she can

 9       elaborate on this, but what you will learn is that when

10       police officers believe that medical assistance may be

11       required, they will ask for EMS, emergency medical systems.

12                    And so at this point Officer Thao asks if EMS has

13       been requested and is told that it has been.         Officer

14       Thao -- apparently this was done when he was back looking

15       for the hobble device.     But as he's sitting there trying to

16       determine what to do, they clarify that EMS has been

17       requested and essentially what level.        They say Code 2.

18                    So Officer Thao then gets on his radio.      And one

19       of the things you will learn about is what type of equipment

20       police officers have, but he's got a radio that allows him

21       to communicate via police dispatch channels on his left

22       shoulder.

23                    So Officer Thao then uses his radio to ask

24       dispatch to do what's called step up the emergency medical

25       service response to Code 3.      That's, again, lights and



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 69 of 181       248


 1       siren.   They clarify that that is what they are going to do,

 2       so they do that.

 3                  While Officer Thao is standing next to the squad,

 4       he learns that a pipe had been discovered in the search of

 5       Mr. Floyd and turns and actually asks Mr. Floyd, "What are

 6       you on?"   You can draw your own conclusions, but I think

 7       it's pretty clear that my client, Officer Thao, is wondering

 8       why Mr. Floyd is behaving in the manner in which he is.         And

 9       at this point emergency medical services has already not

10       only been requested, but asked to step up and arrive as soon

11       as possible.

12                  Now, going back to my map -- I'm going to go back

13       to the first exhibit that I showed you.        Okay.   So, again,

14       we have the central neighborhood, which is essentially --

15       can you see this?    Here (indicating) is the central

16       neighborhood.    And I believe it's sort of near this area of

17       the central neighborhood, right here (indicating) that is

18       38th and Chicago.

19                  But the emergency medical services have been

20       requested, and it comes in this particular part of

21       Minneapolis from what's called Hennepin Healthcare.

22       Hennepin Healthcare is kind of a new acronym for what we

23       used to call Hennepin County Medical Center or, back in my

24       parents' day, General Hospital, which is located downtown

25       somewhere in this area (indicating).       So it's not that long



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 70 of 181      249


 1       of a drive for them to get there.

 2                  At this point, because Mr. Floyd is restrained,

 3       you will see video showing my client standing there, as

 4       Ms. Trepel pointed out a number of different times, standing

 5       there trying to figure out what to do.

 6                  Clearly, Mr. Floyd does not need an additional

 7       officer restraining him, so he essentially acts as what's

 8       called, in his own words, a human traffic cone to try to let

 9       oncoming traffic know that there's a police officer here.

10       Maybe they will see him if they don't see the other officers

11       on the ground.

12                  And at this point you will start to see that a

13       crowd is beginning to form on the sidewalk.        If I am where

14       Officer Thao is and the car is over here (indicating), the

15       crowd is forming in front of him on the sidewalk on the east

16       side of Chicago Avenue in front of Cup Foods.

17                  You will hear that a group of people came there

18       and they began interacting with the officers.         This is

19       essentially when that Facebook video that went viral was

20       begun to be taken.

21                  But that Facebook does not capture what all the

22       entirety of the situation would have happened there before

23       that allows you to understand what the police officers were

24       thinking and why they were taking the action that they did.

25                  Now, what you will hear is names like Darnella



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 71 of 181      250


 1       Frazier.   She is the young woman who took that video.

 2       Another woman named Alyssa Funari.       Charles McMillian, he is

 3       the gentleman who is the first one talking to Mr. Floyd.

 4       You will hear him say repeatedly, "You can't win" and "Get

 5       in the car."    Then you will hear about another person named

 6       Donald Williams.    And, finally, another person named

 7       Genevieve Hansen, who is an off-duty Minneapolis firefighter

 8       who happens upon the scene.

 9                    Now, all these people came and, as Ms. Trepel told

10       you, they began observing and they began objecting, and

11       they're getting more vociferous.       Now, again, I point out

12       something.    What I say is not evidence.      You, as the jury,

13       get to decide what is the evidence.       But look to that crowd

14       and you will see them objecting and getting louder and

15       objecting more to what they perceive is happening.

16                    But one of the things that no lawyer can change is

17       that none of those people knew any of what was going on

18       before that point, save for Mr. McMillian, who I believe you

19       will hear began observing this as Mr. Floyd is being walked

20       across 38th Street by the two officers.        Other than that,

21       none of those people on that sidewalk knew what was going

22       on.

23                    Now I'm going to speak briefly about the charges,

24       as did Ms. Trepel.     My client, Mr. Thao, is charged with

25       violating the Constitution of the United States.         That is



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 72 of 181        251


 1       why we are in this courtroom.      He is not charged with

 2       violating any state law.      But he's charged with violating

 3       the Constitution essentially in two ways.

 4                  And, again, one of the things that I will point

 5       out is that I may talk to you about the law and the facts,

 6       but you, as the jury, get to decide what facts have and have

 7       not been proven in this courtroom, no matter what I or any

 8       other lawyer says.

 9                  The second point that I want to make clear is that

10       it is not my job as a lawyer to tell you what the law is.

11       That is solely the responsibility of the court, and I have

12       no doubt that Judge Magnuson will instruct you on what the

13       law is.

14                  But essentially the two charges against my client

15       are that he violated the Constitution by, one, failing to

16       intervene when Officer Chauvin was using force, accused of

17       being unreasonable force, under the circumstances.          That's

18       the first count.

19                  The second count is that he violated the

20       Constitution because he was what's called deliberately

21       indifferent to the serious medical needs of a person, in

22       this case Mr. Floyd.

23                  Now, both of these charges require that the

24       government prove specifically that my client was acting

25       willfully in taking each of those respective allegations.



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 73 of 181       252


 1       The court will tell you what "willfully" means.         It is not

 2       my place to do so.

 3                   As in any criminal case, Mr. Thao is presumed to

 4       be innocent of these charges and the burden is solely on the

 5       government to prove these allegations beyond a reasonable

 6       doubt.

 7                   Now, in conclusion, I think we all understand that

 8       police officers are often called to deal with situations

 9       where they have little information.       These can be difficult

10       situations.    They can be dynamic and changing situations.

11       They can be very dangerous situations at times.

12                   And if you look at the people that they are

13       dealing with, oftentimes these people are emotional, they

14       are scared, they are angry, and oftentimes they've either

15       been using or under the influence of some sort of chemicals.

16                   Police actions are often very difficult to

17       understand and fully comprehend in a vacuum, and I don't

18       want you to do that in this case.       That's why it is

19       important that you focus on all the evidence, not just what

20       happens once the crowd begins to show up.

21                   This case involves the use of force by police

22       officers.   Use of force is often disturbing to watch and

23       difficult to comprehend, even if the best of circumstances.

24                   In this case, the video that shows this is both

25       graphic and disturbing.     It can be difficult to watch.



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 74 of 181     253


 1       That's one of the reasons that I believe the court inquired

 2       of you as potential jurors if you were able to do that.         But

 3       you will be required to do that.

 4                  Now, as I stated at the outset of my opening

 5       statement, the events that occurred that day are indeed a

 6       tragedy, but the fact that something ends tragically does

 7       not mean that a crime has been committed.

 8                  The fact that Mr. Floyd lost his life under tragic

 9       circumstances, it is a tragedy, just as loss of any human

10       life, but that does not mean that the actions of Mr. Thao

11       were criminal.

12                  In this case, at the end, once you've heard all

13       the evidence, I will stand before you and I will ask you to

14       render the only verdict that will be justified under the

15       circumstances and that, ladies and gentlemen, is a verdict

16       of not guilty on all counts.

17                  Thank you very much for your time.

18                  THE COURT:    Thank you, Mr. Paule.

19                  Mr. Plunkett.

20                  MR. PLUNKETT:    May it please the court, Ms. Bell

21       and your team, Mr. Paule, Ms. Paule, Mr. Thao, Mr. Gray,

22       Mr. Lane, friends, family, supporters, members of the jury.

23                  This case is about a tragic event in our nation's

24       history that most of, if not all, have viewed through social

25       media and various news sources.



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 75 of 181          254


 1                  As they say, things can't be unseen, but that

 2       video, that video is not what Alex Kueng saw.         It's not what

 3       Alex Kueng perceived and it's not what he experienced on

 4       May 25, 2020.    Please keep in mind that the video that you

 5       saw, the video that may be etched in your minds has little

 6       to nothing to do with what Alex Kueng saw and perceived.

 7                  In fact, I anticipate that you will hear from at

 8       least one witness that an eyewitness from the sidewalk had

 9       no idea that Alex Kueng and Mr. Lane were even there.           They

10       couldn't see him.    He couldn't see them.      And Alex Kueng

11       certainly could not see or react to what the people on the

12       sidewalk were seeing and reacting to.

13                  This case is about a tragic tale, about a rookie

14       officer, a rookie less than three full shifts out of his

15       career -- into his career as a Minneapolis police officer

16       that was confronted with an extraordinarily complex, rapidly

17       unfolding set of circumstances.

18                  The evidence is going to show that Mr. Kueng --

19       he's going to stand and take off his mask.        Thank you.    Have

20       a seat.   -- was thrusted into these events with, one,

21       inadequate training; two, lack of experience; three, a

22       perceived subordinate role to Officer Chauvin; and, four,

23       confidence in Officer Chauvin, a senior officer, not only a

24       senior officer, Officer Chauvin, but also Alex Kueng's field

25       training officer or FTO just two and a half shifts before



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 76 of 181      255


 1       the encounter with Mr. Floyd.

 2                  A field training officer or FTO is an officer

 3       chosen by the City -- by the Minneapolis Police Department

 4       to mentor and train a recruit immediately after the recruit

 5       finishes the Minneapolis Police Academy.        You will learn,

 6       through the evidence, that an FTO has considerable sway,

 7       considerable power over a recruit's future.

 8                  These four items, which are failures on the part

 9       of the Minneapolis Police Department, combined with a

10       confrontational crowd, created a dynamic, unusual, and,

11       frankly, foreign situation.      Alex Kueng did his even best to

12       do his job, just the way he'd been trained.

13                  In the end, the evidence will show that on

14       May 25th, 2020, George Floyd, our entire community, and Alex

15       Kueng were let down by the Minneapolis police

16       administration.

17                  My name is Tom Plunkett.      It is a great honor to

18       be here.   It is a privilege to be a lawyer in America and to

19       serve our constitutional principles that so many have given

20       so much to preserve and able to stand before you in this

21       distinguished court and be given the honor of serving as

22       Alex Kueng's attorney.

23                  This is an opening statement.       It is meant to be

24       my opportunity to give you an overview or a road map to the

25       case.   I'm supposed to tell you what the facts, many of



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 77 of 181      256


 1       which were left out by the government, will show.

 2                  So here's what I'm going to do in the next half

 3       hour or so.    I'm going to introduce you to some of the key

 4       players.   I'm going to introduce you to the police officers.

 5       I'm going to introduce them to you because they are not

 6       abstract beings.    They are people.     They are people with

 7       lives and families and dreams of careers.        And then I'm

 8       going to just outline what Mr. Kueng, my client, Alex Kueng,

 9       believes the facts will show.      And then, finally, I'm going

10       to talk a little bit about the law and the burden of proof.

11                  Understanding who we are talking about is a fact

12       that you need to consider to make the important decisions

13       about whether Mr. Kueng acted willfully.        Very important

14       word.

15                  The court will define "willfully" for you, and you

16       must follow the court's definitions.       I'm going to

17       paraphrase and try to sum it up for you, but I don't give

18       you the law.    The court gives you the law.      Any law that I

19       give you is not the law because it hasn't come from the

20       court.

21                  I do anticipate that the court will instruct you

22       that "willfully" means committing acts with a bad purpose or

23       improper motive, to disobey or disregard the law,

24       specifically intending to deprive Mr. Floyd of his rights.

25       That is a paraphrase of what "willfully" means.



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 78 of 181          257


 1                    You, as a jury, need to decide this important

 2       question of willfulness.       In doing so, you will hear and see

 3       evidence.    I respectfully submit to you the evidence is not

 4       simply data marks in time during a 20-minute encounter

 5       between Mr. Floyd, Alex Kueng, and the other officers on

 6       May 25th, 2020.    Instead, the facts need to be considered in

 7       light of the people who participated.

 8                    To answer this willful question, to determine if

 9       there's a bad purpose or improper motive, you will need to

10       know just who these people are, where they came from.            And

11       so I am going to introduce them to you.        Who are the people?

12       Alexander Kueng.

13                    Mr. Kueng was just 26 years old when these events

14       unraveled.    He grew up in a culturally and ethnically

15       diverse home in a culturally and ethnically diverse area of

16       Minneapolis, that is, North Minneapolis.          Alex Kueng's

17       mom --

18                    MS. BELL:    I'm going to object at this point.

19                    THE COURT:    I'm sorry.   I couldn't hear.

20                    MS. BELL:    Objection, Your Honor.

21                    THE COURT:    Overruled.

22                    Proceed.

23                    MR. PLUNKETT:    Alex Kueng's mom, Joni Kueng, a

24       teacher in North Minneapolis, is white.        Alex Kueng's

25       absentee father was Nigerian.       He died at a fairly young



                                 RENEE A. ROGGE, RMR-CRR
                                    (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 79 of 181      258


 1       age.   Ms. Jodi Kueng later adopted four at-risk youth,

 2       making Ms. Kueng the only white person in the home where

 3       they grew up.    Ms. Joni Kueng, Alex's mom, is a teacher in

 4       North Minneapolis, just as her father was.

 5                  Alex Kueng did not grow up dreaming of being a

 6       police officer.    He dreamed of being a professional soccer

 7       player and to his credit --

 8                  MS. BELL:    Your Honor, objection.

 9                  THE COURT:    Yeah, I think, counsel, we're starting

10       to get away a little bit from the case.        I'm going to ask

11       you to cut the introduction short.

12                  MR. PLUNKETT:    The point is that neither he or his

13       family had any romanticized notions about the police and

14       their community.

15                  Alex Kueng's path to a career in law enforcement

16       came to him later.     He felt there needed to be a change in

17       policing, and the only way to accomplish that was to take

18       the problem on firsthand.      He wanted to create change from

19       within.

20                  To make this happen, Alex Kueng, a 2012 graduate

21       of Patrick Henry High School, finished his college degree at

22       the University of Minnesota, getting a BA in sociology of

23       law, criminology and deviance in 2018.        He had worked loss

24       prevention for two department stores while in college.

25                  In anticipation of completing his college degree,



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 80 of 181      259


 1       he began the Minneapolis Police community service officer

 2       program.    That was in December 2017.     The community service

 3       officer program or CSO is a traditional -- pardon me,

 4       transitional job for people seeking to become Minneapolis

 5       police officers.    On February 19, 2019, Mr. Kueng began his

 6       orientation at the Minneapolis Police Academy.

 7                   Mr. Thomas Lane was Alex Kueng's partner on

 8       May 25th, 2020.    Interestingly, Alex Kueng and Lane attended

 9       the same police academy class.      Mr. Lane had completed one

10       more shift than Alex Kueng, and what that means is that

11       Kueng and Lane had five post-FTO shifts between them when

12       they were placed as partners in the same squad car.

13                   You will find out through the evidence that it's

14       not uncommon in Minneapolis to place inexperienced officers

15       together.   It has to do with how the officers bid their

16       assignments.

17                   Basically, officers bid to be on a specific

18       vehicle, a squad car.     Generally, there are three to five

19       officers assigned to a squad car, and that assignment is

20       determined by a bidding system where the senior officers

21       pick first.    So obviously they pick their friends.

22                   Mr. Lane is older than Mr. Kueng by about ten

23       years.   After high school, Lane worked in construction for a

24       bit.   Then found his way back to college.       Both Kueng and

25       Lane have degrees in sociology of law, criminology and



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 81 of 181        260


 1       deviance from the University of Minnesota at different

 2       times.   Mr. Lane has worked in juvenile corrections for both

 3       Ramsey and Hennepin County.

 4                  Kueng and Lane had never met prior to joining the

 5       police academy class on February 19th, 2019.

 6                  Mr. Lane is represented by Mr. Earl Gray.

 7                  Mr. Tou Thao.    On May 25th, 2020, Mr. Tou Thao was

 8       working with Derek Chauvin in Squad 330.        Mr. Thao has about

 9       ten years of experience, eight to ten years' experience as a

10       police officer in the City of Minneapolis.        He also began

11       his career as a CSO, the same program that Mr. Kueng

12       participated in.

13                  Officer Thao was driving Squad 330 on the day

14       these events transpired.      His role was to stand between the

15       officers and the crowd that gathered.        That fact will be

16       shown by several different videos of this event.

17                  Mr. Thao is represented by Bob Paule and

18       Ms. Natalie Paule.

19                  Officer Derek Chauvin was the most senior officer

20       on the scene on May 25th, 2020, with approximately 19 years

21       on the street.    He was the most senior officer by about nine

22       or ten years.

23                  Officer Chauvin has been an FTO or field training

24       officer in the Third Precinct for a very long time.             In

25       fact, in fact, he was Alex Kueng's FTO.        Mr. Lane, who was



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 82 of 181       261


 1       in FTO at the same time as Alex Kueng, they worked the same

 2       shift as Officers Chauvin and Kueng.

 3                  You will find out through the evidence that the

 4       FTO has great control over young officers' future in the

 5       Minneapolis Police Department.      The recruit, which is what

 6       an FTO -- what an officer on FTO, is called, is referred to,

 7       can be terminated from the department at the FTO's

 8       recommendation.

 9                  You will find that each recruit by policy is

10       required to have four different FTOs and work in two

11       different precincts.     That is part of the FTO training

12       policy.

13                  That did not happen with Alex Kueng and Officer

14       Chauvin.   Instead, Officer Chauvin was Kueng's FTO for two

15       of the four phases of Mr. Kueng's, Alex Kueng's, FTO

16       experience.    A review of Alex Kueng's recruit officer

17       performance evaluations or ROPEs, will reveal that Officer

18       Chauvin was the FTO for 42 out of roughly 79 or so shifts

19       that Alex Kueng worked during his FTO experience.         While

20       that violates MPD policy, that is what you will find out.

21                  The evidence will show that Officer Chauvin took

22       over control of the scene on May 25th, 2020.         You may hear

23       that MPD policy states that the senior officer in the first

24       car to arrive is in charge.      If that were true, that would

25       mean Mr. Lane, who was partway through his fourth shift as a



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 83 of 181       262


 1       police officer, was in charge.

 2                  Despite that policy, you will see that Officer

 3       Chauvin was clearly in charge once he arrived.         You will

 4       hear Officer Kueng -- pardon me.       You will hear Mr. Kueng

 5       and Mr. Lane call him "sir" and you will see and hear him,

 6       Officer Chauvin, call all of the shots.

 7                  Chief Arradondo is a recently retired Minneapolis

 8       police chief.    He began working for the Minneapolis Police

 9       Department in 1989.     You will hear some evidence about the

10       Minneapolis Police Department's duty to intervene.          Chief

11       Arradondo wrote that policy I believe, the policy on duty to

12       intervene, in 2016.     He later became the chief in

13       approximately August 2017.

14                  The facts will show that, although he wrote the

15       policy on the duty to intervene, he never mandated

16       scenario-based training on the duty to intervene after he

17       drafted the policy and never implemented scenario-based

18       training after he became the chief of police.         The facts

19       will show that he was aware of the problems with the FTO and

20       the training program as early as 2017.

21                  Inspector Katie Blackwell, a police inspector, is

22       a very high ranking officer in the Minneapolis Police

23       Department.    There are only three or four ranks higher than

24       the inspectors, including the rank of chief.

25                  Inspector Blackwell was in charge of training at



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 84 of 181        263


 1       the times leading up to and after May 25th, 2020.         You will

 2       learn that Inspector Blackwell was well aware of the

 3       problems in Minneapolis Police Department Academy and FTO.

 4       I anticipate that you will find out -- Inspector Blackwell

 5       will testify about the programs that she oversaw and changes

 6       that she implemented.

 7                  I also anticipate that she will provide

 8       information about the ROPEs, the recruit officer performance

 9       evaluations, what those ROPEs consider and the criteria for

10       evaluating an FTO.

11                  You will also learn that Inspector Blackwell has

12       known Officer Chauvin for quite some time and, in fact,

13       approved him to be an FTO.

14                  Inspector Blackwell will testify about the

15       expectations on the duty to intervene.        But, more important,

16       an expectation is the amount and level of training recruits

17       and officers receive.

18                  When Inspector Blackwell is testifying, the

19       biggest question will be:      Does the training illuminate the

20       expectations of the department?       That is, because if an

21       officer leaves the training and they can't implement the

22       lesson, the training has failed.

23                  You will learn that the academy training on

24       intervention is little more than a word on a PowerPoint, an

25       officer reading the policy and then giving a couple of



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 85 of 181         264


 1       examples of what excessive force are.

 2                    There's going to be other trainers that are going

 3       to testify.    You will also hear from several other police

 4       officers who were involved in the training in the

 5       Minneapolis Police Department Academy.        They are all very

 6       important.

 7                    They are important since they will help you

 8       understand what is trained, what is retained, and what

 9       experienced officers who are directly involved in the

10       implementation of training and policy know and understand

11       about what is taught and the general knowledge of policies.

12       There's going to be several of them.       There might be an

13       officer named Dinh, Soucy, Dick.

14                    I know you are going to hear from a training

15       officer named MacKenzie.      She doesn't do use of force.      She

16       does medical training.     While all are trained to initiate

17       CPR if there is not a pulse, there isn't a lot of training

18       in how to apply that in the field.

19                    You will hear testimony from many officers who I

20       have not mentioned, and I'll talk about that testimony in my

21       closing.

22                    To talk about all the testimony that every officer

23       is going to provide you during this trial, I would have to

24       talk on and on until the end of time and then I would not be

25       very popular.



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 86 of 181       265


 1                  You will hear from a distinguished cast of medical

 2       professionals, all of whom know much more about medicine

 3       than all of the officers in the Minneapolis Police

 4       Department combined.

 5                  I did not mention the several bystanders who will

 6       testify.   That's not an oversight on my part.        I left them

 7       out because what they saw and what they reacted to is not

 8       what Alex Kueng saw, not what Alex Kueng perceived, and not

 9       what he reacted to.     The evidence will also show that Alex

10       Kueng did not see this event through their eyes.

11                  I anticipate the court will instruct you that you

12       must consider these events as they were perceived by the

13       individual officers as they occurred with no application of

14       20/20 hindsight.    You should take the instruction as it

15       comes to you from the court.

16                  One witness you will not hear from is George

17       Floyd.   You will hear, however, and see a lot about

18       Mr. Floyd, how he came to meet the four officers on

19       May 25th, 2020.

20                  You will learn that this is not a nine-minute

21       encounter or 20- or 30-minute encounter.        You will learn

22       that this case is not about forgery and that the forgery had

23       very little to do with why Mr. Floyd was detained on

24       May 25th, 2020.

25                  You will learn that what started out as a forgery



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 87 of 181            266


 1       changed quickly into an investigation of Mr. Floyd's unusual

 2       conduct.   When the police approached him and asked him to

 3       see his hands, you will learn why Officer Lane and Officer

 4       Kueng became concerned when Mr. Floyd reached for the center

 5       console of the car he was driving rather than simply showing

 6       his hands, as he was requested to do.

 7                    I'm going to go over the details of the case, but

 8       I'm not going to do it in as detailed a fashion as Mr. Thao

 9       [sic] did.    I'm not here to repeat the same things.           You've

10       heard it once.    I'm going to hit some highlights.       You don't

11       need to hear it again.

12                    I've already pointed out that this began as a

13       forgery call and changed shortly after the newly minted

14       Officer Kueng and Lane had contact with Mr. Floyd and his

15       two cohorts.    Those are Mr. Hall and Ms. Hill.

16                    It's fairly simple.   The officers arrived.         They

17       went into the business.     They met with the owner or the

18       manager to find out what was going on, and then they walked

19       across the street.     That's where the blue SUV was that

20       Mr. Paule has already talked about.       They had concerns, as

21       Mr. Paule has already pointed out, because of Mr. Floyd's

22       actions.

23                    Another reason they had concerns is because

24       there's two of them, two of the officers, and three of the

25       other people.    It's a numerical imbalance.



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 88 of 181           267


 1                  There is a struggle at the car, at the squad car.

 2       Mr. Floyd is, frankly, not cooperative.        And eventually they

 3       get him to the squad car, not because of the forgery, but

 4       because they need to investigate what's going on here.               They

 5       need to figure out what this unusual behavior is.         They've

 6       got a person who is potentially impaired sitting behind the

 7       wheel of a car.    They've got odd behavior.

 8                  Watch the video from the -- I believe it's called

 9       the Milestone camera from across the street.         I think you

10       already saw a screenshot of it.       Watch the car during the

11       struggle, because you have to understand that this is more

12       than a nine-minute encounter.      This was a serious struggle.

13       Watch the car.    It almost seems like it rocks back and forth

14       from the force of the struggle between the two officers and

15       Mr. Floyd and later three officers.

16                  Mr. Chauvin arrives, Officer Chauvin, and he

17       begins taking over the whole case, the whole scene.             He

18       becomes the shot caller.

19                  You are going to be watching these videos, and I

20       assume that someone's going to give you a transcript of it;

21       the government.    Please don't let the transcript be a

22       substitute for what you see and hear.        If it's important,

23       you see it in the transcript and you think it's important,

24       if it's important to you, I respectfully would ask that you

25       take the time to compare it to the video as carefully as you



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 89 of 181          268


 1       can.   Listen.   Don't just read.

 2                  You are going to find out that the officers were

 3       told that there's a thing in the policy called a neck

 4       restraint, but they were never trained.        Officer Kueng and

 5       Lane were never trained on the neck restraint.         You are

 6       going to find out that senior officers, officers that have

 7       been around longer, know things that rookies don't.             They

 8       know techniques.    They are trained on other things.

 9                  You are going to find that Mr. Kueng did, in fact,

10       check the pulse of Mr. Floyd and immediately reported that

11       to Officer Chauvin.     "He doesn't got one."     "Huh?"    "A

12       pulse."   He doesn't have a pulse.      He checked a radial

13       pulse, not a carotid pulse.      He's replaying that information

14       to the person most able to check a carotid pulse.

15                  The medics arrive.     They check a pulse.

16       Consistent with their training, they do not immediately

17       start doing CPR at the scene because in their estimation the

18       scene was not safe yet.     They took him someplace else to

19       provide medical care and safety.

20                  So what's the law here?      And Mr. Paule's touched

21       on the law, but I'm going to go over it independently.

22                  Alex Kueng is charged with two counts in his

23       criminal indictment.     Both counts of the indictment charge

24       him with deprivation of civil rights.        Although each count

25       is an alleged violation of the same statute or law, the



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 90 of 181       269


 1       counts, they have different elements.        So they're, Count 2

 2       and Count 3, the same statute, but different elements.

 3       Elements are what the government needs to prove to you by

 4       proof beyond a reasonable doubt.

 5                    In Count 2 it is alleged that Alex Kueng and

 6       Mr. Thao deprived Floyd of his right to be free from an

 7       unreasonable seizure during the arrest on May 25th, 2020.

 8                    In Count 3 it is alleged that Alex Kueng deprived

 9       Mr. Floyd of liberty without due process of law by acting

10       with deliberate indifference to his serious medical needs.

11                    Now, the judge, as I've already said, will

12       instruct you on what the law is in this case.         What I say is

13       not the law.    And if there is a difference, you must go with

14       what the judge tells you.

15                    There are four elements to each of these offenses,

16       four things the government has to prove.        For now I'm going

17       to focus just on the second of those four elements, that is,

18       that the government has to prove that Alex Kueng acted

19       willfully.    I keep putting emphasis on that word because

20       it's an important word.

21                    To act willfully means that it must be proven that

22       Alex Kueng acted with a bad purpose or improper motive to

23       disobey or disregard the law, specifically, intending to

24       deprive Mr. Floyd of his rights.       Again, you need to take

25       the law as the court gives it to you.



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 91 of 181      270


 1                  It does not need to be proven, however, that Alex

 2       Kueng had a specific familiarity with the Constitution.

 3       That's not the point.     However, the government does need to

 4       show that Alex Kueng had a specific intent to deprive George

 5       Floyd of a right protected by the Constitution.         That

 6       specific intent must be proven.

 7                  If it is not shown that there was a willful act

 8       with specific intent to deprive Mr. Floyd and not just

 9       shown, but shown by proof beyond a reasonable doubt, the

10       crime is not proven.

11                  In Count 3 the government must prove that Alex

12       Kueng acted with deliberate indifference.        That means that

13       the government must prove that George Floyd suffered from

14       one or more objectively serious medical needs and that Alex

15       Kueng knew of the serious medical needs, but deliberately

16       disregarded George Floyd's medical needs.

17                  That's my summary of the law.       The court will tell

18       you what the law is.     The point is this:     In Count 3

19       Mr. Kueng is not guilty if the government fails to show,

20       first, knowledge of the specific medical need and a

21       deliberate disregard.

22                  The legal principle I have mentioned is proof

23       beyond a reasonable doubt.      That is proof -- the burden of

24       proof that the government must meet before you, as a jury,

25       could find Mr. Alex Kueng guilty.



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 92 of 181       271


 1                    So what is proof beyond a reasonable doubt?        It is

 2       proof of such convincing character that a reasonable person,

 3       a jury, after careful consideration, would not hesitate to

 4       rely and act on in the most -- in life's most important

 5       decisions.    Proof beyond a reasonable doubt is proof that

 6       leaves you firmly convinced of Mr. Alex Kueng's guilt.          That

 7       is not to say that it's proof beyond all possible doubt, but

 8       the point is, the decisions you make in this case are one of

 9       the most important decisions in life.

10                    After the close of the evidence, I will give you

11       my closing argument.     At that time I will talk to you about

12       what the evidence has failed to show.        I will provide you

13       argument.

14                    Throughout these proceedings the government, as

15       you can see, always goes first.       That changes for closing

16       arguments, though.     They still go first, but they have an

17       opportunity to come back and talk to you again after the

18       defense lawyers are done.

19                    Common sense, please bring that to this case.

20       Please bring worldly experience.       Please bring an

21       understanding of human nature and conduct.        Because we can

22       sit here and talk about what the law is, but in the final

23       analysis, all cases and everything we do is about people.

24                    In the end, the evidence will not show that Alex

25       Kueng is guilty, and you will have a duty to return a



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 93 of 181      272


 1       verdict of not guilty on both counts.

 2                    Thank you.

 3                    THE COURT:   Thank you, Mr. Plunkett.

 4                    Members of the jury, let's take a noon recess at

 5       this time.

 6                    I would caution the members of the jury that you

 7       still haven't heard any evidence in this case.         You heard

 8       opening statements by three of the people.        There is still

 9       one opening statement that will be taken after we come back

10       from lunch.    And so, with that, I caution you not to discuss

11       the case, to keep an open mind.

12                    And we will stand in recess at this time and be in

13       recess until 2:00 this afternoon.

14                    We are in recess.

15                    The jury may be excused.

16           (Lunch recess taken at 12:28 p.m.)

17                                     * * * * *

18           (1:51 p.m.)

19                                   IN OPEN COURT

20                                 (JURY NOT PRESENT)

21                    THE COURT:   Counsel, I came in a couple minutes

22       ahead of the jury.      I've now had an opportunity to review

23       the stipulation with respect to exhibits to be admitted, and

24       we'll do that at the appropriate time, but two questions.

25                    One is:   Mr. Paule, on behalf of Mr. Thao, you



                                RENEE A. ROGGE, RMR-CRR
                                   (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 94 of 181       273


 1       were objecting to a series of the exhibits.        I first of all

 2       want to learn, I guess, from the government, what's your

 3       position with respect to that objection?

 4                  MS. BELL:    So, Your Honor, as I understand the

 5       objection from Mr. Paule, it is that materials about

 6       training received by Officer Lane or Officer Kueng don't go

 7       to his knowledge in this.

 8                  THE COURT:    I think that's right.      My guess is

 9       that -- well, as near as I can tell, they're either exhibits

10       that relate to later-day, if you can use that word,

11       later-day training materials through which Mr. Thao may not

12       have been privy or they may be kind of personnel records

13       relating to Mr. Kueng or Mr. Lane.

14                  MS. BELL:    Right.   So just like, Your Honor, when

15       we have like a multiple-defendant trial and one person has a

16       felon in possession and one doesn't, we're in kind of that

17       dynamic.

18                  THE COURT:    Yeah, I think we are.

19                  MS. BELL:    And so --

20                  THE COURT:    We're building up to it, because I'm

21       looking at what your position is.       If your basic position is

22       sort of agreement with Mr. Paule that this doesn't apply,

23       then I should give a limiting instruction to the jury that

24       they don't -- these exhibits don't apply.

25                  MS. BELL:    I think maybe the way, judge, to give



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 95 of 181         274


 1       the limiting instruction, because I agree that one certainly

 2       could be given here, but I might suggest that the court just

 3       make it broader to the jury that exhibits are evidence that

 4       pertain to only one -- that don't pertain to all of the

 5       defendants, should only be considered for the defendant to

 6       which they pertain.       And that way we've covered all of the

 7       defendants and aren't doing something special, because

 8       Mr. Lane has training that Mr. Kueng doesn't have, like

 9       there's differences amongst them all.

10                    THE COURT:    I understand what you are saying.

11                    MS. BELL:    Yeah.

12                    THE COURT:    But I need to come down to you,

13       Mr. Paule.    After Mr. Gray's completed his opening, we will

14       take a break and then come back in to hear testimony.           And

15       my guess is that when I come back, I should receive all of

16       these exhibits that are stipulated to be entered simply

17       because it goes in a hurry.       But as to those that you have

18       an objection, I could make a blanket statement of that

19       objection or I could wait for you to object when that

20       specific exhibit comes up.        And I leave it to you as to

21       which you'd rather have me do.

22                    MR. ROBERT PAULE:     Your Honor, thank you for

23       asking.   I think, from my point of view, I think a blanket

24       noting the objection and giving a cautionary instruction

25       would be appropriate.      I don't think I need to stand up here



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 96 of 181       275


 1       and make a show in court.

 2                  THE COURT:    Okay.   That's fine.

 3                  Then I'll turn to Mr. Gray and Mr. Plunkett, as

 4       Ms. Bell suggested that I try to make this applicable to

 5       everybody, that if it applies only to this one defendant, it

 6       does apply to this defendant and not to the other

 7       defendants.

 8                  MR. GRAY:    Yes, Your Honor.     I guess I'm not

 9       supposed to stand up.     Yes, I would ask for the same type of

10       instruction from this ruling.

11                  THE COURT:    Okay.   Mr. Plunkett, what's your feel?

12                  MR. PLUNKETT:    I feel the same way as Mr. Gray

13       does.   And just to clarify, Your Honor, I don't think it

14       would work if you just gave it once at the beginning of, you

15       know, Mr. Paule's evidence that Mr. Paule's worried about.

16       I think when something comes up that's only applicable to

17       one defendant, we should get the instruction every time.

18                  THE COURT:    Okay.   Well, why don't -- if I may, I

19       will give this blanket instruction first, that it's

20       applicable only to that defendant to which it is directed.

21       Then I will give the blanket instruction that Mr. Paule has

22       gone through the work of establishing for us.         And then as

23       exhibits come up, I leave it in your hands if you feel that

24       you need to stand up and ask for the limiting instruction,

25       again, we'll consider it at that time.        Okay.   That's that



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 97 of 181     276


 1       part.

 2                    The other part that is not offered at this time,

 3       but I think we might be getting to it, and that is the still

 4       pictures taken from the videos that Mr. Gray has stated an

 5       objection to, this might -- I think just a general

 6       objection.    Any further comments about that?

 7                    MR. GRAY:    Well, Your Honor, we have the video.

 8       We've seen the video.      The witnesses will testify as to what

 9       they saw when they took the video.       And now they're trying

10       to get -- now they're going to use pictures of the video for

11       the jury which just enhances the certain part of the video,

12       which is totally unfair to the defendant, I believe.

13                    THE COURT:   Okay.   Ms. Bell.

14                    MS. BELL:    Your Honor, a still photo doesn't

15       enhance any part of the video.      It simply allows us to pause

16       the video in a precise way.       Anyone who's spent any time

17       trying to pause the video, when you want to pause it, knows

18       it doesn't go well and it actually takes a little bit of

19       time.   And so this will actually be more efficient because

20       we won't have to call the video, find the right place in the

21       video, pause the video.      We will be able to just ask the

22       witness, instead of showing them the whole video again, to

23       get them oriented, Did you see this at this point in time as

24       a place of reference?      And so these are simply reference

25       points.   They are admissible because they are from exhibits



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 98 of 181        277


 1       that are agreed upon to be admitted in this case.         And so

 2       they are actually helpful to the jury and they are helpful

 3       to presentation of an efficient case, which I know the court

 4       has really pushed us to do and we really tried to do that.

 5                   MR. GRAY:    Your Honor, may I respond?

 6                   THE COURT:   Sure.

 7                   MR. GRAY:    They are pictures of the video.        If

 8       they go -- I ask that they not go to the jury and just have

 9       videos go to the jury, if they're just using them for

10       pictures of the video, so the jury doesn't get back there

11       and start looking at these pictures and not devoting their

12       time to the video, which is the main evidence.         It's not the

13       pictures.   A picture can take -- an isolated picture can be

14       very unfair to the whole picture.       Thank you.

15                   MS. BELL:    Your Honor, I have no issue with the

16       court -- no one from the government is going to represent

17       that a single picture represents the whole video.         If that

18       ever became an issue, the court can certainly caution the

19       jury.

20                   THE COURT:   How about the suggestion that Mr. Gray

21       just made, that the stills be used as demonstrative

22       exhibits, but not go to the jury room?

23                   MS. BELL:    So the reason that it is important that

24       they go to the jury room is because so that they have the

25       time stamps on them.     It is helpful to the jury to



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 99 of 181            278


 1       understand what happened and it has a time stamp on the top

 2       of it.   And so they will be able to go, oh, we should move

 3       the video to this section because this is around the time

 4       when Officer Kueng did the pulse checks or this is around

 5       the time when they pulled Mr. Floyd out of his car.             And so

 6       they're going to be able to use those stills to find the

 7       right places in the video.       We are trying to be efficient

 8       and helpful to the jury, which, of course, is the standard

 9       for admissibility of evidence.      And so that way the jury can

10       find the right places in the video.       The witnesses will have

11       talked about those stills and those times, and so their

12       testimony will be connected to those times in particular,

13       and so it would be helpful to the jury.

14                  THE COURT:    Okay.

15                  MR. GRAY:    Well, Your Honor, the video has time

16       stamps on it.    They can simply go through the video instead

17       of having these pointed out in the jury room.         If they want

18       to present evidence of the photos, that's one thing; but

19       they have them go back to the jury, that's just totally

20       unfair to the defendants.

21                  THE COURT:    Counsel, my bigger concern, quite

22       candidly, is that these are cumulative and duplicative and

23       can end up -- they can end up being confusing to the jury,

24       but they are so many of them.      We can spend forever trying,

25       trying the case going item by item through these, through



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 100 of 181        279


 1       these still pictures, and I don't feel that that's

 2       necessary.

 3                    I'm going to at this time permit the government to

 4       use the still pictures as they choose, hopefully reducing

 5       the number of the use of them to that that is significant.

 6       At this time I'm not going to permit the still pictures to

 7       go to the jury, but only to say that they are illustrative,

 8       but I do reserve the right to change that ruling if I find

 9       that it would be prejudicial not to let them go.

10                    Okay.   With that --

11                    MR. PLUNKETT:   I'm going to remain seated, if

12       that's okay.

13                    THE COURT:   Sure.

14                    MR. PLUNKETT:   Thank you.

15                    THE COURT:   Go ahead and get the jury.

16                    MR. PLUNKETT:   Your Honor, very quickly.      I would

17       ask that -- it's a common practice, but I'd ask that the

18       court put it into an order that only a lawyer who is

19       handling a witness or handling an exhibit or handling a

20       side -- or examination be allowed to object, and certainly

21       for having a sidebar only the lawyer that's handling the

22       witness should be allowed to participate in the sidebar.

23       I've always done that in every trial, but here in the middle

24       of my opening the lawyer not handling the opening objected.

25       So I think it's important now to put it into an order.



                               RENEE A. ROGGE, RMR-CRR
                                  (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 101 of 181       280


 1                   THE COURT:   Okay.    Well, the court does so order.

 2       Whoever is handling the witness is the person that will

 3       inquire and will carry the objections, et cetera, with

 4       respect to that witness.

 5                   MS. BELL:    Your Honor, I did have one other issue.

 6       As the court knows, the government did make a motion in

 7       limine regarding jury nullification.        And I only raise this

 8       issue because I know that defense objected to the

 9       government's opening as argument.       And while I don't agree

10       with that characterization, to the extent that it was

11       argument, the defense, from the government's perspective,

12       certainly went well past that line.        And I raised the jury

13       nullification issue in particular because Mr. Plunkett said

14       at the end of his opening, "But we can sit here and talk

15       about what the law is, but in the final analysis all cases

16       and everything we do is about people."

17                   THE COURT:   Okay.    Your statement is correct

18       except for one thing.      The jury nullification has been

19       raised.   The court has ruled on that in limine, and the

20       court's ruling stands.      That's where that issue is.      Okay.

21                   (Off record discussion.)

22                   THE COURT:   We've got a computer issue here.        I

23       will step out for a minute while the reporter restarts her

24       computer.

25            (Pause)



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 102 of 181     281


 1                                   IN OPEN COURT

 2                                   (JURY PRESENT)

 3                    THE COURT:   You may be seated.

 4                    Mr. Gray, I'll recognize you for opening.

 5                    MR. GRAY:    Thank you, Your Honor.

 6                    Your Honor, counsel, Mr. Lane, ladies and

 7       gentlemen of the jury.

 8                    One of the disadvantages of a joint trial is when

 9       you are the last lawyer to give an opening statement, a lot

10       of what has already been said I was going to say in my

11       statement.    I do have some statements to make, some -- call

12       your attention to the evidence that's going to come in, but

13       I don't think I'll be quite as long as the other lawyers.

14                    My client, Thomas Lane -- stand up, Tom.       Take

15       your mask off.

16                    As you can see, he's a rather tall individual.

17                    You can sit down.

18                    And it would be good for you to take a look at

19       him, because what we'll go through in this trial, you will

20       learn a lot about him and you will learn a lot about his

21       conduct.    And when you decide this case, you have to keep in

22       mind the individual and the evidence.

23                    So in this case -- it's rather a remarkable case,

24       I believe, because the indictment charges Mr. Lane with

25       deliberate indifference.      So he's only charged in one count



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 103 of 181    282


 1       and that's called deliberate -- willfully, deliberately

 2       indifferent to George Floyd's medical needs.

 3                    The willfully part you've already heard from

 4       Mr. Plunkett.    The deliberately indifferent part is where

 5       you know -- I'm talking about know -- you know somebody's in

 6       trouble, medically or physically or mentally, you know that

 7       and you don't do anything, you're indifferent about it.

 8       It's not that difficult.

 9                    And the responsibility of a law enforcement

10       officer, as has been stated by the government, is that once

11       a law enforcement officer takes custody or arrests or

12       detains an individual, an arrestee, he has a responsibility

13       to take care of that man and make sure he's okay up and

14       until he releases him to wherever he goes.         And we don't shy

15       away from that.     We agree with that, that Mr. Lane did have

16       the responsibility.     And our evidence will show that he, in

17       fact, did.

18                    And all of the government evidence that you are

19       going to see in this case, see and hear, their videotapes,

20       all will point to one factor, that Mr. Lane from the

21       beginning of the time that he came into contact with George

22       Floyd until the time when he walked out of that ambulance,

23       he was totally concerned and did everything he could

24       possibly do to help George Floyd.

25                    So the evidence in this case will show that -- get



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 104 of 181         283


 1       my notes here -- that -- and, by the way, as far as the

 2       instructions, I am not going to talk about instructions and

 3       the law.    Judge Magnuson is the judge of the law.        You are

 4       the judge of the facts.      And you are to decide what facts

 5       are proven and do the facts fit the law that Judge Magnuson

 6       is going to give you.

 7                   So let's first find out who Thomas Lane is.          Get

 8       my papers mixed up here.      Thomas Lane is 38 years old.

 9       Thomas Lane is married, and his wife is in the courtroom and

10       she's expecting her first child.

11                   MS. TREPEL:    Objection, Your Honor.

12                   MR. GRAY:    Excuse me?

13                   MS. TREPEL:    I said, "Objection, Your Honor."

14                   THE COURT:    Overruled.

15                   MR. GRAY:    He's married.    His wife's name is

16       Courtney, and she's in the courtroom.        They're expecting

17       their first child.

18                   Thomas Lane grew up in Arden Hills.       He went to

19       Mounds View High School.      After high school he worked

20       digging holes all through Wisconsin and part of Minnesota

21       for cable, first with the shovel and then the backhoe.           He

22       did this work for three years, manual labor.

23                   After three years, he decided maybe he should get

24       an education.    He has a brother that's a biology teacher in

25       high school, and he has a younger sister that's an artist.



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 105 of 181       284


 1                   So starting school -- he went to Century College,

 2       a junior college, I believe it is, and he got an associate's

 3       degree in sociology and law enforcement.        He then went to

 4       the University of Minnesota to get his graduate degree, his

 5       degree in sociology again and law enforcement.

 6                   During the time he went to college, he worked

 7       nights in security in downtown Minneapolis at various bars,

 8       where he was a bartender, a server, and also the guy at the

 9       door checking IDs.     He did all that work throughout his

10       college days without any conflict.

11                   He's, you will see evidence -- and you will never

12       see any evidence of him ever bullying anybody or physically

13       even harming anybody.      That's not Thomas Lane.     Thomas Lane

14       is what you'd call a gentle giant, a big guy, but he's not

15       mean or anything of that nature.

16                   Now, after college, after he graduated, he went

17       and he got a job at a place called Totem Town.         Totem Town I

18       vividly remember because it's been in Ramsey County for as

19       long as I can remember, since I was a kid, and it was a

20       juvenile center for delinquent kids.

21                   After about six months there as a probation

22       officer, he -- Totem Town finally closed, after 50 or

23       60 years in business.      So he obtained a job as a -- at the

24       juvenile center in Minneapolis, Hennepin County Juvenile

25       Center, as a corrections officer.



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 106 of 181        285


 1                   I apologize.    I have to have some water.

 2                   He worked as a corrections officer for a year and

 3       a half.   And they, the state -- or the government, excuse

 4       me, the United States of America, has all of his records

 5       from there and they have all of his records from Totem Town,

 6       and what you don't find in those records is that he ever had

 7       any problem with anybody being mean, physically abusive, or

 8       anything of that nature with juvenile delinquents.

 9                   So he did that job as a correction officer for

10       about a year and a half.      He always wanted to be a

11       Minneapolis Police Department law enforcement officer.           He

12       always wanted to do that because his grandfather was a

13       homicide detective in the Minneapolis Police Department.

14       His great-grandfather was the chief of police in Minneapolis

15       Police Department.      And his great-great-grandfather was also

16       a patrolman in the Minneapolis Police Department.          He really

17       cared for his grandfather and he wanted --

18                   MS. TREPEL:    Objection, Your Honor.

19                   THE COURT:    Yeah, I think, counsel, personal

20       family may be stretching.

21                   MR. GRAY:    So he wanted to become a police officer

22       in Minneapolis.     He applied, and in February 2019 he got

23       notice that, yes, we'll accept you as a police officer.

24                   So the first thing they do, they have to take a

25       physical test, a psychological -- a psychology test to see



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 107 of 181      286


 1       if they are all right, and check their criminal histories,

 2       of course.    And he passes all of that.

 3                    And then they go through a four-and-a-half-week

 4       theory training, where it's back at Century College that he

 5       graduated from.     So they went to the -- he went to Century

 6       College for five and a half weeks.

 7                    And then after that training, I believe it's into

 8       April or May, starting late February, March -- in any event,

 9       he then went to the Hennepin County Technical College to

10       learn the technical aspects of law enforcement, handcuffs,

11       what does a gun look like and things of that nature.

12                    In August he passed the -- he finished the

13       Hennepin County technical school and then he took the POST

14       test.   The POST test is a test that you take to become a

15       state employed licensed police officer.        He passed that too.

16                    Then comes the time in Minneapolis, now that you

17       are there, you go to what's called the school where you

18       learn, the academy, it's called.       And this is a school where

19       you learn about the Minneapolis Police Department and the

20       Minneapolis police officers.       It's like a military academy.

21       They wear uniforms.     It's yes, sir; no, sir.      And when an

22       officer walks by you, you stand at attention.         You do what

23       you are told.    And you learn that and it's drilled into your

24       brain until about December of 2019.        Yes.   And in December

25       of 2019 he graduated from that area of training to become a



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 108 of 181        287


 1       Minneapolis police officer.

 2                   Now -- and you might hear somebody say, well, on

 3       December 10th of 2019 he became a police officer.          Well, he

 4       did and he didn't, because after December 10th of 2019, you

 5       now -- well, first you have to take a month and you go

 6       around the police department learning about the different

 7       departments.

 8                   After that, you are now assigned what's called a

 9       field training officer.      And you've heard from the other

10       lawyers about these guys, but these are the select group --

11       at least these rookies, these recruits learn that, they are

12       the select group of Minneapolis police officers that are

13       going to train you.     They are going to sit with you in the

14       car and you are going to be driving it or maybe sitting next

15       to them, and you're going to do police work and they're

16       going to critique you.      They're going to grade you.      They're

17       going to tell you what to do.       They're your boss, basically.

18       They're your educator.

19                   And for the next five months, that's what Tom Lane

20       did.   He had three field training officers.        First one was

21       downtown and was in Minneapolis.       He was downtown, that

22       precinct.    The next two field training officers -- he had

23       three of them -- the next two were in the Third Precinct,

24       where Derek Chauvin was located and he met Derek Chauvin

25       there.



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 109 of 181   288


 1                    And you will hear from him that he asked Derek

 2       Chauvin questions when he had a question, and Derek Chauvin

 3       replied.    And he heard from the Third Precinct Derek Chauvin

 4       was an excellent field training officer; follow what he

 5       does.

 6                    So on May 20th of 2020, no more field training

 7       officers.    He's now on his own.     He's on his own as a police

 8       officer.    He's now made it as a Minneapolis police officer

 9       patrolman.

10                    May 25th, five days later, I believe it was

11       Memorial Day, and the upper echelon, the chiefs, the

12       captains, the lieutenants, the sergeants, whoever did it,

13       put Thomas Lane with one of his classmates, Mr. Kueng, on

14       Memorial Day night.     They were teamed together, two rookies.

15       If you add all of their experience without a field training

16       officer, you'd come up with seven days, seven days -- seven

17       workdays.

18                    So what happens?   They are out and about as

19       patrolmen and they get a call, and they get a call that Cup

20       Foods -- I know you've heard this, but the one thing you

21       have to understand, and the judge will tell you this, each

22       and every one of these defendants has a constitutional right

23       to have their case decided by the evidence against them, not

24       the evidence against the other two, not the evidence against

25       another one.    They have a right -- and the judge will tell



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 110 of 181         289


 1       you -- they have a right to have the evidence presented

 2       against them to only be considered, not the evidence against

 3       the others.    So I have to go into this and discuss with you

 4       what happened that night.

 5                   Thomas Lane and Mr. Kueng get the call, forgery or

 6       counterfeiting at Cup Foods and the man appears to be

 7       intoxicated.    So they go and they drive to Cup Foods.          You

 8       see it on the maps.     You will see it all through this trial.

 9       They pulled up to Cup Foods -- and I've got to get another

10       drink of water.

11                   They pulled up to Cup Foods.      As has already been

12       told you, according to law enforcement, police officers,

13       this area of 38th and Chicago is known as the Blood area.

14       The Blood wear red clothes and apparently it is some kind of

15       a gang.   You will see, interestingly enough, that the

16       passenger in George Floyd's car was wearing quite a red

17       outfit.

18                   You also will hear from these law enforcement

19       officers that testify that this area, 38th and Chicago, is

20       known as a high-crime area.      So -- and in Cup Foods one of

21       the managers has a Glock in the back of his back -- has a

22       gun.   I believe you will see a picture of it.        So it's not

23       like stopping down to someplace that didn't have a little

24       bit of danger.

25                   So Tom and -- Mr. Kueng and Tom Lane go into Cup



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 111 of 181         290


 1       Foods.   They are told by the employees that that guy over

 2       there in the blue Mercedes passed a counterfeit bill.            He

 3       appears to be intoxicated.      And we went out there twice to

 4       try to talk to him to just get our money back and he ignored

 5       us.   We went out there the first time and then we went out

 6       there again, and he wouldn't give us the money back.             But

 7       he's still there.     So the employee said, Go get him.          Can

 8       you go get him?

 9                   And they did.    Officer Klein at the time and

10       Officer -- Officer Kueng, excuse me, and Tom Lane, Officer

11       Lane, walked across the street.       And they both had, thank

12       goodness from our standpoint, they both had their body

13       cameras on.    And walking across the street, Tom Lane

14       mentioned they are moving around in that car, which puts law

15       enforcement officers on alert; what's going on in that car.

16                   So they get there and Tom Lane could not -- you

17       will hear from him -- he could not see in through the

18       window, so he hit the window with the flashlight.          The

19       window came down.     There was a conversation.      You will hear

20       it and see it on the body-worn camera.

21                   And, basically, George Floyd acted erratic.           Let's

22       picture it that way.     He wouldn't do what he was told.         He

23       had his arm digging down in the side, his right hand, which

24       they learned in the law enforcement business that that could

25       either be getting a gun or hiding contraband.         It's a



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 112 of 181        291


 1       danger.

 2                   When you stop a car like this or when you approach

 3       a car like this, as a law enforcement officer, it's as scary

 4       for that law enforcement officer as it is for anybody,

 5       because he does not know who he's approaching.

 6                   So Lane says, "Show me your hands," and he ignored

 7       it.   He was talking about getting shot by a cop, George

 8       Floyd was; making no sense.      And, finally, Tom Lane did what

 9       he was taught to do and what he had seen his field

10       protection -- field training officers do, he pulled out his

11       gun and said, "Show me your f'ing hands."

12                   Finally, when he did that, George Floyd put his

13       hands on the wheel, but he still would not comply, he was

14       still not being compliant.      He tried to get out of the car.

15       Tom put -- Mr. Lane put him back in the car.         They then --

16       he pulled him out of the car.

17                   And, by the way, the one thing that has not been

18       mentioned yet, George Floyd was 6'4", 225 pounds.          You will

19       see pictures of him.     He was all muscle.     And when you have

20       a person that's under the influence or on drugs, they are

21       very -- as common sense will tell you, sometimes quite hard

22       to control.

23                   And, finally, Tom Lane pulled George Floyd out of

24       the car and they wrestled with him.        Kueng came over --

25       Kueng was on the other side of the car to watch the



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 113 of 181          292


 1       passengers -- came over and they both handcuffed him.            They

 2       wrestled with him to handcuff.       They have him sit down

 3       because they have -- there's two police officers and there's

 4       two other people.     There's three in this group.

 5                   So Tom goes over to talk to the lady, I believe

 6       her name was Shawanda.      And he asked, "What's with the --

 7       Mr. Floyd, what's with George Floyd?        Is he on -- is he

 8       drunk?"   That's what he asked.      And she says, "No.     He just

 9       doesn't like police officers.       He was shot by one."     Well,

10       that's not true.     He wasn't shot by any police officer ever.

11       But that's what she said, and she denied that he was drunk.

12                   So that's the first time that Tom Lane asked

13       anybody or asked George Floyd anything about George Floyd's

14       physical or mental condition.       She said no.

15                   Now we go over to where he's got George Floyd, he

16       and Kueng, and they're going to walk him over to the squad

17       car and detain him.     That's what police procedure is.

18       You've got an investigation here.       You've got counterfeit

19       bills.    You've got suspicious conduct by all three of these

20       individuals.    You want to detain Mr. Floyd, hold him in your

21       backseat, search his car, talk to the people, and do what's

22       called an investigation.      That's their job.

23                   So they're walking him over to the car, and twice

24       you will see on the video he falls down sort of and they

25       help him out.    They don't shove him down.       They don't do



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 114 of 181         293


 1       anything like that.

 2                   And, in addition, Tom Lane on the way over there

 3       asks him, "Are you on something?"       Referring to drugs.      And

 4       he says, "No, I'm not on anything."        He denied being on

 5       drugs.

 6                   You will learn -- toxicology -- he was taking

 7       fentanyl and methamphetamine.       You will find out also that

 8       in the backseat of the squad car -- and these squad cars are

 9       cleaned every day.     In the backseat, after the wrestling

10       match, there was fentanyl and methamphetamine.         Where did

11       that come from?

12                   So he says, no, I'm not on any drug.       If he had

13       said yes, the policy in Minneapolis Police Department would

14       be to take him to a hospital, take him to Hennepin County

15       Medical Center.     But he denied.    He was indifferent about

16       his own condition.     He denied being on drugs.

17                   So they get him to the squad car, these two guys

18       with five, six days of being on their own, and he says he's

19       claustrophobic.     He wasn't claustrophobic when he was in his

20       own car, but now he's claustrophobic.

21                   And what do these two officers do?       First they

22       searched him because that's part of the deal, you've got to

23       search the man.     And, remember, he's still handcuffed.        And

24       then they say, no, you have to go in the squad car.          And he

25       says, "No, I'm claustrophobic.       Tom Lane says, "I'll roll



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 115 of 181        294


 1       the window down, I'll crack the window if you'll just go in

 2       there."    "No, I won't."    George Floyd says again, "I'm

 3       claustrophobic."     "Roll the windows down."      Five times, five

 4       Times Thomas Lane told George Floyd that I'll roll the

 5       window down if you'd just get in the car.

 6                    Another time George Floyd said to Thomas Lane --

 7       and you will see this in the body cameras -- "Stay" with me,

 8       stay with me," he said to Thomas Lane.        Well, unknown to

 9       Mr. Lane and Mr. Kueng drugs were coming out of his mouth.

10       And he said, "I'll stay with you, I'll stay with you."

11                    Now, you'll see, as the other lawyers had said,

12       there was quite a tussle.       When you have a man with the

13       strength that Mr. Floyd had, and you will see he was quite

14       muscular, and they are trying to put him in the backseat of

15       a squad car, even though handcuffed, kicking and fighting,

16       you could actually see the squad car in the video go back

17       and forth.    It was a good wrestling match.

18                    So what happens?    Because Chauvin, Derek Chauvin,

19       and his partner, Mr. Thao, were in the neighborhood and they

20       heard about the call, they decided to go over there.             Before

21       them, the Park cop that you've heard about came there and

22       they asked him to watch the two other individuals until we

23       get George Floyd detained in the car.

24                    George Floyd says, "I want to go out on the

25       ground."    You will hear him.     I think he said it two or



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 116 of 181       295


 1       three times.    And Thomas Lane is over on the passenger side

 2       back door.    And they're now going to take him out and put

 3       him on the ground next to that area.

 4                    And what happens?    All of a sudden he sees Derek

 5       Chauvin, and you will see this on the video.         He goes in

 6       front of Thomas Lane and grabs ahold of George Floyd

 7       himself.    And now he's got George Floyd.      Thomas Lane backs

 8       off.

 9                    And what he's learned, when field training

10       officers take over like that, you must have done something

11       wrong.    And you know what?     These two rookies simply could

12       not get this fellow in the backseat and they were doing

13       something wrong.

14                    So what does Chauvin do?     He takes over, and he

15       takes over and he grabs the guy and he puts him on the

16       ground.    Thomas Lane backs off.     Kueng is there.     Kueng

17       comes from around the other side.

18                    And now they're on the ground.      Thomas is down by

19       his legs.    You will see in the photos that George Floyd's

20       head is -- you cannot see that knee on George Floyd's neck

21       from where Thomas Lane was at.       It was on the corner of the

22       back of the car.

23                    In any event, though, as soon as he went down on

24       the ground, because George Floyd had a cut on his lip,

25       Thomas Lane, pursuant to the procedure that they're supposed



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 117 of 181      296


 1       to do, he calls for the ambulance, for ER, "Cut lip, 2,"

 2       which means you don't have to sirens and lights, but get

 3       here, we have a cut lip on this man.

 4                    Shortly after that, it was up to a 3 because of

 5       his condition with respect to excited delirium.          Excited

 6       delirium is a physical and mental condition that police

 7       officers learn in their school, that a person on drugs

 8       fights and fights and then he rests and he acts like he's

 9       unconscious or is unconscious and when he wakes up, which he

10       does, he has super-human strength.        And they're taught that

11       at the academy.     So they up the ambulance to a 3, lights and

12       siren.   It still took nine minutes to get there.

13                    Next thing -- what did Tom Lane also doing during

14       this time?    He's the one that said, "Should we hobble him?

15       My hobble is in the back of my -- our squad."         The hobble

16       comes out.    But all of a sudden Chauvin says, "No, he's good

17       where he's at.    We don't need the hobble."

18                    If they had hobbled him, he would be on his side

19       and no doubt be alive today.       That was what Thomas Lane

20       learned in his academy.      And the FTO, he also learned that

21       they are the ones that know.       He says no, so Thomas Lane

22       said, okay, no hobble.

23                    So we have Lane suggesting the ambulance -- or

24       calling the ambulance, telling Thao, I believe it was, to up

25       it to a 3.



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 118 of 181        297


 1                   And then, most importantly, ladies and gentlemen,

 2       Thomas Lane said to Chauvin, "Shall we roll him over?"

 3       That's what they're taught at the academy, you have to roll

 4       somebody over on his side because of what is called

 5       positional asphyxia.      And Tom said that.    "Shall we roll him

 6       over?"   And Chauvin says, "No, he's good where he's at."

 7       And Tom says, "Well, I'm concerned about excited delirium."

 8       Chauvin says he's staying where he's at.

 9                   Tom Lane later, where he was down by his feet --

10       and, by the way, after three or four minutes you will notice

11       Tom Lane just has his hands on his feet.        He's not putting

12       pressure on him or anything.       Watch for that in the video.

13                   But Tom Lane says he looks and he -- by the way,

14       two or three days after this incident, he gave a lengthy

15       statement to the Bureau of Criminal Apprehension.          In that

16       statement he said --

17                   MS. TREPEL:    Objection, Your Honor, hearsay.

18                   MR. GRAY:    Well, Your Honor, it's not hearsay.         My

19       client will be testifying.

20                   THE COURT:    I think we have to wait for the client

21       to testify, then.

22                   MR. GRAY:    Okay.

23                   THE COURT:    It's hearsay now.

24                   MR. GRAY:    It would be a statement of a client.

25                   THE COURT:    Proceed.



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 119 of 181         298


 1                    MR. GRAY:   All right.   In any event, when you --

 2       the breathing was checked.      All right?    And Thomas Lane said

 3       at the scene he's breathing.       So he's concerned more about

 4       George Floyd.    He's breathing.

 5                    Then after that, Thomas Lane tells Kueng to check

 6       his pulse.    And obviously you can't check the carotid pulse

 7       because Derek Chauvin still has his knee on his neck under

 8       the back of that SUV, that squad car.        So his carotid pulse

 9       you couldn't check.      And what does Kueng -- he checks his

10       wrist, radial I believe, and he says, "I can't find one."

11       And then Tom Lane, he reaches down and he tries to find a

12       pulse on Mr. Floyd's ankle.

13                    At about that time, all of a sudden you hear the

14       sirens and the lights and the ambulance is arriving.             And

15       you will hear Tom in the video saying, "Here we go," which

16       is the ambulance is arriving.

17                    Now, once the ambulance arrives, it pulls up and

18       an emergency room person, an ER guy, comes out of the

19       ambulance, along with the other ER person, and there's only

20       two.

21                    And by this time you will hear that there's a

22       crowd that's quite loud.      It was loud enough where Derek

23       Smith, the person that's checking out George Floyd, didn't

24       want to stay there.      He wanted to take George Floyd and go

25       down a block or two.



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 120 of 181         299


 1                    So what does Derek Smith do?     He goes and checks

 2       the carotid artery on George Floyd.        He says nothing to any

 3       of the law enforcement officers.       The only thing he actually

 4       said to the law enforcement officers is when he came down

 5       from the ambulance, he said, "Get out of my way."          And

 6       that's because once the ER people are there, they take over.

 7       The police department backs off.       And he says, "Get out of

 8       my way.

 9                    So he checks the carotid artery and says nothing

10       to Thomas Lane, no police officer.        And then he just -- he

11       walks back to the ambulance and goes in the ambulance to get

12       the gurney, the stretcher; still hasn't said anything.           And

13       he comes out with the gurney, and Tom Lane even before that

14       has picked up George Floyd to put on the stretcher.

15                    And finally the gurney comes out and Thomas Lane

16       helps with the ER guy, Derek Smith, and Chauvin, who is

17       still on his neck.     He just got off his neck at that time.

18       And they put him on the gurney.       And he was on a gurney on

19       his back, so that was the first time that his face could be

20       seen, George Floyd.

21                    Tom Lane went up to Derek Smith, extremely

22       concerned about George Floyd, and said, "Can I go with you?

23       Can I help you?"     Sir -- to Derek Chauvin, "Sir, can I go

24       with him?"    "Go ahead."

25                    And Thomas Lane gets into the ambulance and he and



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 121 of 181     300


 1       Derek Smith, because of the crowd, whether it was unruly or

 2       aggressive or whatever, Derek Smith will testify and will

 3       tell you that because of this crowd, they wanted to move a

 4       couple blocks down before they do cardiopulmonary

 5       resuscitation.    Chest compressions is an easier word to say.

 6                    So when Thomas Lane got into the back of the

 7       ambulance, he and Derek Smith with the other ER person got

 8       in the ambulance and they drove off.        And when they're

 9       driving off, you will see on the video Thomas Lane doing

10       chest compressions trying to revive George Floyd, not

11       deliberately indifferent about his health at all.

12                    At the same time Derek Smith is taking out a

13       LUCAS.   A LUCAS is a machine you put on the chest of the

14       person, and it's an automatic chest compressor.          Derek Smith

15       was having trouble with it.      Thomas Lane was helping him,

16       picking up the body at the same time Derek Smith was taking

17       George Floyd's clothes off.

18                    Finally, after two blocks the driver, Bravinder I

19       believe his name was, he parks the ambulance and he comes

20       back into the back of the ambulance where the two men are,

21       Thomas Lane and Derek Smith.       And now there's three of them,

22       and they're two blocks down and -- or maybe three.          And

23       Thomas Lane still has his body camera on.         Thomas Lane says,

24       "Well, do you need me anymore?       Shall I ride with you to the

25       hospital?"    They say, "No, we don't need you any more."



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 122 of 181        301


 1                   He got out of the ambulance.      He hitched a ride

 2       with a fire truck going to the area of 38th and Chicago and

 3       got a ride there and stood there and was still not -- didn't

 4       know if George Floyd was alive or dead.        He was hoping he

 5       was alive, but in his own mind it didn't look real good.

 6                   And there they were questioned by the upper brass.

 7       A lieutenant questioned him.       I think a sergeant questioned

 8       him.   And, of course, the next day he was terminated.           It

 9       was his fault.    Terminated from his job.      Kueng was

10       terminated also.     They were probationary law enforcement

11       officers.    The first year as a cop, they can just -- you're

12       fired.

13                   So that's Thomas Lane's story.       I'll be back at

14       the end of this case and discuss with you the law, the

15       presumption of innocence, proof beyond a reasonable doubt,

16       and the elements of the crime of deliberate indifference.

17                   If there ever were a case that the government has

18       failed miserably to prove that my client was deliberately

19       indifferent, it's this case.       This is a perversion of

20       justice, ladies and gentlemen.

21                   Thank you.

22                   THE COURT:   Thank you, Mr. Gray.

23                   MR. GRAY:    Thank you, Your Honor.

24                   THE COURT:   Members of the jury, we're going to

25       take a brief afternoon recess at this time.



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 123 of 181     302


 1                    Again, I would caution you not to discuss the case

 2       during the course of the recess.

 3                    I'm also going to suggest that during the

 4       recess -- as you go to the jury room, in the equipment box

 5       that you have there are some notepads.          And when you do come

 6       back in, if you would bring those notepads with a pencil or

 7       pen with you, I'd appreciate it.       I will give you some more

 8       instructions about notes at that time.

 9                    With that, the jury may be excused.

10              (Jury excused)

11                                    IN OPEN COURT

12                                 (JURY NOT PRESENT)

13                    THE COURT:    Counsel, who is the first witness you

14       will be calling?

15                    MS. BELL:    Your Honor, it will be Kim Meline from

16       FBI.

17                    THE COURT:    Okay.   Very well.    Thank you.

18                    We'll see you in just a few minutes.

19              (Recess taken at 2:44 p.m.)

20                                      * * * * *

21              (2:57 p.m.)

22                                    IN OPEN COURT

23                                   (JURY PRESENT)

24                    THE COURT:    Ladies and gentlemen of the jury, I'd

25       asked that you bring your notebooks with you when you come



                                 RENEE A. ROGGE, RMR-CRR
                                    (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 124 of 181           303


 1       back, come back now, and I see that you've done that and I

 2       thank you.

 3                    I'm going to now ask that you open the notebook

 4       and on the very first page write your name and then

 5       immediately flip it over to the next page.

 6                    Now, let me talk a little bit about notes.          Notes

 7       are for your -- notebooks are for your convenience.          Some

 8       people take copious notes and that's fine, you can do that.

 9       Some people take very few or no notes.        Fine, you can do

10       that.   You don't take notes because your neighbor is or you

11       don't not take notes because your neighbor is not taking.

12       It's whatever you personally prefer, and you're completely

13       free to do that.

14                    You should also know that at the conclusion of the

15       case you will have your notebooks with you in deliberations

16       to make reference back to the testimony, and you are

17       perfectly welcome to do that.

18                    But I do caution you about something, and that is

19       as you are in deliberations, remember it's the issues of the

20       case, the guilt or non-guilt of the defendants, not whose

21       notes are right.     So don't get waylaid on that type of

22       discussion.

23                    Finally, with the notebooks, at the conclusion of

24       it all, after you've rendered your verdict, et cetera, the

25       notebooks, the notes will be destroyed and they will not be



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 125 of 181    304


 1       seen by anybody after the conclusion of the case.

 2                   Okay.   With all of those instructions you know

 3       about notes and, Mr. Slaughter, you were standing up here

 4       and then I talked for a long time, so --

 5                   MR. SLAUGHTER:    No worries, Your Honor.

 6                   THE COURT:   -- you sat down.

 7                   Would you call your witness, please.

 8                   MR. SLAUGHTER:    Thank you, Your Honor.      The

 9       government would Kimberly Meline to the stand, please.

10                   THE COURT:   Okay.    Ms. Meline, if you would come

11       forward, please.

12                   THE WITNESS:    Yes, Your Honor.

13                   THE COURT:   And stop somewhere.

14                                  KIMBERLY MELINE,

15                   called on behalf of the government, was duly

16       sworn, was examined and testified as follows:

17                   THE COURT:   If you'd take the witness stand,

18       please.   And I will ask that, once you are there, please

19       remove your mask and then speak into the microphone or slide

20       right up to the microphone.

21                   THE WITNESS:    Yes, sir.

22                   THE COURT:   And, with that, if you would give us

23       your name and spell your last name, please.

24                   THE WITNESS:    My name is Kimberly M. Meline, and

25       the last name is spelled M-E-L-I-N-E.



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 126 of 181        305


 1                   THE COURT:   Okay.    Proceed.

 2                   MR. SLAUGHTER:    I have one administrative matter,

 3       Your Honor, regarding the stipulations the parties have

 4       entered into regarding certain evidence, just a housekeeping

 5       matter before the jury, Your Honor.

 6                   THE COURT:   I forgot.

 7                   MR. SLAUGHTER:    It's on me, Your Honor.      I should

 8       have brought it up beforehand.

 9                   THE COURT:   Members of the jury, the parties in

10       the case, to their credit, have entered into a stipulation

11       to receive a large number of exhibits in evidence.          You

12       don't need to write these down, but I do need to read the

13       record -- these exhibits into the record.

14                   The following record -- exhibits have been

15       received:    Exhibit Number 1, 2, 3, 4, 5, 5A, 7, 7A, 9, 9A,

16       11, 14, 16, 17, 18, 19, and 21.       Did I say twenty -- I'm

17       sorry.   21 is not admitted.     Strike 21.    And then

18       Exhibits 43, 44, 45, 46, 48, 49, 50, 51, 52, 53, 54, 55, 56,

19       57, 58, 59, 60, 61, 62, 64, 65, 66, 67, 68, 69, 70, 71, 72,

20       73, 74, 75, 76, 77, 78, 79, 80, 81, 82, 83, 84, 85, 86, 87,

21       98, 99, 100, 101, 102, 103, 104, 106, 107, 108, 109, 110,

22       and 128.

23                   Then, members of the jury, you should know that

24       certain exhibits that have just been received are exhibits

25       that apply to only one of the three defendants.          Maybe a



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 127 of 181       306


 1       personnel record as an example, that type of thing, that

 2       exhibit will not be applicable to the other two defendants.

 3                   Now, there are quite a series of these exhibits

 4       that have just been received where Mr. Thao, they're not

 5       applicable to him.     And we will remind you, as best we can

 6       recall, whenever any of those exhibits would come up so that

 7       they would be applicable maybe to another defendant, but not

 8       to Mr. Thao.

 9                   So, with that background, I think we can receive

10       those exhibits and you can proceed, Mr. Slaughter, and thank

11       you for drawing it to my attention.

12                   MR. SLAUGHTER:    Thank you, Your Honor.      If I

13       may -- and I think I might have missed it.         Your Honor, our

14       stipulation includes --

15                   THE COURT:   Oh, just a minute.      I do have more to

16       say.

17                   Exhibits numbered 5A, 7A, and 9A are transcripts

18       of videos and what's being said on those videos.          Those

19       transcripts are someone's idea of what is being said, and

20       they will be provided to you and are provided to you as an

21       aid in your consideration of the particular exhibit.

22                   The one thing I caution you about, though, is that

23       if there's any discrepancy with what you see on the

24       transcript and what you see and hear from the video itself,

25       you are bound by the video and not by the transcript,



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                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 128 of 181         307


 1       because the transcript is somebody else's idea of what they

 2       think was said.

 3                    Okay.   Now, if I missed another one, let me know.

 4                    MR. SLAUGHTER:    I might not have heard Your Honor,

 5       but Government Exhibit 12 at paragraph 12 and Government

 6       Exhibit 39, which is at paragraph 19 of the stipulation --

 7                    THE COURT:    I'm sorry.    Exhibit 12?

 8                    MR. SLAUGHTER:    Correct, Your Honor.

 9                    THE COURT:    Okay.     I did not have Exhibit 12.   Is

10       there -- on the stipulation, but I may have just missed it.

11       Is there objection to Exhibit 12, Mr. Chang's body camera?

12       I'll then receive it, assuming it was in there and I just

13       missed it.

14                    And then what other number?

15                    MR. SLAUGHTER:    Government Exhibit 39 at

16       paragraph 19, Your Honor.      It's a dispatch summary timeline.

17                    THE COURT:    Yeah, 39 is received.    I have that.

18                    MR. SLAUGHTER:    And I apologize if I missed it,

19       but 6 -- I'm sorry, Government Exhibit 63.

20                    THE COURT:    Again, I do not have 63.    Let me look

21       at the record here.       Maybe --

22                    MR. SLAUGHTER:    It's at paragraph 40 of the

23       stipulation.    I have a copy of the stipulation as well, Your

24       Honor.

25                    THE COURT:    Okay.     I think in my copying over, I



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                                  (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 129 of 181      308


 1       probably missed it.      No, I do not -- I don't have it on my

 2       copy because there's a three-hole punch right at that spot.

 3       So 40 is included in --

 4                   MR. SLAUGHTER:    It's 39, Your Honor.

 5                   THE COURT:    I'm sorry.

 6                   MR. SLAUGHTER:    12, 39, and 63 are the three

 7       different exhibits that I missed.

 8                   THE COURT:    63 is the one I was just talking

 9       about, and that is received.

10                   MR. SLAUGHTER:    And my esteemed counsel just let

11       me know that I didn't hear 47 either, Government Exhibit 47.

12       That's similarly at the top of the page, paragraph 24 of the

13       stipulation.    It might have gotten three-hole punched as

14       well.

15                   THE COURT:    That is entirely possible.      Again,

16       which number are you missing?

17                   MR. SLAUGHTER:    Government Exhibit 47, Your Honor.

18       It's at paragraph 24 on page 4 of our stipulation.

19                   THE COURT:    Yeah, I think the precise same thing

20       has happened there.      And so that also is received.      Okay.   I

21       think we have it.

22                   Proceed.

23                   MR. SLAUGHTER:    My first thing would have been to

24       offer numbers of different exhibits, but His Honor already

25       took care of that.



                                RENEE A. ROGGE, RMR-CRR
                                   (612) 644-5107
     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 130 of 181     309


 1                               DIRECT EXAMINATION

 2       BY MR. SLAUGHTER:

 3       Q.   I think you stated your name.      Is that correct?

 4       A.   Yes, that's correct.

 5       Q.   Where are you employed?

 6       A.   I'm employed by the Federal Bureau of Investigation,

 7       commonly referred to as the FBI.

 8       Q.   What are your responsibilities there?

 9       A.   Within the FBI I work for a unit called the Multimedia

10       Exploitation Unit.     I am the program manager for the Field

11       Audio Video Program.     And I'm also a forensic examiner

12       specifically related to audio evidence, video evidence, and

13       image evidence.

14       Q.   Let's break that up a little bit.       So you said

15       "exploitation," so let's start with that.         What does that

16       mean?

17       A.   So, as I said, the unit that I work for is called the

18       Multimedia Exploitation Unit, and basically what we do as a

19       unit is make sure that the FBI is using all evidence that's

20       commonly referred to as multimedia, audio, video, and image,

21       to the best of our abilities in order to garner leads.

22                   So we exploit that media or basically just use it

23       to the best of our abilities in order to understand it and

24       to determine what we can use to assist in our

25       investigations.



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                                 (612) 644-5107
     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 131 of 181   310


 1       Q.   So when you say "the Field AV Program," what does that

 2       mean?

 3       A.   So the Field Audio Video Program is a program that is

 4       run through the Multimedia Exploitation Unit, and

 5       essentially what we are is a collection of forensic

 6       examiners of that type of media, of audio, video, and

 7       imagery.    And the Field Audio Video Program provides

 8       software, hardware, and training for examiners throughout

 9       the country.

10       Q.   What are your responsibilities in your present role?

11       A.   As I said, I'm the program manager, so my job is to make

12       sure that personnel within the program are trained, that

13       they are trained to do their jobs well, that they know how

14       to process evidence related to investigations and also that

15       they have what they need in order to do it, including

16       hardware, software, and training.

17       Q.   How many individuals do you supervise?

18       A.   Directly I supervise five regional program managers

19       across the country, but in addition to that, we have

20       approximately 100 different individuals throughout the FBI

21       who perform these types of tasks, and those are essentially

22       assigned work through those regional program managers.

23       Q.   When you say -- are those all people you supervise?

24       A.   Indirectly, yes, in that I help assign them work related

25       to our investigations.



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 132 of 181   311


 1       Q.   And is that all tied -- are all those individuals

 2       forensic media examiners?

 3       A.   Of some sort, yes.     Some also have additional duties

 4       related to things like computer forensics or photography,

 5       but they all do audio and video examinations as well.

 6       Q.   Well, just taking a step back, how long have you been

 7       with the FBI?

 8       A.   I've been employed with the FBI for about 11 -- or just

 9       shy of 11 years now.

10       Q.   Has it always been in this capacity?

11       A.   It has not.    I actually took this position with the

12       Multimedia Exploitation Unit about three years ago -- about

13       three and a half years ago, actually.        Prior to that, I

14       transferred from a unit called the Forensic Audio, Video,

15       and Image Analysis Unit, where I was doing additional types

16       of work and I was stationed in Quantico, Virginia, as

17       opposed to now where I am working out of the Minneapolis

18       office.

19       Q.   Well, what did you do before -- so those several years,

20       I should make that clear, is that also working with forensic

21       media --

22       A.   Yes, it was.

23       Q.   -- before this most recent role?

24       A.   Yes, sir.

25       Q.   What did you do before you got in the FBI?



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 133 of 181    312


 1       A.   Before I was hired by the FBI, I worked for the St.

 2       Cloud Police Department up in St. Cloud and there I was the

 3       crime lab director.     However, because we were a very small

 4       laboratory, I also was responsible for performing forensic

 5       examinations.    I have some training in chemistry and so I

 6       was doing chemical analysis of controlled substances, crime

 7       scene examinations, as well as video analysis.

 8       Q.   So some forensic video analysis back then too?

 9       A.   Yes.

10       Q.   How long were you at St. Cloud?

11       A.   For about two and a half years.

12       Q.   What were you doing before that?

13       A.   Just before I was hired by the St. Cloud Police

14       Department, I was working for the St. Paul Police

15       Department, which Is just a few miles from here.          I was

16       working in the laboratory there.

17       Q.   What did you do for the St. Paul Police Department?

18       A.   I was a forensic scientist or forensic examiner as well.

19       I was employed as both Criminalist I and eventually promoted

20       to the Criminalist II position.       So my responsibilities were

21       to perform forensic examinations in controlled substance

22       analysis, crime scene examinations, forensic video analysis.

23       And as the Criminalist II, I also supervised the duties of

24       the Criminalist I position.

25       Q.   How many years were you at the St. Paul Police



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 134 of 181       313


 1       Department in that role?

 2       A.   In that role, I was in the -- assigned to the crime lab

 3       for about four to four and a half years.

 4       Q.   Combined, how many years experience do you have in

 5       forensic video?

 6       A.   I began training in forensic video analysis in about --

 7       in 2004.    So I'm in the neighborhood of 18 years of

 8       experience.

 9       Q.   You touched upon it a little bit.       What's your formal

10       education?

11       A.   I have a bachelor's of science degree in institute of

12       technology studies as well as psychology.         The institute of

13       technology studies, I focused in chemistry and chemical

14       engineering.    And I graduated from the University of

15       Minnesota-Twin Cities.

16       Q.   Any additional training specific to, if you will,

17       forensic media analysis?

18       A.   Absolutely.    So in addition to the training that I

19       received through my bachelor's degree, which didn't directly

20       relate to computer forensics or video analysis, I also have

21       attended ongoing training, extensive training, within the

22       field of forensic video analysis and other areas of

23       forensics.    That training included things like vendor

24       training, so learning how to use specific software packages.

25       It included things like general forensic training, how to



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 135 of 181    314


 1       display evidence to its best ability, and also a number of

 2       different on-the-job assignments in order to further that

 3       education.

 4       Q.   What, if any, certifications specific to forensic video

 5       analysis have you gotten?

 6       A.   I've been certified by two different organizations as a

 7       forensic video analyst.      I've been certified by LEVA, which

 8       is the Law Enforcement and Emergency Services Video

 9       Association, specifically to be a forensic video examiner or

10       forensic video analyst.

11                    I've also been certified by the IAI, which is the

12       International Association for Identification, and I have

13       been certified by the IAI as a forensic video examiner.

14                    And in addition to that, following my

15       certification, I have also served in a number of roles with

16       the certification board of the IAI, including as the chair

17       of the certification board for the -- for that organization.

18       Q.   Well, how did you get certified with LEVA, for example?

19       A.   With LEVA, the certification was a number of years of

20       experience as a forensic video examiner.        They also required

21       four separate one-week training sessions in various aspects

22       of forensic video analysis and the law.

23                    In addition to that, in order to complete my

24       certification as an examiner, I was required to complete

25       casework and defend my work before a certification board in



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 136 of 181      315


 1       person.

 2       Q.   Just so the jury understands, what are some of the

 3       things a forensic video examiner with your experience can do

 4       with video media?

 5       A.   There's a number of different things that we can do.        It

 6       ranges from the easy, things like just simple processing,

 7       you know, trying to make things play at the same time side

 8       by side, what we call synchronization; or it could be

 9       something much more difficult, like trying to determine the

10       specific camera that captured a piece of video or whether an

11       individual depicted within video or image is a suspect or

12       something along that lines.

13                   Probably one of the more technical things we do is

14       called photogrammetry, which is making measurements inside

15       video or image.     So if, for instance, I was to try to

16       determine what the height of a bank robber was or how fast a

17       getaway vehicle was traveling within a series of video,

18       those would be examples of different things that I could do

19       as a forensic video examiner.

20       Q.   And I want to make sure I am clear.       You said that doing

21       the side-by-side thing is a relatively easy thing to do?

22       A.   Under certain conditions, yes, absolutely.        That's one

23       of the easier things that I would do as a forensic video

24       examiner.

25       Q.   Have you provided any lectures or workshops for other



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 137 of 181     316


 1       forensic media examiners?

 2       A.   I have.   I have lectured in front of the International

 3       Association for Identification.       I've also taught different

 4       courses in relationship to forensic video analysis,

 5       including teaching classes for the Field Audio Video

 6       Program.

 7       Q.   In fact, where were you the week before last?

 8       A.   Two weeks ago I was in Portland, Oregon.        We are

 9       inducting a new training class into the Field Audio Video

10       Program, and so I was teaching video analysis to that class

11       in Portland two weeks ago.

12       Q.   Where were you last week?

13       A.   Last week I was in London within the United Kingdom, and

14       at that time I was consulting with the London Metropolitan

15       Police Service because they are interested in some of the

16       tools that we use within the FBI.       And so I was briefing the

17       London Metropolitan Police Service's counterterrorism unit

18       on different tools and how to use them.

19       Q.   Have you ever been published?

20       A.   I have.

21       Q.   How many times?

22       A.   I've been published twice.      I completed a study on error

23       rates specific to capturing the height of individuals in

24       video in different methodologies.       So that particular study

25       was published through the Journal of the International



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 138 of 181   317


 1       Association for Identification.

 2                   I also was published through the Journal of the

 3       American Academy of Forensic Sciences, which published in

 4       part my study on how to determine the -- or excuse me, not

 5       how, but essentially a case study of whether laypeople or

 6       examiners were better at determining the make and model of

 7       vehicles depicted in imagery.

 8       Q.   Have you testified in court before?

 9       A.   Yes, I have.

10       Q.   About how many times?

11       A.   Somewhere in the neighborhood of 80 and 90 times over

12       the course of my career.

13       Q.   So let's talk about this matter.       You are not a case

14       agent, correct?

15       A.   That's correct, I'm not.

16       Q.   You understand you are first being brought here as sort

17       of a foundational witness to address certain exhibits that

18       have been admitted -- and I think you heard us talking about

19       them -- as well as some proposed exhibits as well;

20       understood?

21       A.   Yes, sir.

22       Q.   To be clear, just given your expertise, were you asked

23       to address some of those original exhibits, the media, and

24       create some combined exhibits?

25       A.   Yes, I was.



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 139 of 181         318


 1       Q.   Side-by-side exhibits?

 2       A.   Yes.   I was asked to play several of the videos that I

 3       received side by side so that they played at the same time,

 4       essentially that they were synchronized.

 5       Q.   So before we talk about that, I want to make sure that

 6       we talk about just the underlying exhibits themselves.           The

 7       jury has heard about media, and I want to make sure that we

 8       talk about just some of the original media, if you will.

 9       Understood?

10       A.   Yes, sir.

11       Q.   All right.    So -- and His Honor talked about them a

12       little bit, but I'm going to -- I think he just gave out the

13       numbers.

14                   We have Government Exhibit 2, which is what we've

15       described as a Cup Foods interior video; is that correct?

16       A.   That's correct.

17       Q.   Government Exhibit 3, which is the Cup Foods exterior

18       video at 38th Street?

19       A.   Yes, sir.

20       Q.   Government Exhibit 4, the Cup Foods exterior video for

21       Chicago Avenue?

22       A.   Yes, that's correct.

23       Q.   A number of different body-worn cameras, Government

24       Exhibit 5, 7, 9, 11, and 12, correct?

25       A.   Yes, that's my understanding.



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 140 of 181   319


 1       Q.   Well, you reviewed all those, correct?

 2       A.   I did, yes.

 3       Q.   You understand the exhibit numbers now?

 4       A.   Yes, sir.

 5       Q.   And we also have Government Exhibit 14, the Milestone

 6       video?

 7       A.   Yes, that's correct.

 8       Q.   Government Exhibit 16, the Dragon Wok video?

 9       A.   Yes, sir.

10       Q.   Government Exhibit 17, what we call the Frazier video?

11       A.   Yes, sir.

12       Q.   Government Exhibit 18, what we call the Oyler video?

13       A.   Yes.

14       Q.   And Government Exhibit 19, what we call the Hansen

15       video?

16       A.   Yes, sir.

17       Q.   And then, finally, Government Exhibit 20, what we call

18       the Funari video.     Do those all sound familiar to you?

19       A.   They do.

20       Q.   And is it your understanding that this is the world of

21       at least working digital video associated with this, the

22       events of May 25, 2020?

23       A.   Yes, that's correct.

24       Q.   There was one additional form of media from a location,

25       correct?



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 141 of 181   320


 1       A.   There was.    However, that video was not able to be

 2       played.    It was corrupted and it did not play correctly.

 3       Q.   Do you recall where that was from?

 4       A.   It was from the Speedway gas station just across the

 5       street from the Cup Foods.

 6       Q.   And, as you've heard, the parties have already

 7       stipulated to the admissibility.       They're into evidence.

 8       His Honor has already put them into evidence as far as

 9       exhibits in this matter.      Understood?

10       A.   Yes, sir.

11       Q.   Now, just so we are clear about where some of these

12       media sources are from --

13                    MR. SLAUGHTER:   I'd like, if we could, Your Honor,

14       to dim the lights a little bit and I'll pull up the map --

15       or a map.

16       BY MR. SLAUGHTER:

17       Q.   Are you familiar with this exhibit, Government

18       Exhibit 1?

19       A.   Yes, I am.

20                    THE COURT:   Counsel, could I interrupt and ask a

21       question?    What do you mean when you use the word "media

22       source"?

23                    MR. SLAUGHTER:   I'm sorry, Your Honor.      The

24       location where video was taped.

25                    THE WITNESS:   Yes, that's my understanding.



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 142 of 181       321


 1                     MR. SLAUGHTER:   That's my -- I'm sorry, Your

 2       Honor.   I'll use a different phraseology.        It's my problem.

 3                     THE COURT:   Okay.   Proceed.

 4       BY MR. SLAUGHTER:

 5       Q.   Video.    And I was counseled before to not say "media,"

 6       but it's video, correct?

 7       A.   Yes, it is.

 8       Q.   I'm showing you what's been marked as Government

 9       Exhibit 1.     And fair to -- have you grown familiar at least

10       with this intersection over time --

11       A.   I have.

12       Q.   -- from your review of this different media we are

13       talking about?

14       A.   Yes, that's correct.

15       Q.   You are familiar at least with 38th Street, East 38 th

16       Street, and Chicago Avenue?

17       A.   I am.

18       Q.   I want to make sure we just go through the different

19       locations where different exhibits were found, if that's

20       okay?

21       A.   Yes.

22       Q.   And then I'll -- likely I'll play just a bit of these

23       underlying videos so that the jury becomes at least somewhat

24       familiar with them.

25       A.   Okay.



                               RENEE A. ROGGE, RMR-CRR
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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 143 of 181   322


 1       Q.   So on Government Exhibit 1, just going to Government

 2       Exhibit 2, which is described as Cup Foods interior, if you

 3       could, go ahead and point out where Cup Foods is just so

 4       we're clear.

 5       A.   I'm not sure if this is a touch screen or --

 6       Q.   I believe it is a touch screen.

 7                   THE COURT:   It should be.

 8                   THE WITNESS:    Excellent.

 9                   So the Cup Foods is just here (indicating), as

10       indicated on -- within the map.

11       BY MR. SLAUGHTER:

12       Q.   And we already talked about we have an interior camera

13       and then two different exterior cameras and different

14       exhibits that we've made for this?

15       A.   Yes, that's correct.

16       Q.   And to be clear, Government Exhibit 2 contains like the,

17       if you will, the product that we got from Cup Foods from the

18       interior and then a more readily playable form so the jury

19       can play it easier?

20       A.   Yes, that's correct.

21                   MR. SLAUGHTER:    With the court's permission, I'm

22       going to play Government Exhibit 2 briefly.

23                   THE COURT:   Proceed.

24                   MR. SLAUGHTER:    I'm trying to get rid of --

25



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 144 of 181   323


 1       BY MR. SLAUGHTER:

 2       Q.   So you're familiar with Government Exhibit 2?

 3       A.   Yes.   This is an example of the video that was captured

 4       inside the Cup Foods store.

 5       Q.   Government Exhibit 3 is identified as Cup Foods

 6       exterior, 38th Street -- facing 38th Street; is that

 7       correct?

 8       A.   Yes, that's correct.

 9       Q.   And I'm just going to pull up Cup Foods, expand this a

10       little bit.    If you could, just indicate where that

11       generally is or where that is.

12       A.   Generally speaking, the camera that captured that video

13       is this associated here (indicating).

14                   MR. SLAUGHTER:    No idea why it's highlighting.

15       With the court's permission, I'll play a short piece of

16       Government Exhibit 3, Your Honor.

17                   THE COURT:   Proceed.

18                       (Video recording played)

19       BY MR. SLAUGHTER:

20       Q.   This is just Government Exhibit 3 facing -- the Cup

21       Foods exterior facing 38th?

22       A.   Yes, that's correct.

23       Q.   And we have another one, another camera, and I'm not

24       going to ask you to indicate in case I have more issues with

25       this.   This is another camera facing Chicago Avenue?



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 145 of 181        324


 1       A.   Yes, it's the camera right next to the one I just

 2       pointed out a moment ago.

 3       Q.   And that faces what direction?

 4       A.   It faces north just in front of the Cup Foods store.

 5                   MR. SLAUGHTER:    With the court's permission, may I

 6       play Government Exhibit 4?

 7                   THE COURT:   Proceed.

 8                        (Video recording played)

 9       BY MR. SLAUGHTER:

10       Q.   Is this Government Exhibit 4?

11       A.   Yes, sir.

12       Q.   Again, to be clear, for both Government Exhibit 3 and

13       for Government Exhibit 4, just like 2, kind of like the

14       original kind of stuff we got from the owner and then a more

15       readily playable version?

16       A.   Yes, that is.

17       Q.   And I'm not going to go in chronological order, but I

18       want to make sure that we talk about some of the other

19       locations, if you will.

20                   We have -- they jury has already heard about a

21       place called Dragon Wok.      I'm just expanding this.      There's

22       a camera indicated at this Dragon Wok business?

23       A.   Yes.   The Dragon Wok video actually had three different

24       cameras, but probably the most relevant one is the camera

25       that's displayed there.



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          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 146 of 181     325


 1       Q.   And that's what been made Government Exhibit 16?

 2       A.   Yes, that's correct.

 3       Q.   The original media -- someday when the jury gets this,

 4       is the original media in a more playable form of that media?

 5       A.   Yes, that's correct.

 6       Q.   When I -- I shouldn't say "media."        Video?

 7       A.   Video, yes.

 8                   MR. SLAUGHTER:    With the court's --

 9                   THE COURT:   Counsel, what is the Dragon Wok

10       number?

11                   MR. SLAUGHTER:    16, Your Honor.     I apologize.

12                   THE COURT:   Okay.    Thank you.

13                   MR. SLAUGHTER:    Government Exhibit 16.      And ask if

14       I could briefly play Government Exhibit 16 for the jury.

15                   THE COURT:   Proceed.

16                       (Video recording played)

17       BY MR. SLAUGHTER:

18       Q.   This is what we have as Government Exhibit 16?

19       A.   Yes.   That's the video that was captured from the camera

20       indicated on the map just above the Dragon Wok.

21       Q.   This is across the street from what location?

22       A.   From the Cup Foods, just across the street from the Cup

23       Foods.

24       Q.   I skipped over, I jumped over what is the Milestone.

25       And if you could indicate -- well, here I'm going to pull it



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          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 147 of 181    326


 1       up.   What is the Milestone?

 2       A.    So Milestone is what -- it's been previously referred to

 3       as Milestone.    It's essentially the video that is being

 4       captured by one of the traffic cameras owned by the City of

 5       Minneapolis.     The reason it's usually referred to as

 6       Milestone is Milestone is the more difficult version of the

 7       software used to play the video.

 8       Q.    So for Government Exhibit 14, fair to say there's

 9       actually a copy of that software, the contents, and then,

10       frankly, a more playable version of the Milestone footage

11       from that night?

12       A.    Yes, that's correct.

13                   MR. SLAUGHTER:    With the court's permission, I'll

14       play briefly Government Exhibit 14.

15                   THE COURT:   Proceed.

16                        (Video recording played)

17       BY MR. SLAUGHTER:

18       Q.    Is this what we've designated as Government Exhibit 14?

19       A.    Yes, it is.   That's a sample of the video that was

20       captured by that traffic camera.

21       Q.    And to be clear, this Milestone system allows someone

22       after the fact to move in and out; is that correct?

23       A.    It does.   It has what capabilities that are usually

24       referred to as pan/tilt/zoom.       So basically the operator has

25       the ability to move the camera.



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          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 148 of 181          327


 1       Q.   And that happens -- well, that can also be done real

 2       time, correct?

 3       A.   Yes, it can.

 4       Q.   And so, for example, this recording shows someone moving

 5       the camera at times?

 6       A.   Yes, it does.

 7       Q.   But you agree that the parties have zoomed this in I

 8       think it's two evolutions before doing a more playable

 9       recording off of this Milestone program?

10       A.   Yes, that's correct.     I believe it was somewhere in the

11       neighborhood of 150 percent, so just slightly zoomed in.

12       Q.   We have a number of other what we call bystander videos,

13       and they're at Government Exhibit 17, 18, 19, and 20.            Just

14       using this image, Government Exhibit 14, we can at least

15       refer to the location or their proximity to Cup Foods, if

16       you will.

17                   Government Exhibit 17 is described as the Darnella

18       Frazier video.    From what perspective was she recording on

19       May 25, 2020?

20       A.   That recording was captured from the curb just in front

21       of the Cup Foods.     So the individual was standing

22       essentially on the sidewalk while that video was being

23       captured.

24       Q.   Government Exhibit 19 is described as the Genevieve

25       Hansen video.    From what perspective was she recording on



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          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 149 of 181     328


 1       May 25th, 2020?

 2       A.   Similarly, that recording was also captured from the

 3       sidewalk just in front of the Cup Foods.

 4       Q.   Skipping one, but Government Exhibit 20 is described as

 5       the Alyssa Funari video.      From what perspective was she

 6       recording on May 25th, 2020?

 7       A.   Similarly, she was also recording from the sidewalk just

 8       in front of the Cup Foods building.

 9       Q.   I'm pulling up -- well, I hope I'm pulling up Government

10       Exhibit 1 here, just the map.

11                   We have one remaining bystander video.        Government

12       Exhibit 18 is described as the Alisha Oyler video.          From

13       what perspective was she recording on May 25, 2020?

14       A.   She was actually recording from across the street at

15       Speedway.    So that, if I may --

16       Q.   Please do.

17       A.   -- was in the neighborhood here (indicating).

18       Q.   You're indicating to the west of the Cup Foods; is that

19       correct?

20       A.   That's correct.

21       Q.   And you would also agree the parties -- that exhibit,

22       the audio has been redacted from that exhibit; is that

23       correct?

24       A.   Yes, that's correct.

25       Q.   Government Exhibit 5 is -- has been marked as "BWC



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          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 150 of 181   329


 1       Lane."    And you are familiar that "BWC" stands for body-worn

 2       camera?

 3       A.   Yes, I'm familiar.

 4       Q.   And you would agree that Government Exhibit 5 actually

 5       contains three separate video segments, portions that were

 6       recorded that night by that camera?

 7       A.   Yes, that's correct.

 8       Q.   Government Exhibit 7, similarly it's entitled "BWC

 9       Kueng," but you would agree that's Mr. Kueng's body-worn

10       camera footage from that night?

11       A.   Yes, that's correct.

12       Q.   Three separate video segments?

13       A.   Yes, that also comprises three separate video segments.

14       Q.   We have 9.    Government Exhibit 9 is entitled "BWC Thao."

15       Mr. Thao's body-worn camera video recordings?

16       A.   Yes.    It does comprise four different video segments

17       that were recorded by the body-worn camera.

18       Q.   Four?

19       A.   Yes, sir.

20       Q.   And Government Exhibit 11 is entitled "BWC Chauvin."

21       How many video segments were in that particular exhibit?

22       A.   That exhibit also comprises four different video

23       segments that were recorded by that camera.

24       Q.   And, finally, we have Government Exhibit 12, "BWC

25       Chang."     Does that contain one video segment?



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          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 151 of 181     330


 1       A.    It does.

 2                   MR. SLAUGHTER:    With the court's permission, I'd

 3       like to play briefly Government Exhibit 5 just for purposes

 4       of familiarizing the jury with what it looks like.

 5                   THE COURT:    Proceed.

 6                         (Video recording played)

 7       BY MR. SLAUGHTER:

 8       Q.    So I've just started Government Exhibit 5.       It's just

 9       the body-worn camera of Mr. Lane, correct?

10       A.    Yes, that's correct.

11       Q.    And I'm just pulling out information, if you will, at

12       the upper right-hand corner.       It provides the date; is that

13       correct?

14       A.    It does.

15       Q.    In military time?

16       A.    It also includes the time, yes, in military time.

17       Q.    When I say "military time," it's like 2000 hours in this

18       instance?

19       A.    That's correct, or approximately 8 o'clock, 8:07.

20       Q.    Almost 8 o'clock -- or 8:07 and 59 seconds?

21       A.    Yes, sir.

22       Q.    And this Axon Body 3, what is your understanding that

23       is?

24       A.    My understanding is that is the type of body-worn

25       camera, and it is a body-worn camera that is produced by the



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 152 of 181     331


 1       company Axon.

 2       Q.    So there's a poly, if you will, letter and number

 3       sequence after that.     What's your understanding of what that

 4       is?

 5       A.    That alphanumeric actually consists of essentially a

 6       serial number and an identifier for the specific body-worn

 7       camera in order to link that body-worn camera to the

 8       individual that was wearing it.

 9       Q.    At least at that time?

10       A.    Yes, sir.

11       Q.    Having -- with this still up, this exhibit, the

12       beginning of Exhibit 5, I want to make sure that we talked

13       about some of the time differences between these different

14       sources of media -- video, the Milestone, the body-worn

15       cameras, the Dragon Wok, and the Cup.        And do all of these

16       videos have the same time indicated on them at the same

17       time?

18       A.    Very much no.   In fact, even videos that you would

19       expect to have the same time, because they usually update

20       themselves as they hit essentially like a router in order to

21       transmit, even they differ sometimes by a second or two.

22                   The digital video that was recorded by a few other

23       sources, including the Dragon Wok video and the Cup Foods,

24       show significantly different, in the neighborhood of

25       minutes.



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          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 153 of 181    332


 1       Q.   So, for example, like body-worn cameras worn by two

 2       people sitting next to one another, could they reflect

 3       different times?

 4       A.   Yes, they could and still be -- be actually recording at

 5       the same time but display different times.

 6       Q.   I think you've explained why that occurs, but how does

 7       that occur?

 8       A.   Essentially what happens is it's quite a bit like when

 9       your cell phone updates.      You know, my cell phone being next

10       to your cell phone, they might show slightly different times

11       and it's just a matter of when that cell phone is updating

12       itself as it's hitting a cell phone tower.

13                   The same thing happens with body-worn cameras,

14       where when they hit off of a router or something like that,

15       it will update.     And so you would normally expect to see

16       slight differences in the timing of the body-worn cameras.

17       Q.   And so there are differences just across these different

18       media when it comes to the -- video when it comes to the

19       time?

20       A.   There are, just in the matter of seconds.

21       Q.   Well, let's talk about this.      How does a person -- how

22       do you make a side-by-side, like a synchronized digital

23       video exhibit?

24       A.   The first thing for me is to ignore that time and date

25       stamp, because ultimately I know, having done this for so



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          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 154 of 181     333


 1       long, that often those time and date stamps can't be

 2       entirely trusted.

 3                   Really what I'm looking at doing when

 4       synchronizing video is finding events in common, either

 5       audio or video cues, like a car door closing is great for an

 6       audio and video cue because you can both here it and see it.

 7       And if I can hear it on one video segment and see it on

 8       another video segment, I can line those up and I know that

 9       those videos are playing synchronized.

10       Q.   How long has this synchronization, if you will, or

11       side-by-side -- the making of side-by-side video exhibits,

12       how long has that been possible?

13       A.   Really the ability to synchronize video has been around

14       as long as video has been made.       I mean, if you think about

15       making something like a major motion picture, if you want to

16       take feeds from two different cameras in order to get

17       different actor's viewpoints, essentially what you are doing

18       is the same thing.     You are looking at those common events

19       and saying, okay, this is where my common event is and going

20       in between those two videos.

21       Q.   So when you say "synchronization," is it really just

22       making two videos play at the same time?

23       A.   That's exactly what it is.      It's a matter of -- if I

24       were to role up two TV monitors, we could do the same thing

25       if I knew exactly when to hit play on each one.



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          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 155 of 181   334


 1                   Me making a synchronized video just kind of takes

 2       the guesswork out of it here in court so that you can see

 3       what's happening on two different media -- two different

 4       video sources at the same time.

 5       Q.   Well, have you done this before for court?

 6       A.   Yes, I have.

 7       Q.   How many times?

 8       A.   I've done this dozens of times in order to produce

 9       exhibits to show what's happening on different cameras at

10       the same time.

11       Q.   And you touched upon this a little bit, but in the realm

12       of the forensic skills necessary, how difficult is it to

13       create, like, side-by-side videos like this?

14       A.   Ultimately this is probably one of the easiest things I

15       do because it is a matter of just finding those synchronized

16       events on two different media sources and essentially

17       placing a digital Post-It note and saying start play on

18       these two items at the same time.

19       Q.   So why do this, why create side-by-side video exhibits?

20       A.   In my opinion, the reason to do this is just to give

21       context to the video.      So things like incorporating the

22       Milestone video gives us a great overall perspective of

23       what's going on and where each individual is at specific

24       times.   And then incorporating additional video sources,

25       then the Milestone gives that context for those additional



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          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 156 of 181       335


 1       sources.

 2       Q.   Well, aren't multiple screens confusing to people?

 3       A.   No.    Honestly, in my opinion, I think that people have

 4       seen this often enough that it actually makes complete

 5       sense.     It's things like watching -- you know, watching a

 6       football game, which I don't know about you, but I did over

 7       the weekend a little bit, being able to see things like

 8       picture in picture.     It's just synchronized video.       It's the

 9       ability to watch two different cameras at the same time.

10       Q.   Well, why would using -- is this your job, is this one

11       of the things you do for purposes of your role in the FBI?

12       A.   Yes, it is.

13       Q.   Why would using like a side-by-side video be better or

14       more efficient than just looking at two separate videos back

15       and forth?

16       A.   Ultimately it's just for ease of view.        I mean, having

17       the ability to look at things side by side really gives me

18       that overall perspective of what's happening from different

19       camera views rather than having to watch one and then queue

20       up the next one and figure out where that point in time is

21       and going back and forth.      So it's easier and ultimately

22       faster to watch them side by side.

23       Q.   Well, I should say faster than what?        Than looking at a

24       single view?

25       A.   Faster than looking at a single view and having to go



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 157 of 181   336


 1       back and forth in between those single views in order to

 2       figure out where you're at and then play back the video.

 3       Q.     Well, let's talk about the combinations that you made in

 4       this matter.

 5       A.     Yes, sir.

 6       Q.     You made several different combinations from what are

 7       now admitted exhibits, correct?

 8       A.     Yes, that's correct.

 9       Q.     And -- well, we have 12 such exhibits; is that correct?

10       A.     Yes, sir.

11       Q.     Or proposed exhibits for identification?

12       A.     Yes, sir.

13       Q.     What types of combinations did you make?

14       A.     I made combinations comparing the Milestone video to

15       things like the individual body-worn cameras, comparing the

16       body-worn cameras -- or synchronizing the body-worn cameras

17       with some of the bystander videos, as well as things like

18       putting the body-worn cameras together so that you could see

19       the totality of the events from individual officer views.

20       Q.     Well, let's talk -- let's kind of break it down a little

21       bit.    You made a combination of the Thao body-worn camera

22       and the Frazier video.      Why did you do that?

23       A.     What stood out for me is combining the Thao body-worn

24       camera and the Frazier video really gave, because there was

25       dialogue between the two, it gave both sides of that



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          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 158 of 181          337


 1       dialogue so that one could see --

 2                    MR. ROBERT PAULE:    Your Honor, pardon me.

 3       Objection.    May we sidebar?

 4                    THE COURT:    Members of the jury, this is the first

 5       time you've had this sidebar situation come up.          You are

 6       going to hear an awful noise in a few minutes.         It's just

 7       the way it is.       But the reason for this is just simply that

 8       counsel deserves to discuss matters of law with me; and if

 9       we wanted you to hear it, we would tell you, but that's just

10       the way it is.       We have to do this every once in a while.

11                    Okay.

12            (At sidebar)

13                    THE COURT:    Proceed.

14                    MR. ROBERT PAULE:    Thank you, Your Honor.     It's

15       Robert Paule.

16                    I would note I objected to this.      I object on a

17       couple grounds.      First of all, they're discussing evidence

18       that has not yet been admitted, in other words, the context

19       and the content of the video.

20                    The second thing is I'd object under Federal Rule

21       of Evidence 403.      I think to some degree this is evidence

22       that is misleading the jury, because I could use the phrase

23       it gives context to something when in reality what I'm doing

24       is I'm emphasizing a particular part of the evidence.            With

25       regard to this specific piece of evidence, it would imply



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          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 159 of 181       338


 1       that my client is able to view everything that is going on

 2       from the exact opposite perspective of his.

 3                   And while I appreciate the government has stated

 4       they don't intend to argue these points, they're still

 5       presenting evidence which is every bit as prejudicial, just

 6       not as direct.

 7                   MR. SLAUGHTER:    Your Honor, can I be heard?        I

 8       want to make sure I can be heard over the microphone.

 9                   THE COURT:    I hear you, yes.

10                   MR. SLAUGHTER:    Just in response, Your Honor --

11                   THE COURT:    What's the exhibit number that we're

12       dealing with here?

13                   MR. SLAUGHTER:    This is Government Exhibit 28,

14       Your Honor.

15                   THE COURT:    Okay.

16                   MR. SLAUGHTER:    Thao/Frazier -- proposed

17       Thao/Frazier video.      Just in response -- and obviously

18       there's been a general 403 discussion when it comes to these

19       exhibits.

20                   I'm just trying to lay some foundation with regard

21       to these before trying to offer them.        I recognize counsel's

22       concerns, but I'm just asking her why she made the exhibit

23       itself.   She's described herself, her experience, and,

24       frankly, her extensive background when it comes to this.

25                   And the subjects that counsel are talking about



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 160 of 181       339


 1       are all the subject of potential cross-examination and, of

 2       course, the limiting instruction that I know we're going to

 3       be potentially dealing with.

 4                   But I'm just trying to have her describe why she

 5       made that exhibit.     I anticipate doing the same thing for

 6       each one of these exhibits briefly, briefly, for purposes of

 7       foundation to the point where I'm going to offer them.

 8                   THE COURT:   Okay.    First of all, the foundational

 9       side of this, I think that's just exactly what counsel is

10       doing.   And you will use -- she will use the names of the

11       defendants and names of witnesses, et cetera, but at this

12       point it's not into the subject matter.

13                   Then we turn next to the 403 subject.        The court

14       is very concerned about the 403 subject and the appropriate

15       perspectives.    We won't do that until we get down to the

16       point of actually concerning ourselves with the viewing of

17       the documents.    So I'll defer a ruling on that at this

18       point.

19                   With that, I think we can proceed.

20                   MR. SLAUGHTER:    Yes, Your Honor.

21                        (In open court)

22                   THE COURT:   Proceed, Mr. Slaughter.

23                   MR. SLAUGHTER:    Thank you, Your Honor.

24       BY MR. SLAUGHTER:

25       Q.   So we briefly talked about what -- we hadn't gotten to



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          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 161 of 181   340


 1       say it yet on the record, but what was Government

 2       Exhibit 28; is that correct, the Thao/Frazier video?

 3       A.   Yes.

 4       Q.   We also talked --

 5                   THE COURT:   Lights.

 6       BY MR. SLAUGHTER:

 7       Q.   You've made a number of --

 8                   MR. SLAUGHTER:    I'm sorry, Your Honor?

 9                   THE COURT:   I was talking to Ms. Magee.

10       BY MR. SLAUGHTER:

11       Q.   You made a few other combinations; is that correct?

12       A.   Yes, that's correct.

13       Q.   While we're sticking with just the combinations with

14       body-worn camera, did you make a couple of other

15       combinations of body-worn camera with the Frazier bystander

16       video?

17       A.   I did, with both Mr. Kueng's and Mr. Lane's.

18       Q.   And those are, just for the record, Government -- for

19       identification, Government Exhibit 23 and Government

20       Exhibit 24?

21       A.   Yes, that's correct.

22                   MR. GRAY:    Excuse me.   Which one is which?

23                   BY MR. SLAUGHTER:

24       Q.   23, would that be Mr. Lane's BWC and Ms. Frazier's

25       video?



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          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 162 of 181    341


 1       A.   I believe that's correct, yes, sir.

 2       Q.   And Government Exhibit 24, Mr. Kueng's BWC and

 3       Ms. Frazier's video?

 4       A.   Yes, sir.

 5       Q.   Why make the two different once?

 6       A.   Essentially because both of those give timing to

 7       Darnella Frazier's video because it in itself does not have

 8       a time stamp, as well as to compare the view of each officer

 9       as Ms. Frazier's video was recorded.

10       Q.   Government Exhibit 21 is described as the Milestone and

11       Frazier video and audio.      Why did you create that one?

12       A.   I created that one because it gave -- as I said, the

13       Milestone gives a great overall view as showing where each

14       individual was during the incident, and having the ability

15       to see that and give timing information to the Frazier video

16       when it comes into play was helpful for me.

17       Q.   There's Government Exhibit 34 and 35.        You mentioned

18       before the side-by-side body-worn camera views?

19       A.   Yes, that's correct.

20       Q.   Is that Mr. Kueng and Mr. Lane's body-worn cameras?

21       A.   Yes, both comprise both Mr. Kueng and Mr. Lane's

22       body-worn cameras side by side.       One is being played back

23       with Mr. Kueng's audio and the other is played back with

24       Mr. Lane's audio.

25       Q.   Is 34 Mr. Kueng's audio and 35 Mr. Lane's audio?



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 163 of 181         342


 1       A.   Yes, that's correct.

 2       Q.   Well, why do that?     Why have the perspective of the two

 3       BWCs across one another?

 4       A.   Being able to see those two videos at the same time

 5       really gives the totality of experience of each individual

 6       officer during the event, as well as being able to see the

 7       restraints being placed on Mr. Floyd at various times

 8       throughout the course of the incident.

 9       Q.   You made another Milestone/bystander combination on

10       Government Exhibit 25.      Why make another one when you did

11       one with Ms. Frazier?

12       A.   I'm sorry.    Can you give me a little bit more context

13       with Exhibit 25?

14       Q.   Oh, I apologize.    We haven't talked about the first one.

15       A.   Okay.

16       Q.   Did you -- well, first, let's just go with that.            The

17       combined Milestone and Oyler video/audio -- or I'm sorry,

18       just the video, that's Government Exhibit 25.         Why did you

19       make that one?

20       A.   Because they were coming from similar perspectives but

21       essentially slightly different.       So the Milestone was from

22       up above, and the videos recorded by Ms. Oyler were from

23       street level.     It just, again, gave context to each of those

24       sets of video with the overall view recorded by the

25       Milestone video.



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 164 of 181   343


 1                   In addition to which the videos that were recorded

 2       by Ms. Oyler did not have time stamps either, and so it had

 3       that ability to place them in proper context in relationship

 4       to the time that they were recorded.

 5       Q.   So that's the reason for 25 in addition to 21 or

 6       separate from 21 --

 7       A.   Yes, sir.

 8       Q.   -- Government Exhibit 21 and 25?

 9       A.   Yes, sir.

10       Q.   You have -- we had another, if you will, Thao BWC and

11       Hansen bystander video that you created; is that correct?

12       A.   Yes, that's correct.

13       Q.   So it's separate and apart from the Frazier bystander

14       video combination with Officer Thao's BWC?

15       A.   Yes, that's correct.

16       Q.   Why did you make a separate one of that?

17       A.   Because Mr. Thao and Ms. Hansen had dialogue between

18       each other.    Watching those two side by side gave the

19       ability to see both sides of that conversation.

20                   THE COURT:   Counsel, the number on that one was

21       what?

22                   MR. SLAUGHTER:    Government Exhibit 33, Your Honor.

23                   THE COURT:   Thank you.

24       BY MR. SLAUGHTER:

25       Q.   You had the combined Milestone and Oyler video at



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 165 of 181      344


 1       Government Exhibit 25.      You also made a combined Milestone

 2       and Officer Thao's BWC at Government Exhibit 27.          Why did

 3       you make that comparison or create that side-by-side?

 4       A.     Essentially making that comparison allowed me to be able

 5       to see, again, that overall with the Milestone of where the

 6       individuals were at various points in time, particularly in

 7       relationship to where the bystanders were as Mr. Thao had

 8       interactions with them.

 9       Q.     You made a number -- and we talked about it a little

10       bit.    You had exterior, if you will, business cameras with

11       combinations of things as well in addition to the Milestone;

12       is that correct?

13       A.     Yes, that's correct.

14       Q.     Government 32 is the Kueng BWC and the Dragon Wok video.

15       Why did you make that one?

16       A.     Because there were some interactions in between the Cup

17       Foods store and the Dragon Wok, closer to the Dragon Wok,

18       that gave the ability to see what those interactions were,

19       particularly as they were recorded by the Kueng body-worn

20       cameras.

21       Q.     A similar question for Government Exhibit 30.       The

22       combined front Cup exterior -- we saw it looking out --

23       combined with Officer Thao's BWC, how is that helpful?

24       A.     Similarly, it gives a little bit of a different

25       perspective than the Milestone.       So it gives the perspective



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 166 of 181    345


 1       from just in front of the store and combining that and where

 2       the bystanders were standing compared to the body-worn

 3       camera worn by Mr. Thao.

 4       Q.   And I should make clear, Government Exhibit 30, that

 5       combination, was there -- it starts even with a disclaimer

 6       because of the sizing on the screen; is that correct?

 7       A.   Actually, it starts with a disclaimer because of the

 8       timing on the Cup Foods.      So most of the video sources had

 9       what's called a regular frame rate, where it plays back

10       regularly.    Unfortunately, with digital video recorders that

11       are used within security applications, often these have

12       what's called variable frame rates, where it doesn't play

13       back quite as regularly.      And so I had to make some

14       adjustments to the timing to the Cup Foods' exterior video

15       in order to make it play back in real time.

16       Q.   Government Exhibit 31, that's a combined front Cup

17       exterior with the Frazier video.       Why did you make that one?

18       A.   Once again, it gives that synchronized video between the

19       two, between the Frazier and the front Cup exterior, and it

20       gives that perspective of seeing where everyone is at

21       various times as the Frazier video is being recorded.

22       Q.   Is it common to make, like, this number of combinations

23       when it's this number of video sources?

24       A.   Absolutely.

25       Q.   So -- and I should ask you:      Some of these videos have



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          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 167 of 181   346


 1       audio sources; is that correct?

 2       A.   Yes, that's correct.

 3       Q.   How is that shown or how is it made clear to someone

 4       seeing it, that there's a change in audio or the source of

 5       audio?

 6       A.   What I did was in each case I indicated on the file name

 7       where the audio was being recorded or which recording device

 8       was capturing the audio.

 9                   In addition to that, you will see on multiples of

10       the synchronized videos that there is essentially like a

11       little audio symbol and that denotes which recording device

12       is capturing the audio that you can hear.

13       Q.   Well, to be clear, as to each of these side-by-side

14       proposed exhibits, have there been any additions or

15       deletions, alterations to the content from the original

16       media that have been entered into evidence here already

17       today?

18       A.   Absolutely not.

19                   MR. SLAUGHTER:    With that, Your Honor, the

20       government offers into evidence, and I think I have the

21       list, I can go through it, but Government Exhibit 21, 23,

22       24, 25, 27, 28, 30, 31, 32, 33, 34, and 35, Your Honor.

23                   THE COURT:   They are offered.     Are there

24       objections?

25                   MR. PLUNKETT:    Objection, Your Honor, 403.



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 168 of 181          347


 1                   THE COURT:   Okay.    Objection has been made.        We'll

 2       discuss it at sidebar.

 3            (At sidebar)

 4                   MR. SLAUGHTER:    I'm here, Your Honor.

 5                   MR. PLUNKETT:    Tom Plunkett is here, Your Honor.

 6                   THE COURT:   Okay.    Proceed.

 7                   MR. PLUNKETT:    Thank you, Your Honor.      Your Honor,

 8       I've put in a written motion on this.        I think the court is

 9       pretty familiar with the issue that I'm concerned about, and

10       it really goes to giving a completely different perspective

11       to the jury than any of these gentlemen could actually see

12       and appreciate, especially, but not limited to, the videos

13       that combine the Frazier with those body-worn cameras.

14                   I think that the videos -- those videos are

15       particularly troubling because the people even making the

16       videos couldn't even see Kueng and Lane, and Lane and Kueng

17       couldn't see what was going on on the other side of the car.

18       They had absolutely no appreciation of that.         They couldn't.

19       They couldn't see it.      And a large part of it they couldn't

20       even hear it because of the struggles and other things that

21       were going on.

22                   This is going to cause the jury to look at these

23       videos and develop a belief, albeit extremely false.             Even

24       if it's not a belief, it's going to be a confirmation bias

25       that this is going on while our clients were there.



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 169 of 181         348


 1                    Now, those are the ones that are especially

 2       troubling.    That doesn't mean that the other combination

 3       videos are any less troubling when we have the Dragon Wok --

 4       pardon me, not the Dragon Wok, the Milestone combined with

 5       Oyler.

 6                    Now, that one is not as bad because they are on

 7       the same side, but, again, it is a completely different

 8       perspective.    And the Milestone video is showing a much

 9       broader range, and the Oyler video is really not that good

10       of a video, but it is from a different angle.

11                    I think -- I could go on and on on this, but, you

12       know, the bottom line is this is tremendously prejudicial.

13       We can't unring this bell.       This is going to go into the

14       jury room, and these good and true jurors are going to be

15       looking at this seeing Derek Chauvin torturing a man at the

16       same time that they're looking at, you know, what my client

17       is looking at and they are going to attribute that knowledge

18       to my client.    It's not just my client.      Mr. Lane and

19       Mr. Thao too and their respective videos.

20                    Thank you, Your Honor.

21                    MR. ROBERT PAULE:    Your Honor, Robert Paule.      May

22       I add something?

23                    THE COURT:   Certainly.

24                    MR. ROBERT PAULE:    Thank you, Your Honor.

25                    I would note that what the government is proposing



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 170 of 181     349


 1       doing is adding a total of 12 additional videos of

 2       undetermined amount of minutes being played.         And I would

 3       like to object, in addition to the things that Mr. Plunkett

 4       has said, to the cumulative effect of this.

 5                   And I would point out a couple different things.

 6       Essentially, it's turning videos into a tidal wave of

 7       evidence that's just repetitive.       It's just from different

 8       angles.

 9                   I would note that this witness has used the word

10       "context" to describe the advantage of these approximately a

11       dozen times.    She also talks about perspective.        But the

12       reality is this is a sheep in wolf's clothing -- or wolf in

13       sleep's clothing, excuse me, because it allows the

14       government the opportunity to just play and play and play

15       these videos over and over again.

16                   So I would join in that objection and add that

17       particular objection.

18                   MR. GRAY:    Your Honor?

19                   THE COURT:   Thank you.

20                   Mr. Gray.

21                   MR. GRAY:    Earl Gray, Your Honor.     Also, it's

22       totally unfair because these combination videos are not

23       heard or seen by my client.      I mean, maybe one or two at

24       certain times.    But when you've got combination videos like

25       this, you have total unfair evidence to my client, who has a



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 171 of 181    350


 1       body-worn camera and he's paying attention to what he's

 2       doing and not all of these other cameras combined with that.

 3       It's unfair.    It's Rule 403.

 4                   Thank you.

 5                   THE COURT:   Okay.    Thank you.

 6                   Mr. Slaughter?

 7                   MR. SLAUGHTER:    Thank you, Your Honor.

 8                   I'd like -- first, the witness has testified as to

 9       the actual probative value of these types of exhibits, and

10       they are for purposes of providing value.

11                   And during each one of the opening statements you

12       heard the respective counsel talk in terms of relying on the

13       video, relying on the evidence.       Mr. Paule even talked in

14       terms of, you know, what happened before the Frazier video,

15       things of that nature.      Mr. Plunkett, I know, relies -- or

16       he said on multiple occasions the fact that what is seen is

17       perception.

18                   But going just to that issue alone, the issue as

19       to what is being heard, what is being seen by the

20       bystanders, what is being said by the bystanders, and what

21       they heard by the officers on their body-worn cameras and

22       how they react to what they are hearing, in combination that

23       is of relevance, particularly the timing, Your Honor.

24                   These videos are common.      This is not something

25       that is new or unique.      And the instruction can be very



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 172 of 181      351


 1       clear to the ladies and gentlemen of the jury when it comes

 2       to the combinations themselves.

 3                   We are trying to facilitate things as opposed to

 4       make things be heard over and over again.         In fact, I have

 5       an anticipated presentment involving these -- a limited

 6       number of exhibits that would be very short and actually

 7       less than 90 minutes, approximately, if we were able to

 8       accomplish that.     It would be much faster with regard to the

 9       presentment of this overall media -- and the fact of the

10       matter is counsel, their objection --

11                   THE COURT:   Counsel, let me interrupt.       You are

12       talking about the timing of it.       You say that you could show

13       these in 90 minutes.     If you look at Exhibit 21 itself, that

14       is well over one-hour long.

15                   MR. SLAUGHTER:    Yes, Your Honor.

16                   THE COURT:   That is in evidence as -- one of these

17       combination things, the entire thing is in evidence, not

18       this.

19                   Now, if it were edited down to, you know, a

20       two-minute segment, I might think differently about this,

21       but I can't see putting in an exhibit that's over an hour

22       long and telling the jury that, well, two minutes is enough.

23       They will look at the whole thing.

24                   MR. SLAUGHTER:    Well, Your Honor, and the reason

25       for the length of --



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 173 of 181      352


 1                   THE COURT:    I'm having trouble hearing you.

 2                   MR. SLAUGHTER:    What's that?

 3                   THE COURT:    Take your mask off.     That will help.

 4       Okay.

 5                   MR. SLAUGHTER:    Can you hear me now?

 6                   THE COURT:    Yeah, I can hear much better.

 7                   MR. SLAUGHTER:    Your Honor, I didn't press further

 8       or go further with the witness, but we can have the witness

 9       describe how we built a window of time of one hour for the

10       combination, especially with respect to the body-worn

11       cameras, on purpose in -- frankly, in an effort to avoid any

12       objection from defense counsel that we were missing

13       anything.    That actually came up in conference with counsel

14       in December when we were trying to have these finalized.

15       The combined videos themselves are longer basically because

16       defense counsel wanted to make sure that they were of a

17       certain length, and that's when we were having a

18       conversation about the combined videos themselves.

19                   But we would point to certain increments of time.

20       I am not proposing to play the entirety of all these videos

21       at all, Your Honor.      We would point to a particular video.

22                   THE COURT:    Counsel, first of all, they are

23       duplicative because you already introduced every one of

24       these by stipulation.      So now we're talking about -- about a

25       second bite of the same apple.       That's a concern.



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 174 of 181         353


 1                   The second concern I have is a jury should decide

 2       the case based upon the facts that everybody knows is

 3       evidence in the case.      And to say you are going to have just

 4       these few minutes but introduce these long, long exhibits,

 5       long videos, at that point the defendants, the witness, the

 6       court has no idea what the jury would be deciding the case

 7       on if they have all of that in their -- in their background

 8       in their deliberation room.

 9                   MR. SLAUGHTER:    Your Honor, if we can narrow the

10       window of time for purposes of these combined videos

11       themselves, would that assuage the court's concerns?             And

12       there's really, in reality, a narrower window of time when

13       it comes across all of these.       The only reason they were

14       extended was because of that.

15                   THE COURT:   Counsel, let me talk about another

16       subject.    Ms. Meline talked about with some officers, their

17       body-worn cameras, there were three segments, sometimes four

18       segments, sometimes one segment.       How do we have any idea

19       what that is?

20                   MR. SLAUGHTER:    All of them are related to time,

21       Your Honor, so the --

22                   THE COURT:   How would I know?     How do I know at

23       this point what's --

24                   MR. SLAUGHTER:    It's on the recording itself, Your

25       Honor.   The time is indicated when the body-worn cameras are



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 175 of 181     354


 1       combined with anything.       The actual military time is

 2       recorded.

 3                    THE COURT:    Counsel, I guess you are right about

 4       that, but at the same token, when that camera is going by

 5       and that scene is going by, how does one recognize this is a

 6       place that -- this has changed from this subject to that

 7       subject?

 8                    MR. SLAUGHTER:    It's only one thing, Your Honor --

 9       I'm sorry.    One moment, Your Honor.

10                        (Pause)

11                    MR. SLAUGHTER:    The body-worn cameras themselves

12       are -- other than the two different officers being combined,

13       the body-worn cameras are combined with separate video

14       sources, so it's very clear and it is made clear in each one

15       of the exhibits.     They are described very clearly that's the

16       source of the media itself.

17                    THE COURT:    Okay.   Anything further from the

18       defense?

19                    MR. PLUNKETT:    Nothing from Tom Plunkett, Your

20       Honor.

21                    THE COURT:    Okay.   Counsel, I'm going to at this

22       time receive -- and I need to -- excuse me a minute.

23                        (Pause)

24                    THE COURT:    I'm going to at this time overrule the

25       objection as it relates to Exhibit No. 21, the combined



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 176 of 181      355


 1       Milestone and Frazier video and audio.        I do so because the

 2       Milestone camera gives an overall view of the area involved

 3       in the subject and context can be placed with that Frazier

 4       video.   However, by doing that, I'm suggesting that the

 5       Frazier video and audio will be -- that was received in that

 6       earlier document should be removed.

 7                   The court will make the same ruling with respect

 8       to the combined 22 -- no.      I'm sorry.    The combined

 9       Milestone 25 with the Oyler video and 27, the combined

10       Milestone and the BWC video, I take that of Mr. Thao, I

11       guess that is, I will receive that.

12                   I would defer any further rulings with respect to

13       any other combined videos to know specifically what the --

14       what portions would be shown or should not be shown and

15       counsel for the defense will be made aware of that.

16                   But, in the meantime, I am -- if the entire matter

17       is produced, then I'm going to sustain the balance -- I

18       would then sustain the balance of the combined documents as

19       being prejudicial, being duplicative, and in violation of

20       403.

21                   With that --

22                   MR. SLAUGHTER:    Your Honor, if I may, before I

23       proceed with anything, I want to make sure I'm clear on the

24       numbers.    You are --

25                   THE COURT:   I'm receiving 21 --



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 177 of 181     356


 1                    MR. SLAUGHTER:    25 and 27?

 2                    THE COURT:    -- 25 and 27 at this point in time.

 3                    MR. SLAUGHTER:    None of the other combined?

 4                    THE COURT:    None of the other combined are

 5       received at this time.

 6                        (In open court)

 7                    THE COURT:    Members of the jury, Exhibits No. 21,

 8       25, and 27 are received at this time pending further

 9       discussion.

10                    Proceed.

11                    MR. SLAUGHTER:    One moment, please, Your Honor?

12                    THE COURT:    Certainly.

13                    MR. SLAUGHTER:    Your Honor, if I may confer with

14       counsel?

15                    THE COURT:    You may.

16                        (Counsel confer)

17                    MR. SLAUGHTER:    I apologize, Your Honor.     In

18       conferring with counsel, I'm going to play what is

19       Government Exhibit 5, the first segment of Government

20       Exhibit 5.

21                    THE COURT:    Very well.   Proceed.

22                    MR. SLAUGHTER:    It's the Lane body-worn camera.

23       If we could dim the lights a little bit, please, Your Honor?

24                    THE COURT:    Counsel, when you play that, if you'd

25       be kind enough to help me with where the segment business



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 178 of 181    357


 1       comes into play, so I could understand it a little better.

 2                   MR. SLAUGHTER:    Your Honor, the segment itself is

 3       in the underlying raw media -- I'm sorry, the raw video.

 4       There are three separate sections on the underlying exhibit

 5       that's on the disk itself, the drive that will go to the

 6       jury.

 7                   THE COURT:   Okay.

 8                   MR. SLAUGHTER:    For purposes --

 9                   THE COURT:   Just point it out to me.

10                   MR. SLAUGHTER:    For purposes of the time, we have

11       the time indicated on the body-worn camera and it begins at

12       the time that's indicated.

13                   THE COURT:   All right.

14                   MR. SLAUGHTER:    Playing what is Government

15       Exhibit 5, Your Honor.

16                   THE COURT:   Proceed.

17                   MR. SLAUGHTER:    At this point it begins at 28 --

18       it's at :08 and rolling, and this is approximately

19       34 minutes, Your Honor.

20                       (Video recording played)

21                   MR. SLAUGHTER:    Your Honor, for the record, I

22       paused this video at 20:34:16 on the body-worn camera

23       footage.

24                   I don't know if the court is inclined to have

25       another video yet this afternoon or if this -- coming up on



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     CASEMeline
          0:21-cr-00108-PAM-TNL
                - Direct        Doc. 297 Filed 04/01/22 Page 179 of 181       358


 1       the 5 o'clock hour or not.

 2                   THE COURT:   Well, are we done with this one?

 3                   MR. SLAUGHTER:    At this point in time.      I'd

 4       continue -- there is additional, obviously, additional media

 5       we can play it through, if the court is so inclined, instead

 6       of -- and having it play through.       Of course, this exhibit

 7       will be used during later testimony as well.

 8                   THE COURT:   Well, I -- it's up to you.       If we

 9       don't play beyond this, that's fine.        If you want to finish

10       the entire thing, that's fine too.        But anything that's not

11       shown to the jury is not going to be permanently kept in the

12       evidence.

13                   MR. SLAUGHTER:    Not with this particular witness,

14       Your Honor.

15                   THE COURT:   Okay.    Then we'll stop at this point.

16                   MR. SLAUGHTER:    For this particular exhibit, Your

17       Honor.

18                   THE COURT:   Yeah.

19                   MR. SLAUGHTER:    We will play a portion of the

20       Kueng body-worn camera, if the court is so inclined.             I

21       don't know if it's -- I know it's a quarter of 5:00.

22                   THE COURT:   Well, how long is the portion you want

23       to play?

24                   MR. SLAUGHTER:    It's approximately 20 minutes,

25       Your Honor.



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     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 180 of 181      359


 1                   THE COURT:   Yeah, maybe we should stop then.

 2                   Okay.   Can we have on the lights, please, and take

 3       down the exhibit, please.

 4                   Members of the jury, we are going to stand in

 5       recess at this time until tomorrow morning.         We will

 6       commence again tomorrow morning at 9:30 a.m.

 7                   I would caution you during -- again, during the

 8       course of the evening not to have any discussions amongst

 9       yourselves, with other persons with respect to the case.

10       Please don't read or listen to any media accounts with

11       respect to the case.

12                   And with all of that, have a good evening.

13                   One other thing.    Don't carry out any personal

14       investigations.     You don't need to go over to 38th and

15       Chicago.    You don't even need to stop at Cup Foods tonight.

16       You can go to Cub Foods, but not Cup.

17                   Okay.   With that, have a good evening.       We will

18       see you tomorrow morning at 9:30.       The jury may be excused.

19                       (Jury excused)

20                                  IN OPEN COURT

21                                (JURY NOT PRESENT)

22                   THE COURT:   Counsel, why don't we gather at 9:00

23       or just a few minutes after 9:00 to further discuss some of

24       these items.    Thank you.

25                   MR. SLAUGHTER:    Understood, Your Honor.



                              RENEE A. ROGGE, RMR-CRR
                                 (612) 644-5107
     CASE 0:21-cr-00108-PAM-TNL Doc. 297 Filed 04/01/22 Page 181 of 181       360


 1                   THE COURT:   See you tomorrow.

 2                   You go ahead.    I have to clean up some things

 3       here, so we're in recess.      We're done.

 4                 (Court adjourned at 4:45 p.m., 01-24-2022.)

 5                                      *   *   *

 6                             I, Renee A. Rogge, certify that the

 7       foregoing is a correct transcript from the record of

 8       proceedings in the above-entitled matter.

 9                             Certified by:        /s/Renee A. Rogge
                                                    Renee A. Rogge, RMR-CRR
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                              RENEE A. ROGGE, RMR-CRR
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